Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 1 of 415




     Exhibit A-1
                   Case 5:24-cv-06225-JLS                  Document 1-3                 Filed 11/20/24                Page 2 of 415
      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                                                                             OCTOBER 2024                                                    02269
                   Civil Cover Sheet                                        E-Filing Number:   2410041108
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 KAREN UQDAH                                                                  LORÉAL USA, INC.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 1049 LAURELEE AVENUE                                                         10 HUDSON YARDS
 READING PA 19605                                                             NEW YORK NY 10001


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 EMMANUEL BULLOCK                                                             LORÉAL USA PRODUCTS, INC.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 1049 LAURELEE AVENUE                                                         10 HUDSON YARDS
 READING PA 19605                                                             NEW YORK NY 10001


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
                                                                              SOFT SHEEN-CARSON, LLC

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
                                                                              10 HUDSON YARDS
                                                                              NEW YORK NY 10001


TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               2                                  11
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                 Arbitration                     Mass Tort                           Commerce                        Settlement
    $50,000.00 or less         X Jury                            Savings Action                      Minor Court Appeal              Minors
 X More than $50,000.00          Non-Jury                        Petition                            Statutory Appeals               W/D/Survival
                                 Other:
CASE TYPE AND CODE

  2P - PRODUCT LIABILITY

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                   OCT 17 2024
                                                                   L. BREWINGTON

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: KAREN UQDAH , EMMANUEL BULLOCK
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 SHERRELL L. DANDY                                                           KLINE & SPECTER, P.C.
                                                                             1525 LOCUST STREET
PHONE NUMBER                            FAX NUMBER                           19TH FLOOR
 (215)772-1000                          none entered                         PHILADELPHIA PA 19102

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 309348                                                                      sherrell.dandy@klinespecter.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 SHERRELL DANDY                                                              Thursday, October 17, 2024, 04:07 pm

                                                  FINAL COPY (Approved by the Prothonotary Clerk)
         Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 3 of 415


COMPLETE LIST OF DEFENDANTS:
    1. LORÉAL USA, INC.
         10 HUDSON YARDS
         NEW YORK NY 10001
    2. LORÉAL USA PRODUCTS, INC.
         10 HUDSON YARDS
         NEW YORK NY 10001
    3. SOFT SHEEN-CARSON, LLC
         10 HUDSON YARDS
         NEW YORK NY 10001
    4. STRENGTH OF NATURE, LLC
         64 ROSS ROAD
         SAVANNAH GA 31405
    5. GODREJ SON HOLDINGS, INC.
         64 ROSS ROAD
         SAVANNAH GA 31405
    6. BEAUTY BELL ENTERPRISE
         ALIAS: HOUSE OF CHEATHAM LLC
         647 MIMOSA BLVD.
         ROSWELL GA 30075
    7. HOUSE OF CHEATHAM, LLC
         1445 ROCK MOUNTAIN BLVD
         STONE MOUNTAIN GA 30083
    8. LUSTER PRODUCTS, INC.
         1104 WEST 43RD STREET
         CHICAGO IL 60609
    9. AFAM CONCEPT, INC.
         ALIAS: JF LABS, INC.
         7401 S. PULASKI ROAD
         CHICAGO IL 60629
    10. AVLON INDUSTRIES, INC.
         1999 NORTH 15TH STREET
         MELROSE PARK IL 60160
    11. THE GIANT COMPANY, LLC
         1149 HARRISBURG PIKE
         CARLISLE PA 17013
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 4 of 415




        Exhibit A-2
     Case 5:24-cv-06225-JLS     Document 1-3          Filed 11/20/24   Page 5 of 415




KLINE & SPECTER, P.C.                                        Filed and Attested by the
By:    SHANIN SPECTER, ESQUIRE    (Attorney I.D. No.: 40928)Office of Judicial Records
       TOBI L. MILLROOD, ESQUIRE (Attorney I.D. No.: 77764) 17 OCT 2024 04:07 pm
       BRADEN R. LEPISTO, ESQUIRE (Attorney I.D. No.: 313586)      L. BREWINGTON
       SHERRELL L. DANDY, ESQUIRE (Attorney I.D. No.: 309348)
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1525 Locust Street
Philadelphia, Pennsylvania 19102
215-772-1000
215-772-1359 (fax)                               ATTORNEYS FOR PLAINTIFFS


KAREN UQDAH AND EMMANUEL                        IN THE COURT OF COMMON PLEAS
BULLOCK, H/W                                    PHILADELPHIA COUNTY,
1049 LAURELEE AVENUE                            PENNSYLVANIA
READING, PA 19605

                          Plaintiffs

            V.

L’ORÉAL USA, INC.
10 HUDSON YARDS
NEW YORK, NY 10017

AND

L’ORÉAL USA PRODUCTS, INC.                      JURY TRIAL DEMANDED
10 HUDSON YARDS
NEW YORK, NY 10001

AND

SOFT SHEEN-CARSON, LLC
10 HUDSON YARDS
NEW YORK, NY 10001

AND

STRENGTH OF NATURE, LLC
64 ROSS ROAD
SAVANNAH, GA 31405

AND

                                       Page 1 of 41
                                                                                 Case ID: 241002269
   Case 5:24-cv-06225-JLS    Document 1-3       Filed 11/20/24   Page 6 of 415




GODREJ SON HOLDINGS, INC.
64 ROSS ROAD
SAVANNAH, GA 31405

AND

BEAUTY BELL ENTERPRISE D/B/A
HOUSE OF CHEATHAM, INC. AND
HOUSE OF CHEATHAM LLC
647 MIMOSA BLVD
ROSWELL, GA 30075

AND

HOUSE OF CHEATHAM, LLC
1445 ROCK MOUNTAIN BLVD
STONE MOUNTAIN, GA 30083

AND

LUSTER PRODUCTS, INC.
1104 WEST 43RD STREET
CHICAGO, IL 60609

AND

AFAM CONCEPT, INC. D/B/A JF LABS,
INC.
7401 S. PULASKI ROAD
CHICAGO, IL 60629

AND

AVLON INDUSTRIES, INC.
1999 NORTH 15TH STREET
MELROSE PARK, IL 60160

AND

THE GIANT COMPANY, LLC
1149 HARRISBURG PIKE
CARLISLE, PA 17013

                         Defendants



                                 Page 2 of 41
                                                                           Case ID: 241002269
           Case 5:24-cv-06225-JLS          Document 1-3      Filed 11/20/24     Page 7 of 415




                                           NOTICE TO PLEAD



                                                                            ADVISO
                      NOTICE
You have been sued in court. If you wish to defend     Le han demandado a used en la corte. Si usted quiere
against the claims set forth in the following pages,   defenderse de estas demandas expuestas en las
you must take action within twenty (20) days after     paginas siguientes, usted tiene veinte (20) dias de
this complaint and notice are served, by entering a    plazo al partir de la fecha de la demanda y la
written appearance personally or by attorney and       notificacion. Hace falta asentar una comparencia
filing in writing with the court your defenses or      escrita o en persona o con un abogado y entregar a la
objections to the claims set forth against you. You    corte en forma escrita sus defensas o sus objeciones
are warned that if you fail to do so the case may      a las demandas en contra de su persona. Sea avisado
proceed without you and a judgment may be entered      que si usted no se defiende, la corte tomara medidas
against you by the court without further notice for    y puede continuar la demanda en contra suya sin
any money claimed in the complaint or for any other    previo aviso o notificacion. Ademas, la corte pueda
claim or relief requested by the plaintiffs. You may   decidir a favor del demandante y requiere que usted
lose money or property or other rights important to    cumpla con todas las provisiones de esta demanda.
you.                                                   Usted puede perder dinero o sus propiedades u otros
                                                       derechos importantes para usted.
YOU SHOULD TAKE THIS PAPER TO YOUR
LAWYER AT ONCE. IF YOU DO NOT HAVE A                   LLEVE ESTA DEMANDA A UN ABOGADO
LAWYER, GO TO OR TELEPHONE THE OFFICE                  INMEDIATAMENTE, SI NO TIENE ABOGADO
SET FORTH BELOW TO FIND OUT WHERE                      O SI NO TIENE EL DINERO SUFICIENTE DE
YOU CAN GET LEGAL HELP.                                PAGAR TAL SERVICIO, VAYA EN PERSONA O
                                                       LLAME POR TELEFONO A LA OFICINA CUYA
            Lawyer Referral Service
                                                       DIRECCION SE ENCUENTRA ESCRITA ABAJO
          Philadelphia Bar Association
                                                       PARA AVERIGUAR DONDE SE PUEDE
          1101 Market Street, 11th Floor
                                                       CONSEGUIR ASISTENCIA LEGAL.
             Philadelphia, PA 19107
                 (215) 238-6338                                  Lawyer Referral Service
                                                               Philadelphia Bar Association
                                                               1101 Market Street, 11th Floor
                                                                  Philadelphia, PA 19107
                                                                     (215) 238-6338




                                              Page 3 of 41
                                                                                                Case ID: 241002269
      Case 5:24-cv-06225-JLS         Document 1-3         Filed 11/20/24    Page 8 of 415




                               CIVIL ACTION – COMPLAINT

       Plaintiffs, Karen Uqdah and Emmanuel Bullock, through their undersigned counsel, Kline

& Specter, P.C., hereby demand damages from the Defendants in a sum in excess of the local

arbitration limits exclusive of interest, costs, and damages for prejudgment delay, upon the cause

of action set forth below:

                                           PARTIES

       1.      Plaintiffs Karen Uqdah and Emmanuel Bullock are adult individual citizens and

residents of Pennsylvania, residing therein at 1049 Laurelee Avenue, Reading, PA 19605.

       2.      Defendant, L’Oréal USA, Inc., (“L’Oréal”) is incorporated in Delaware with its

principal place of business and headquarters located at 10 Hudson Yards, 347 10th Avenue, New

York, New York 10001.

       3.      Defendant, L’Oréal USA Products, Inc., (“L’Oréal Products”) is incorporated in

Delaware with its principal place of business and headquarters located at 10 Hudson Yards, 347

10th Avenue, New York, New York 10001.

       4.      Defendant, SoftSheen-Carson, LLC, (“Softsheen”) is a limited liability company

organized in the state of New York with its principal place of business and headquarters located at

90 State St., Albany, New York 12207. Upon information and belief, SoftSheen-Carson, LLC’s

members and sole interested parties are L’Oréal USA, Inc. and L’Oréal S.A., L’Oréal’s French

owned company, with its headquarters and principal place of business located in France.

       5.      Defendants L’Oréal USA, Inc., L’Oréal USA Products, Inc., and SoftSheen-

Carson, LLC, will be collectively referred to as “L’Oréal Defendants.”




                                           Page 4 of 41
                                                                                          Case ID: 241002269
      Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 9 of 415




         6.    Defendant Strength of Nature, LLC, (“Strength of Nature”) is a corporation with

its principal place of business and headquarters located at 64 Ross Road, Savannah, Georgia

31405.

         7.    Defendant Godrej SON Holdings, Inc., (“Godrej”) is, a corporation with its

principal place of business and headquarters located at 64 Ross Road, Savannah, GA. Upon

information and belief, at all times relevant to this action, Godrej SON Holdings, Inc., has been

the sole member and interested party of Strength of Nature, LLC.

         8.    Defendants Strength of Nature, LLC and Godrej SON Holdings, Inc. will be

collectively referred to as “Strength of Nature Defendants.”

         9.    Defendant Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc. (“Beauty

Bell”) is a domestic limited liability company organized in Georgia with its principal office located

at 647 Mimosa Blvd, Roswell, Georgia 30075. Upon information and belief, Beauty Bell

Enterprises, LLC d/b/a House of Cheatham’s sole member and interested party is Jay Studdard,

who is domiciled in Gorgia.

         10.   Defendant House of Cheatham, LLC, (“House of Cheatham”) is a limited liability

company organized in Georgia with its principal office located at 1445 Rock Mountain Boulevard,

Stone Mountain, Georgia. Plaintiffs allege that House of Cheatham, LLC’s sole member and

interested party is Hollywood Beauty Holdco, LLC, a limited liability company organized in

Delaware with its principal office located at 1445 Rock Mountain Boulevard, Stone Mountain,

Georgia, 30083.

         11.   Defendants Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc and House

of Cheatham, LLC, will be collectively referred to as “House of Cheatham Defendants.”




                                           Page 5 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24      Page 10 of 415




          12.   Defendant Luster Products, Inc. (“Luster Products”) is an Illinois corporation with

its principal place of business and headquarters located at 1104 West 43rd Street, Chicago, IL

60609.

          13.   Defendant AFAM Concept, Inc. d/b/a JF Labs Inc. (“AFAM”), is an Illinois

corporation with its principal place of business and headquarters located at 7401 South Pulaski

Road, Chicago, IL 60629.

          14.   Defendant Avlon Industries, Inc. (“Avlon”) is, and at all times relevant to this

action, a corporation with its principal place of business located at 1999 North 15th Street, Melrose

Park, Illinois 60160.

          15.   Defendant The Giant Company, LLC a/k/a and/or d/b/a Giant is a corporation with

its principal place of business and headquarters located at 1149 Harrisburg Pike, Carlisle, PA

17013. At all times relevant hereto, The Giant Company owned and/or operated Giant located at

2174 W Union Blvd, Bethlehem, PA 18018.

                                          JURISDICTION

          16.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          17.   This Court has original jurisdiction over this civil action.

          18.   This Court has personal jurisdiction over the Defendants.

          19.   At all times relevant hereto, L’Oréal Defendants, Strength of Nature Defendants,

House of Cheatham Defendants, Defendant Luster Products, Defendant AFAM Concept, and

Defendant Avlon Industries (hereinafter “Manufacturer Defendants”) contracted with, entered

agreements with, sold, shipped, and distributed hair relaxer products, including those products

Mrs. Uqdah purchased and applied to her hair, to various companies and stores within the



                                            Page 6 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3       Filed 11/20/24   Page 11 of 415




Commonwealth of Pennsylvania, including but not limited to Defendant The Giant Company, LLC

(hereinafter “Retailer Defendant”).

       20.     At all times relevant hereto, Manufacturer Defendants engaged in the business of

manufacturing, making, distributing, creating, dispensing, selling, shipping, advertising,

transporting, and marketing hair relaxer products which contained dangerous and harmful amounts

of endocrine disrupting chemicals and other harmful substances to be sold by Retailer Defendant.

       21.     At all times relevant hereto, Retailer Defendant conducted business in the

Commonwealth of Pennsylvania by: (1) selling and distributing products and merchandise,

including Dark & Lovely, Optimum, Bantu, Mizani, Gentle Treatment, TCB, Africa’s Best,

Luster’s Pink Oil, Hawaiian Silky, and Affirm (hereinafter “Chemical Hair Relaxer Products”) in

the Commonwealth of Pennsylvania for the purpose of realizing pecuniary benefit from those sales

and distributions; (2) shipping products and merchandise, including the Chemical Hair Relaxer

Products, directly into and through the Commonwealth of Pennsylvania; (3) engaging in business

in the Commonwealth of Pennsylvania; and/or, (4) owning, using, and/or possessing real property

situated in the Commonwealth of Pennsylvania.

       22.     At all times relevant hereto, Manufacturer Defendants had, and continues to have,

regular and systematic contact with and conducts business in and from the Commonwealth of

Pennsylvania, such that it has purposefully availed itself of the laws of the Commonwealth of

Pennsylvania and can reasonably expect to both sue and be sued in Pennsylvania.

       23.     Additionally, Manufacturer Defendants’ presence in the Commonwealth of

Pennsylvania satisfies the due process requirements for Pennsylvania courts to exercise

jurisdiction over it. Additionally, Manufacturer Defendants consented to the exercise of




                                          Page 7 of 41
                                                                                       Case ID: 241002269
     Case 5:24-cv-06225-JLS             Document 1-3         Filed 11/20/24   Page 12 of 415




jurisdiction over it by Pennsylvania courts by registering to and conducting business from the

Commonwealth of Pennsylvania.

        24.        A federal court would not have jurisdiction over this case, as there is no federal

question under 28 U.S.C. § 1331 or complete diversity between the parties under 28 U.S.C. § 1332.

Therefore, this case is not removable to federal court under 28 U.S.C. § 1441 and 28 U.S.C. §

1446.

        25.     Upon information and belief, at all relevant times, Manufacturer Defendants sold

their products in Philadelphia County and regularly conducts business in Philadelphia County.

        26.     Upon information and belief, at all relevant times, The Giant Company LLC, has

and continues to regularly conduct business in Philadelphia County through the operation of their

nine Philadelphia retail locations.

        27.     The damages Plaintiffs seek, exclusive of interests and costs, exceed the

jurisdictional amount requiring arbitration referral. Plaintiffs seek more than $50,000 in damages.

                                     FACTUAL BACKGROUND

        28.        At all times material hereto, L’Oréal Defendants developed, tested, assembled,

marketed, manufactured, and sold various brands of chemical hair relaxer products that were

specifically marketed to black women, including but not limited to the following brands that Mrs.

Uqdah used to chemically straighten her hair:

              a.          Dark & Lovely

              b.          Optimum

              c.          Bantu; and,

              d.          Mizani.




                                              Page 8 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24   Page 13 of 415




       29.     At all times material hereto, Strength of Nature Defendants developed, tested,

assembled, marketed, manufactured, and sold various brands of chemical hair relaxer products that

were specifically marketed to black women, including but not limited to the following brands that

Mrs. Uqdah used to chemically straighten her hair:

             a.       African Pride

             b.       Dr. Miracle’s

             c.       Gentle Treatment

             d.       TCB; and,

             e.       Ultra Sheen.

       30.     At all times material hereto, House of Cheatham Defendants developed, tested,

assembled, marketed, manufactured, and sold various brands of chemical hair relaxer products that

were specifically marketed to black women, including but not limited to the Africa’s Best brand

that Mrs. Uqdah used to chemically straighten her hair.

       31.     At all times material hereto, Defendant Luster Products developed, tested,

assembled, marketed, manufactured, and sold various brands of chemical hair relaxer products that

were specifically marketed to black women, including but not limited to the Luster’s Pink Oil

brand that Mrs. Uqdah used to chemically straighten her hair.

       32.    At all times material hereto, Defendant AFAM developed, tested, assembled,

marketed, manufactured, and sold various brands of chemical hair relaxer products that were

specifically marketed to black women, including but not limited to the Hawaiian Silky brand that

Mrs. Uqdah used to chemically straighten her hair.

       33.    At all times material hereto, Defendant Avlon developed, tested, assembled,

marketed, manufactured, and sold various brands of chemical hair relaxer products that were



                                          Page 9 of 41
                                                                                        Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3          Filed 11/20/24   Page 14 of 415




specifically marketed to black women, including but not limited to the Affirm brand that Mrs.

Uqdah used to chemically straighten her hair.

       34.     Mrs. Uqdah developed endometrial cancer as a result of frequent use of chemical

hair relaxers manufactured by the Defendants.

                                CHEMICAL HAIR RELAXERS

       35.     Black and brown girls are taught at a young age that to be accepted in society, they

must tame and control their natural hair.

       36.     This has led black and brown women and girls to temporarily or permanently alter

their curly hair strands to make them straight to adhere to western beauty standards.

       37.     Traditionally, black women straightened their hair using a heated comb, commonly

referred to as the “hot comb” invented by Francois Marcel Gateau. The hot comb, combined with

temporary hair straightening and growth products created by Madame C.J. Walker, became

popular in the early 1900s. Madame C.J. Walker became the country’s first black female

millionaire. This financial success showed the world that black haircare, particularly hair

straightening products, is a very lucrative business.

       38.     In 1909, Garrett A. Morgan invented a hair straightening cream after mixing

chemicals to correct friction in the sewing machine when sewing wool. The G.A. Morgan Refining

Cream, which straightened wool, was later used to straighten hair.

       39.     In the 1960s, the first-generation hair relaxer was created to chemically straighten

curly hair permanently by breaking and restructuring the disulfide bonds. The active ingredient,

sodium hydroxide, a lye, irritated the scalp, diminished hair strength, and was difficult to rinse.

Additionally, the lye caused the relaxer to have a short shelf life because of the separation of the

oil and water in the relaxer cream.



                                            Page 10 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS             Document 1-3          Filed 11/20/24    Page 15 of 415




        40.        In the 1970s, to remedy the disadvantages of the lye relaxer, hair relaxer

manufacturers began marketing no-lye relaxers using calcium hydroxide or guanidine hydroxide

as the active ingredients instead of sodium hydroxide.

        41.        Home hair relaxer kits were marketed and sold to women who wanted to apply the

chemical hair relaxer at home instead of having it professionally applied at a hair salon.

        42.        The home hair relaxer kits were a cheaper alternative to professional application at

a hair salon.

        43.        The home hair relaxer kit typically contains plastic gloves and a wooden spatula

for application because the chemicals are too harmful to touch with bare hands. The home hair

relaxer kits also include the relaxer cream, a liquid activator mixed with the relaxer cream before

application, neutralizing shampoo, and a restorative moisturizing balm.

        44.        For first-time application, the relaxer cream is placed on the hair from the root to

the end. After letting it sit on the hair for ten to twenty minutes, the relaxer is rinsed out with warm

water and then shampooed with a neutralizing shampoo to deactivate the alkalizing chemical

process, followed by applying conditioner to raise the pH level and soften the hair. Lastly, a

moisturizing treatment is used to restore hydration.

        45.        Defendants began marketing the new and improved no-lye-based relaxers using

two main marketing strategies: 1) marketing directly to black women and 2) portraying the no-lye

relaxer as safe.




                                              Page 11 of 41
                                                                                              Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24    Page 16 of 415




       46.     In the 1970s and 1980s, hair relaxer manufacturers used black celebrities such as

Debbie Allen and Natalie Cole in their commercial ads to market the no-lye relaxer as a safe way

to make curly and coarse hair more manageable.

       47.     In Dark & Lovely’s 1980 hair relaxer commercial, while applying a hair relaxer,

dancer and actress Debbie Allen stated, “For me, there is more to Dark & Lovely than just that it

doesn’t contain lye. Dark & Lovely is such a pleasure. It makes me feel like dancing.” While

dancing, she further stated, “It relaxes my hair just as well as those lye-based relaxers with a lot

less burning and irritation, and there is no offensive odor...and it leaves it so soft that I can do

anything with it.”




                                          Page 12 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3          Filed 11/20/24   Page 17 of 415




       48.         For decades, Defendants continued to market chemical hair relaxer products to

black women, but in the 1990s, the industry began to target young black girls with the first hair

relaxer for girls, “Just for Me” by Soft & Beautiful.

       49.     In 1993, the infamous Just for Me commercial premiered featuring LaTavia

Robinson, who later joined the famous music group Destiny’s Child. Young girls sang and danced

to the song with the lyrics: “Just for Me—the no-lye conditioner relaxing cream,” again marketing

the relaxer as safe because it did not contain lye.




                                            Page 13 of 41
                                                                                        Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24    Page 18 of 415




       50.     Other manufacturers followed suit, creating other chemical hair relaxers for young

girls, including the PCJ hair relaxer, also introduced in the early 1990s.

       51.     Young black girls became enamored with the girls depicted on the hair relaxer

boxes, believing they could achieve the same look if they used the hair relaxer.




       52.     It was recently discovered from a “Where Are They Now” interview that several

women depicted on the hair relaxer boxes did not have chemically straightened hair and never

used the chemical relaxer products.

       53.     The hair relaxer manufacturing companies spent billions of dollars targeting black

women and girls:




                                           Page 14 of 41
                                                                                        Case ID: 241002269
     Case 5:24-cv-06225-JLS         Document 1-3          Filed 11/20/24   Page 19 of 415




       54.     Although the hair relaxer manufacturing companies marketed the no-lye relaxers

as safe because they did not contain sodium hydroxide, the Defendant companies failed to warn

consumers about the harmful chemicals in the hair relaxers, including endocrine-disrupting

chemicals (“EDCs”).

                         ENDOCRINE DISRUPTING CHEMICALS

       55.      Endocrine-Disrupting Chemicals disrupt the endocrine system, a network of

organs and glands that produce, store, and secrete hormones. The glands, controlled by stimulation

from the nervous system and chemical receptors in the blood and hormones, help maintain the

body’s homeostasis by regulating the functions of organs.




                                          Page 15 of 41
                                                                                         Case ID: 241002269
      Case 5:24-cv-06225-JLS         Document 1-3          Filed 11/20/24   Page 20 of 415




        56.    These glands help maintain the body’s homeostasis by regulating the functions of

the organs in the body, including but not limited to cellular metabolism, reproduction, sexual

development, sugar and mineral hemostasis, heart rate, and digestion.

        57.    EDCs can disrupt different hormones by mimicking or interfering with a natural

hormone, which can trick the cellular hormone receptor into thinking that the EDC is the hormone

the cellular hormone receptor responds to.

        58.    This can cause the creation of excess hormones or deficient hormones and can cause

adverse effects, including causing abnormalities in sex organs, early puberty, endometriosis, and

hormonally responsive cancers, among other hormonally related diseases.

        59.    A group of EDCs called xenoestrogens mimic estrogen by pretending to be

biologically created estrogen. Over time, these estrogen mimickers become difficult to detoxify in

the liver.

        60.    Chemical hair relaxers contain various types of endocrine disrupting chemicals,

including phthalates and parabens.

                                             Phthalates

        61.    Phthalates were developed in the 1920s to make plastics more durable and

malleable, but today are used in cosmetics to create color and make fragrances last longer.

        62.    Phthalates are used in hair relaxers to make the hair more flexible after applying

the product.

        63.    Phthalates interfere with estrogen receptors and contribute to reproductive

problems such as early puberty in girls, menopausal symptoms, infertility, metabolic syndrome

and thyroid conditions, cognitive disorders, and cancer.




                                          Page 16 of 41
                                                                                         Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24    Page 21 of 415




       64.      Di-2-ethylheylphtyalate (“DEHP”) is a phthalate used in plastics to make them

more flexible. Testing of chemical hair relaxers found the presence of DEHP.

       65.      In the Report of Carcinogens, Fifteenth Edition, the U.S. Department of Health and

Human Services determined that there is “clear evidence” of carcinogenicity of DEHP in both

male and female rats and that it is “reasonably anticipated to be a human carcinogen.”

       66.      Similarly, the U.S. Environmental Protection Agency classified DEHP as a “B-2;

probable human carcinogen” in its Chemical Assessment Summary.

                                             Parabens

       67.      Parabens are a class of chemicals used as preservatives in cosmetic products to

prevent the growth of harmful bacteria and mold and therefore preserve the product’s shelf life.

There are common parabens, including methylparaben, propylparaben, butylparaben, and

ethylparaben.

       68.      Parabens are EDCs that also bind to estrogen receptors and mimic estrogen, causing

estrogen dominance and health conditions such as reproductive issues and hormonal cancers.

       69.      A recent study detected three different parabens in hair relaxer kits: methylparaben,

ethylparaben, and butylparaben. Testing of hair relaxer kits revealed high concentrations of this

parabens.

       70.      In February of 2012, an article published in New America Medica authored by

Thandisizwe Chimurenga entitled “How Toxic is Black Hair Care?” discussed prior and ongoing

research regarding EDCs in black hair care products, and noted that “a team of researchers led by

Dr. Lauren Wise of Boston University’s Slone Epidemiology Center found strong evidence

indicating that Black women’s hair relaxer use increases the risk for uterine fibroid tumors by

exposing Black women to various chemicals through scalp lesions and burns from the products.”



                                           Page 17 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24      Page 22 of 415




       71.     Chimurenga further noted that “May of 2011, Dr. Mary Beth Terry and others

authored a study, the findings of which showed that African-American and African-Caribbean

women were more likely to be exposed to hormonally-active chemicals in hair products.”

       72.     An August 2019 study examined tissue samples from tumors of women diagnosed

with endometrial cancer. It concluded that paraben molecules were more frequently detected in

endometrial carcinoma tissue samples compared to normal endometrium.

       73.     Dr. Terry’s study, “Racial/Ethnic Differences in Hormonally-Active Hair Product

Use: A Plausible Risk Factor for Health Disparities,” published in the Journal of Immigrant Health,

found that the African-American and African Caribbean women surveyed used products that

contained chemicals—commonly referred to as endocrine-disrupting chemicals (EDCs)—linked

to various reproductive and birth defects, breast cancer and heart disease.

       74.     Studies have shown that black women have elevated levels of phthalates in their

urine compared to white women. Additionally, a May 2021 study showed higher levels of

parabens and phthalates detected in the urine of women diagnosed with endometrial cancer than

women without cancer.

       75.     In a 2018 study, thirty-five different EDCs were present in three hair relaxer kits,

including phthalates, parabens, bisphenol A (“BPA”),               cyclosilicates, triclosan,   and

diethanolamine. Of the chemicals found to be present, 84% were not listed as ingredients on the

hair relaxer labels. Each of these individual EDCs is well documented to increase estrogen and

cause hormone-sensitive cancers.

       76.     The synergistic effects of the combination of the known EDCs in the hair relaxers

and other unknown chemicals hidden under the ingredient title “fragrances” further increase the

risk of developing hormonally driven cancers.



                                          Page 18 of 41
                                                                                          Case ID: 241002269
     Case 5:24-cv-06225-JLS         Document 1-3         Filed 11/20/24    Page 23 of 415




       77.    Moreover, because there is higher percutaneous absorption of chemicals in the

scalp compared with other areas of the skin such as on the forearm, palm, and abdomen, there is

an even greater risk of developing cancer from carcinogens placed on the scalp/hair.

       78.    Despite decades of studies revealing the harmful effects of EDCs, the presence of

EDCs in chemical hair relaxers, and the overwhelming disparity of gynecologic related injuries in

black women that are known to be caused by EDC exposure, Defendants continue to produce the

chemical hair relaxers without warning of the toxicity to the consumer.

                  PLAINTIFF KAREN UQDAH’S HAIR RELAXER USE

       79.    Plaintiff, Karenn Uqdah, consistently and frequently used Hair Relaxers, starting in

1968 through her final use on or around 2018.

       80.    For decades, Mrs. Uqdah used the Chemical Hair Relaxer Products, which are

manufactured and advertised by the named Manufacturer Defendants.

                                     L’Oréal Defendants

       81.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Dark & Lovely hair

relaxers, including but not limited to Dark and Lovely Beautiful Beginnings No-Mistake Smooth

Relaxer.

       82.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Optimum hair

relaxers, including but not limited to Optimum Salon Haircare Defy Breakage No-Lye Relaxer.

       83.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Bantu hair relaxers,

including but not limited to Bantu No Base Relaxer.

       84.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Mizani hair relaxers,

including but not limited to Mizani Sensitive Scalp Relaxer.




                                         Page 19 of 41
                                                                                         Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24   Page 24 of 415




       85.      Mrs. Uqdah has reason to believe that L’Oréal Defendants developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to L’Oréal Defendants, but unknown to Mrs. Uqdah, that contained endocrine disrupting

chemicals.

                               Strength of Nature Defendants

       86.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ African

Pride hair relaxers, including but not limited to:

             a. African Pride Olive Miracle Deep Conditioning Crème-on-Crème No Lye Relaxer

                8 Salon Pack Touch-UpsGentle Treatment No-Lye Relaxer

             b. African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer

             c. African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer With

                Aloe Deep Conditioner

             d. African Pride Olive Miracle Deep Conditioning No-Lye Relaxer One Complete

                Application; and,

             e. African Pride Olive Miracle Deep Conditioning No-Lye Relaxer, One Complete

                Touch-Up.

       87.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ Dr.

Miracle’s hair relaxers, including but not limited to Dr. Miracle’s No Lye Relaxer Kit.

       88.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ Gentle

Treatment hair relaxers, including but not limited to Gentle Treatment No-Lye Relaxer.

       89.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ TCB hair

relaxers, including but not limited to:




                                           Page 20 of 41
                                                                                          Case ID: 241002269
     Case 5:24-cv-06225-JLS             Document 1-3           Filed 11/20/24   Page 25 of 415




             a. TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye Relaxer, 2

                   Applications; and,

             b. TCB No-Base Crème Hair Relaxer with Protein & DNA.

       90.         Mrs. Uqdah used different variations of Strength of Nature Defendants’ Ultra Sheen

hair relaxers, including but not limited to:

              a.          UltraSheen Supreme Conditioning No-Lye RelaxerGentle Treatment No-

                          Lye Relaxer

              b.          UltraSheen Ultra Moisturizing No-Lye Relaxer; and,

              c.          UltraSheen Ultra Moisturizing No-Lye Relaxer, with Keratin.

       91.      Mrs. Uqdah has reason to believe that Strength of Nature Defendants developed,

tested, assembled, marketed, manufactured, and sold other brands of chemical hair relaxer

products known to Strength of Nature Defendants, but unknown to Mrs. Uqdah, that contained

endocrine disrupting chemicals.

                                 House of Cheatham Defendants

       92.         Mrs. Uqdah used different variations of House of Cheatham Defendants’ Africa’s

Best hair relaxers, including but not limited to Africa’s Best Herbal Intensive No-Lye Relaxer

System.

       93.         Mrs. Uqdah used different variations of House of Cheatham Defendants’ Affirm

hair relaxers, including but not limited to:

              a.          Affirm Crème Relaxer; and,

              b.          Affirm Sensitive Scalp Relaxer.

       94.         Mrs. Uqdah has reason to believe that House of Cheatham Defendants developed,

tested, assembled, marketed, manufactured, and sold other brands of chemical hair relaxer



                                               Page 21 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24   Page 26 of 415




products known to House of Cheatham, but unknown to Mrs. Uqdah, that contained endocrine

disrupting chemicals.

                                        Defendant Luster Products

       95.        Mrs. Uqdah used different variations of Defendant Luster Products’ Luster Pink

Oil hair relaxers, including but not limited to Luster’s Pink Oil Moisturizer No-Lye Conditioning

Relaxer.

       96.        Mrs. Uqdah has reason to believe that Defendant Luster Products developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to Defendant Luster Products, but unknown to Mrs. Uqdah, that contained endocrine

disrupting chemicals.

                                        Defendant AFAM

       97.        Mrs. Uqdah used different variations of Defendant AFAM’s Hawaiian Silky hair

relaxers, including but not limited to Hawaiian Silky - Crème Conditioning No Lye Silky Smooth

Sheen Relaxer.

       98.     Mrs. Uqdah has reason to believe that Defendant AFAM developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to Defendant AFAM Products, but unknown to Mrs. Uqdah, that contained endocrine

disrupting chemicals.

                                        Defendant Avlon

       99.        Mrs. Uqdah used different variations of Defendant Avlon’s Affirm hair relaxers,

including but not limited to:

             a.          Affirm Crème Relaxer; and,

             b.          Affirm Sensitive Scalp Relaxer.



                                            Page 22 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3        Filed 11/20/24   Page 27 of 415




        100.     Mrs. Uqdah has reason to believe that Defendant Avlon developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to Defendant Avlon, but unknown to Mrs. Uqdah, that contained endocrine disrupting

chemicals.

        101.     She reapplied the relaxer to newly grown hair approximately every three months at

both home and add hair salons using home hair relaxer kits until her last application on or around

2018.

        102.    Mrs. Uqdah purchased hair relaxer home kits from various retailers, including but

not limited to Sally Beauty, BJ’s Wholesale Club, Walmart, Kmart, and Giant.

        103.    Mrs. Uqdah purchased multiple hair relaxer home kits from Giant for several years

up until 2015, including the Chemical Hair Relaxer Products.

        104.    The Chemical Hair Relaxer Products purchased and used by the Mrs. Uqdah to

apply to her hair contained endocrine disrupting chemicals, including phthalates, parabens, and

other carcinogenic chemicals.

        105.    Mrs. Uqdah has reason to believe that the Dark & Lovely, Optimum, Bantu, Mizani,

Gentle Treatment, TCB, Africa’s Best, Luster’s Pink Oil, Hawaiian Silky, and Affirm contained:

               a.       phthalates, including but not limited to diethyl phthalate (DEP), bis(2-

                        ethyhexyl) phthalate (DEHP), and benzylbutyl phthalate

               b.       Bisphenol A;

               c.       cyclosiloxanes, including but not limited to octamethylcycloetrasiloxane

                        (D4),          decamethylcyclopentasiloxane            (D5),          and

                        dodecamethylcyclohexylsiloxane (D6) parabens, including but not limited

                        methyl paraben, ethyl paraben, bis(2-ethylhexyl);



                                           Page 23 of 41
                                                                                         Case ID: 241002269
     Case 5:24-cv-06225-JLS                  Document 1-3        Filed 11/20/24   Page 28 of 415




                 d.          antimicrobials, including but not limited to o-phenylphenol, triclosan, and

                             triclocarban;

                 e.          ethanolamines, including but not limited to menoethanolamine and

                             diethanolamine;

                 f.          alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol,

                             nonylphenol monoethoxylate, and nonylphenol diethoxylate;

                 g.          UV filters including, but not limited to benzophenone, benzophenone-1,

                             benzophenone-2, benzophenone-3, oxtinoxate, and octadimethyl PABA;

                 h.          fragrances, including but not limited to benzylcetate, eugenol, hexyl

                             cinnemal, limonene, linalool, methyl eugenol, methyl salicylate, pinene,

                             terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB, isobornyl acetate,

                             methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.

          106.        The Chemical Hair Relaxer Products purchased and used by Mrs. Uqdah increased

the risk of harm and/or was a substantial contributing factor to her development of endometrial

cancer.

     HAIR RELAXERS LINKED TO UTERINE AND ENDOMETRIAL CANCERS

          107.        The uterus comprises two main parts: the endometrium and the myometrium.

Cancers in the uterus muscle layer are referred to as uterine sarcoma.

          108.        Endometrial cancer is a carcinoma that begins in the endometrium lining of the

uterus.

          109.        Endometrial cancer is one of the three most common cancers in females and is the

most common form of uterine cancer.




                                                 Page 24 of 41
                                                                                                Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24   Page 29 of 415




         110.   There are two types of endometrial cancers. Type 1 endometrial cancer tumors are

classified as endometroid adenocarcinoma and are linked to excess estrogen in the body.

         111.   Type 2 endometrial cancer tumors include uterine serous, clear cell, and squamous

cell carcinomas.

         112.   Type 1 endometrial cancer is far more common than Type 2, and accounts for

approximately 90% of diagnosed endometrial cancer.

         113.   Type 1 endometrial cancer incidence increased significantly between 1999 and

2006 compared to Type 2 endometrial cancers, which remained relatively stable during those

years.

         114.   Some endometrial cancers begin with a pre-cancerous condition called endometrial

hyperplasia, which practitioners consider an early stage of endometrial cancer.

         115.   One of the main risk factors for endometrial and other uterine cancers include

changes in the balance of female hormones in the body. Accordingly, exposure to EDCs is a risk

factor for developing hormone-sensitive cancers such as endometrial cancer.

         116.   Black women are twice as likely to be diagnosed with uterine cancer than white

women and have poorer prognoses when diagnosed.

         117.    For decades, research has shown that black women are far more likely to develop

reproductive cancers and other reproductive diseases.

         118.   Additionally, black women are two to three times more likely to develop uterine

leiomyomata, also known as fibroid tumors, than white women.

         119.   Endometriosis is an estrogen-dependent reproductive disease that causes growth of

the endometrial glands and stroma outside of the uterus, causing chronic inflammation.




                                          Page 25 of 41
                                                                                          Case ID: 241002269
         Case 5:24-cv-06225-JLS        Document 1-3         Filed 11/20/24    Page 30 of 415




          120.   Endometriosis is a risk factor for endometrial cancer, and as with other reproductive

diseases, it is far more prevalent in black women.

          121.   In addition to the research demonstrating the significant disparity between black

and white women in the development of reproductive disease, research also establishes that black

girls go through puberty and start menstruating earlier than girls of other races.

          122.   Scientists from the University of California, San Francisco, and Berkeley

conducted a continuing study of over 1,200 girls tracked between 2005 and 2011. They concluded

that by age seven, 23% of black girls started to develop breasts, compared with just 10% of white

girls.

          123.   Researchers have been baffled by the inability to identify why black girls are

menstruating so early and why black women are developing reproductive issues at alarming rates.

          124.   According to NBC News, approximately 95% of black women reported using

chemical hair straightening products, such as hair relaxers. Many of these women also said they

began using the products in early childhood, sometimes as young as five or six years old, and

continued frequent use through adulthood.

          125.   Although there is so much diversity within the black female community, one

commonality between generations of black women is using permanent chemical hair relaxers to

straighten their hair.

          126.   In October 2022, the results of a groundbreaking study were published in the

Journal of the National Cancer Institute by Dr. Che-Jung Chang and others regarding the link

between hair relaxer use and the development of uterine cancers.

          127.   The study found that women who frequently used hair relaxers were more than

twice as likely to develop uterine cancers compared to women who did not use chemical hair



                                            Page 26 of 41
                                                                                             Case ID: 241002269
      Case 5:24-cv-06225-JLS               Document 1-3           Filed 11/20/24         Page 31 of 415




relaxers. Specifically, the study found that 1.64% of women who never used hair relaxer products

would develop uterine cancer before age 70. However, for women who ever used hair relaxers,

the risk of uterine cancer increased to 1.80% and drastically increased to 2.55% for women who

frequently used hair relaxers. 1

        128.     Among women who never used straighteners in the 12 months prior to baseline,

approximately 1.64% were predicted to develop uterine cancer by age 70 years. The estimated

risk was 1.18% (95% CI for risk difference = 0.15% to 2.54%) higher for the women with ever

use, and 2.41% (95% CI for risk difference = 0.52% to 4.80%) higher for those with frequent use

compared with women who never used hair relaxers.

        129.     According to the researchers, “These findings are consistent with prior studies

supporting a role of straighteners in increased risk of other female, hormone-related cancers.”

        130.      The researchers further stated that “Although no differences in the hazard ratios

between racial and ethnic groups were observed, the adverse health effects associated with

straightener use could be more consequential for African American and/or Black women because

of the higher prevalence and frequency of hair product use, younger age of initiating use, and

harsher chemical formulations.” 2

                     PLAINTIFF KAREN UQDAH’S CANCER DIAGNOSIS

        131.     In December of 2016, at the age of fifty-eight, Ms. Uqdah was diagnosed with

endometrial adenocarcinoma, FIGO grade 2.




1
  4 Che-Jung Chang, et al., Use of Straighteners and Other Hair Products and Incident Uterine Cancer, Journal of the
National Cancer Institute, Oct. 17, 2022, https://pubmed.ncbi.nlm.nih.gov/36245087.
2
  Id.

                                                 Page 27 of 41
                                                                                                         Case ID: 241002269
      Case 5:24-cv-06225-JLS         Document 1-3          Filed 11/20/24    Page 32 of 415




        132.    Mrs. Uqdah’s use of the hair relaxers manufactured and sold by the Defendants,

increased the risk of harm and/or was a substantial contributing factor to her development of

endometrial cancer.

        133.    Ms. Uqdah suffered significant pain as a result of her cancer diagnosis and

subsequent hysterectomy, radiation, and chemotherapy.

                                      DISCOVERY RULE

        134.    Despite knowing that their chemical hair relaxer products contain large amounts of

EDCs that are more likely to enter the body when applied through the scalp, the Defendants failed

to warn of the potential for the use of their products to cause cancer and reproductive issues.

        135.    Plaintiffs reserve the right to plead and invoke the discovery rule. Mrs. Uqdah’s

endometrial cancer is a latent injury. Accordingly, under such circumstances, Plaintiffs could not

have reasonably been expected to know the cause of her endometrial cancer. Plaintiffs lacked the

salient facts behind the cause of her endometrial cancer, and Plaintiffs could not have been aware

of the salient facts through reasonable diligence until less than two years before the filings of

Plaintiffs’ action.

        136.    Further, Plaintiffs did not and could not have known that her injuries were caused

by Defendants’ conduct in the exercise of reasonable diligence.

        137.    The carelessness and recklessness in the acts and omissions of the Defendants, as

outlined and averred throughout the entirety of this Complaint, was a factual cause of and/or placed

Mrs. Uqdah at an increased risk of harm for and/or was a substantial factor in causing and did in

fact directly and proximately cause the severe, permanent and grievous personal injuries and

damages to Plaintiffs.

                                      COUNT I
                         STRICT LIABILITY – DESIGN DEFFECT

                                           Page 28 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24   Page 33 of 415




                                (Karen Uqdah v. All Defendants)

          138.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          139.   At all relevant times, Defendants were engaged in the business of manufacturing,

formulating, creating, designing, testing, labeling, packaging, supplying, marketing, promoting,

selling, advertising, and distribution of the Chemical Hair Relaxer Products in a defective and

unreasonably dangerous condition to consumers, including Mrs. Uqdah.

          140.   Mrs. Uqdah used the Chemical Hair Relaxer Products frequently and consistently.

          141.   Defendants marketed and advertised the Chemical Hair Relaxer Products as a safe

product for use by consumers, specifically to black women and women of color, including Mrs.

Uqdah, despite knowing that they contained EDCs and other harmful chemicals.

          142.   At all relevant times, the Chemical Hair Relaxer Products reached their intended

consumers, including Mrs. Uqdah, without substantial change in the condition in which the

Defendants designed, produced, manufactured, sold, distributed, labeled, and marketed them.

          143.   Manufacturer Defendants had a duty to create the Chemical Hair Relaxer Products

in a way that was not unreasonably dangerous for their normal, intended, or anticipated use.

          144.   Retailer Defendants had a duty to ensure that the Chemical Hair Relaxer Products

were not defective and safe for their intended use before selling said products to consumers, such

as Ms. Uqdah.

          145.   Defendants’ Chemical Hair Relaxer Products were defective as they were

formulated, designed, and manufactured with carcinogens.




                                           Page 29 of 41
                                                                                          Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24      Page 34 of 415




       146.    The Defendants’ Chemical Hair Relaxer Products were defective because their

carcinogenic properties made them unreasonably dangerous in that they were dangerous to an

extent beyond that which an ordinary consumer, such as Mrs. Uqdah, would contemplate.

       147.    Further, the magnitude of the danger associated with use of the Chemical Hair

Relaxer Products outweighs the utility of these products.

       148.    The dangers of the Chemical Hair Relaxer Products were unknown to the ordinary

consumer.

       149.    Mrs. Uqdah did not know of these dangers. If she would have known, these dangers

would have been unacceptable to her, and she would not have used the Chemical Hair Relaxer

Products.

       150.    Defendants knew, or should have known, of the unreasonable risks of harm

associated with the use of the Chemical Hair Relaxer Products, namely their unreasonably

dangerous and carcinogenic properties and their propensity to cause cancer.

       151.    At the time of Mrs. Uqdah’s exposure, the Chemical Hair Relaxer Products were

being used in a normal, intended, or anticipated manner, as a chemical hair straightener product.

       152.    Mrs. Uqdah used the Chemical Hair Relaxer Products without knowledge of their

dangerous characteristics, specifically the carcinogenic risks associated with use of the products.

       153.    The foreseeable risks associated with use of the Chemical Hair Relaxer Products

exceeded the alleged benefits associated with their design and formulation.

       154.    Defects in Defendants’ Chemical Hair Relaxer Products increased the risk, and

were a producing cause, proximate cause, and substantial factor in the development of Mrs.

Uqdah’s cancer.




                                          Page 30 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24   Page 35 of 415




          155.   As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

                 a.     Economic losses, including medical care and lost earnings; and,

                 b.     Noneconomic losses, including physical and mental pain and suffering,

                        emotional distress, inconvenience, loss of enjoyment of life, impairment of

                        quality of life, past and future.

          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                        COUNT II
                          STRICT LIABILITY – FAILURE TO WARN
                               (Karen Uqdah v. All Defendants)

          156.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          157.   Mrs. Uqdah brings this strict liability claim against Defendants for failure to warn

about the toxic carcinogenic chemicals in their hair relaxer products.

          158.   At all relevant times, Defendants engaged in the business of testing, developing,

designing, manufacturing, marketing, selling, distributing, and/or promoting the Chemical Hair

Relaxer Products, which are defective and unreasonably dangerous to its consumers, including

Mrs. Uqdah because they do not contain adequate warnings or instructions regarding the dangerous

carcinogenic chemicals contained in the relaxer products.




                                             Page 31 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24   Page 36 of 415




        159.    The Defendants had a duty to warn of the risks associated with using their hair

relaxer products.

        160.    Defendants knew, or should have known, of the unreasonable risks of harm

associated with the use of their chemical hair relaxer products, namely their unreasonably

dangerous and carcinogenic properties and their propensity to cause cancer.

        161.    However, Defendants purposefully marketed their no-lye hair relaxer products as

safe because they did not contain “lye” or sodium hydroxide but failed to warn consumers about

the carcinogenic endocrine-disrupting chemicals in the hair relaxers.

        162.    Defendants disseminated information that was inaccurate, false, and misleading

and that failed to communicate accurately or adequately the comparative severity, duration, and

extent of the risk of injuries associated with use and frequent use of the Chemical Hair Relaxer

Products; and continued to promote the efficacy of the relaxers, even after they knew or should

have known of the unreasonable risks from use; and concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of use of the relaxers.

        163.    Defendants failed to exercise reasonable care to warn of the dangerous carcinogenic

risks associated with the use of its hair relaxers.

        164.    Mrs. Uqdah reasonably relied on the skill, superior knowledge, and judgment of

the Defendants.

        165.    Had Defendants properly disclosed the risks associated with use of their chemical

hair relaxers, Mrs. Uqdah could have chosen not to use the chemical hair relaxer and avoid the risk

of developing cancer from exposure to the hair relaxing chemicals.




                                            Page 32 of 41
                                                                                          Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24   Page 37 of 415




          166.   As a result of the absence of warning or instruction by Defendants regarding the

significant health-and-safety risks associated with the use of their hair relaxers, Mrs. Uqdah was

unaware that the Defendants’ hair relaxers were unreasonably dangerous and had carcinogenic

properties, since such information was not known to the general public.

          167.   Defendants’ failure to warn regarding the dangers associated with use of the

Chemical Hair Relaxer Products increased the risk, and was a producing cause, proximate cause,

and substantial factor in the development of Mrs. Uqdah’s cancer.

          168.   As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

                 a.     Economic losses, including medical care and lost earnings; and

                 b.     Noneconomic losses, including physical and mental pain and suffering,

                        emotional distress, inconvenience, loss of enjoyment of life, impairment of

                        quality of life, past and future.

          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                         COUNT III
                                       NEGLIGENCE
                           (Karen Uqdah v. Manufacturer Defendants)

          169.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.




                                             Page 33 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24   Page 38 of 415




       170.    At all relevant times, Defendants engaged in the business of testing, developing,

designing, manufacturing, marketing, selling, distributing, and/or promoting the Chemical Hair

Relaxer Products.

       171.    Mrs. Uqdah used the Chemical Hair Relaxer Products.

       172.    Defendants had a duty to exercise reasonable care in the research, design,

manufacturing, packaging, marketing, advertisement, supply, promotion, sale, and distribution of

the Chemical Hair Relaxer Products, including a duty to assure that the products would not cause

users to suffer unreasonable dangerous side effects, including developing cancer.

       173.    Defendants had a duty to provide true and accurate information and warnings

concerning the risks of using the Chemical Hair Relaxer Products.

       174.    Defendants failed to exercise reasonable care in that they knew, or should have

known, of the unreasonable risks of harm associated with the use of the Chemical Hair Relaxer

Products and the propensity for the Hair Relaxers to cause cancer.

       175.    Defendants also knew, or in the exercise of reasonable care, should have known,

that consumers and users of the Chemical Hair Relaxer Products were unaware of the carcinogenic

risks associated with use of the product.

       176.    Defendants’ negligence includes, but is not limited to, the following acts and/or

omissions:

               a.      Failing to sufficiently test the Chemical Hair Relaxer Products to determine

                       whether they were safe for their intended use;

               b.      Failing to sufficiently test the Chemical Hair Relaxer Products to determine

                       their carcinogenic properties after learning that their formulations could be

                       carcinogenic;



                                            Page 34 of 41
                                                                                           Case ID: 241002269
Case 5:24-cv-06225-JLS       Document 1-3        Filed 11/20/24     Page 39 of 415




       c.    Marketing, advertising, and recommending the use of the Chemical Hair

             Relaxer Products without sufficient knowledge as to their dangerous

             propensities;

       d.    Representing that the Chemical Hair Relaxer Products were safe for their

             intended use when they were not;

       e.    Failing to disclose the risk of serious harm associated with use the Chemical

             Hair Relaxer Products;

       f.    Failing to provide adequate instructions, guidelines, and safety precautions

             to protect the health of those persons whom Defendants could reasonably

             foresee would use the Chemical Hair Relaxer Products;

       g.    Failing to use reasonable and prudent care in the design, development, and

             manufacturing of the Chemical Hair Relaxer Products, so as to avoid the

             risk of serious harm associated with use;

       h.    Failing to sufficiently test the “inert” ingredients and/or adjuvants,

             including the chemicals classified as fragrances contained within the

             Chemical Hair Relaxer Products, and the propensity of these ingredients to

             render the relaxers toxic or to increase the toxicity of the relaxers;

       i.    Systematically suppressing or downplaying contrary evidence about the

             risks, incidence, and prevalence of the side effects of exposures to the

             Chemical Hair Relaxer Products, such as side effects of exposure to

             endocrine-disrupting chemicals;




                                 Page 35 of 41
                                                                                      Case ID: 241002269
     Case 5:24-cv-06225-JLS         Document 1-3          Filed 11/20/24    Page 40 of 415




               j.     Failing to disclose the risk of serious harm associated with use of endocrine-

                      disrupting chemicals either alone or when included the Chemical Hair

                      Relaxer Products; and,

               k.     Marketing, advertising, and recommending the Chemical Hair Relaxer

                      Products without sufficient knowledge as to their dangerous propensities;

               l.     Representing that the Chemical Hair Relaxer Products were safe for their

                      intended use when they were not;

               m.     Failing to disclose the risk of serious harm associated with use of Chemical

                      Hair Relaxer Products;

               n.     Representing that the Chemical Hair Relaxer Products were safe,

                      specifically because they did not contain “Lye”, sodium hydroxide, for their

                      intended use when they were not; and

               o.     Continuing to manufacture and sell the Chemical Hair Relaxer Products,

                      with the knowledge that the relaxers were unreasonably safe and dangerous.

       177.    It was reasonably foreseeable that consumers, including Mrs. Uqdah, would suffer

injury and possibly die as a result of Defendants’ failure to exercise reasonable care in the

manufacturing, marketing, promotion, labeling, distribution, and sale of the Chemical Hair Relaxer

Products.

       178.    Defendants’ negligent decisions to market and distribute the Chemical Hair Relaxer

Products increased the risk of harm, and was a producing cause, proximate cause, and substantial

factor of the development of Mrs. Uqdah’s cancer.




                                          Page 36 of 41
                                                                                          Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24   Page 41 of 415




          179.   As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

                 a.     Economic losses, including medical care and lost earnings; and,

                 b.     Noneconomic losses, including physical and mental pain and suffering,

                        emotional distress, inconvenience, loss of enjoyment of life, impairment of

                        quality of life, past and future.

          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                        COUNT IV
                            BREACH OF IMPLIED WARRANTIES
                               (Karen Uqdah v. All Defendants)

          180.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          181.   At all relevant times, Manufacturer Defendants were engaged in the business of

manufacturing, formulating, creating, designing, testing, labeling, packaging, supplying,

marketing, promoting, selling, advertising, and otherwise introducing the Chemical Hair Relaxer

Products that Mrs. Uqdah used into the stream of commerce.

          182.   At the time Manufacturer and Retailer Defendants, marketed, sold, and distributed

their Chemical Hair Relaxer Products for use by Mrs. Uqdah, Defendants knew of their intended

use and implicitly warranted that the products were of merchantable quality and safe and fit for

the use for which they were intended, specifically to chemically straighten hair.



                                             Page 37 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3        Filed 11/20/24     Page 42 of 415




       183.    Before the time of Mrs. Uqdah’s use of the Chemical Hair Relaxer Products,

Defendants impliedly warranted to consumers, including Mrs. Uqdah, that their relaxers were of

merchantable quality and safe and fit for the use for which they were intended; specifically, to

chemically straighten hair.

       184.    Defendants, however, failed to disclose that the Chemical Hair Relaxer Products

have dangerous propensities when used as intended and that the use of the relaxers carry an

increased risk of developing severe injuries, including Mrs. Uqdah’s cancer.

       185.    Mrs. Uqdah reasonably relied upon the skill, superior knowledge, and judgment of

Defendants, and upon their implied warranties that their Chemical Hair Relaxer Products were of

merchantable quality and fit for their intended purpose or use.

       186.    Manufacturer Defendants’ Chemical Hair Relaxer Products were expected to reach,

and did in fact reach, consumers and/or users, including Mrs. Uqdah, without substantial change

in the condition in which they were manufactured and by Manufacturer Defendants and sold by

Retailer Defendants.

       187.    At all relevant times to this litigation, Defendants were aware that consumers and

users of their Chemical Hair Relaxer Products, including Mrs. Uqdah, would use the products as

marketed; therefore, Mrs. Uqdah was a foreseeable user of the Chemical Hair Relaxer Products.

       188.    Defendants intended that their Chemical Hair Relaxer Products relaxers be used in

the manner in which Mrs. Uqdah was exposed, and Defendants implicitly warranted their product

to be of merchantable quality, safe, and fit for this use, despite the fact that the relaxers were not

adequately tested and/or researched.




                                           Page 38 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3          Filed 11/20/24   Page 43 of 415




       189.    In reliance on Defendants’ implied warranty, Mrs. Uqdah used the Chemical Hair

Relaxer Products as instructed and labeled and in the foreseeable manner intended, recommended,

promoted, and marketed by Manufacturer and Retailer Defendants.

       190.    Mrs. Uqdah could not have reasonably discovered or known of the risks of serious

injury associated with the Chemical Hair Relaxer Products.

       191.    Defendants breached their implied warranty to Mrs. Uqdah in that the Chemical

Hair Relaxer Products were not of merchantable quality, safe, or fit for their intended use, an/or

adequately tested.

       192.    Defendants’ Chemical Hair Relaxer Products have dangerous propensities when

used as intended and anticipated and can cause serious injuries, including the cancer Mrs. Uqdah

sustained.

       193.    The harm caused by Defendants’ Chemical Hair Relaxer Products far outweighed

their benefits, rendering the products more dangerous than an ordinary consumer or user would

expect and more dangerous than alternative products.

       194.    As a direct and proximate result of Defendants’ wrongful acts and omissions Mrs.

Uqdah has suffered severe and permanent physical and emotional injuries.

       195.    As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

               a.     Economic losses, including medical care and lost earnings; and

               b.     Noneconomic losses, including physical and mental pain and suffering,

                      emotional distress, inconvenience, loss of enjoyment of life, impairment of

                      quality of life, past and future.



                                           Page 39 of 41
                                                                                         Case ID: 241002269
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24     Page 44 of 415




          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                         COUNT V
                                  LOSS OF CONSORTIUM
                              (Emmanuel Bullock v. All Defendants)

          196.   The Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          197.   As a result of the negligence detailed at length above of all the above-named

Defendants, their agents, servants, employees and agents ostensible or direct set forth herein,

Plaintiff Emmanuel Bullock suffered the loss of services, society and comfort and companionship

of his wife, Karen Uqdah.

          1.     As the result of the negligence of the above-named Defendants, Emmanuel Bullock

claims the full measure of damages allowable under Pennsylvania law for the loss of consortium

of his wife, Karen Uqdah.

          WHEREFORE, Plaintiff respectfully demands judgment in his favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.




                                            Page 40 of 41
                                                                                             Case ID: 241002269
    Case 5:24-cv-06225-JLS   Document 1-3        Filed 11/20/24   Page 45 of 415




                                            Respectfully submitted,

                                            KLINE & SPECTER, P.C.


                                       By: ___________________________________
                                          SHANIN SPECTER, ESQUIRE
                                          TOBI L. MILLROOD, ESQUIRE
                                          BRADEN R. LEPISTO, ESQUIRE
                                          SHERRELL L. DANDY, ESQUIRE
                                          Attorneys for Plaintiffs


Dated: October 17, 2024




                                 Page 41 of 41
                                                                             Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3       Filed 11/20/24       Page 46 of 415




                                        VERIFICATION

       I, Karen Uqdah, hereby verify that I am the Plaintiff in the foregoing action; that the

attached Complaint is based upon information which I have furnished to my counsel and

information which has been gathered by my counsel in the preparation of the lawsuit. The

language of the Complaint is that of counsel and not of affiant. I have read the Complaint and to

the extent that the allegations therein are based upon information I have given counsel, they are

true and correct to the best of my knowledge, information, and belief. To the extent that the

contents of the Complaint are that of counsel, I have relied upon counsel in making this

Verification. I understand that false statements made herein are made subject to the penalties

of 18 Pa. C.S.A. § 4904 relating to unsworn falsifications to authorities.




Date: 10/17/2024                             xsax




                                             Karen Uqdah, Plaintiff




                                                                                        Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3       Filed 11/20/24       Page 47 of 415




                                        VERIFICATION

       I, Emmanuel Bullock, hereby verify that I am the Plaintiff in the foregoing action; that

the attached Complaint is based upon information which I have furnished to my counsel and

information which has been gathered by my counsel in the preparation of the lawsuit. The

language of the Complaint is that of counsel and not of affiant. I have read the Complaint and to

the extent that the allegations therein are based upon information I have given counsel, they are

true and correct to the best of my knowledge, information, and belief. To the extent that the

contents of the Complaint are that of counsel, I have relied upon counsel in making this

Verification. I understand that false statements made herein are made subject to the penalties

of 18 Pa. C.S.A. § 4904 relating to unsworn falsifications to authorities.




Date: 10/17/2024                             xsax




                                             Emmanuel Bullock, Plaintiff




                                                                                        Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 48 of 415




         Exhibit A-3
     Case 5:24-cv-06225-JLS             Document 1-3        Filed 11/20/24       Page 49 of 415



GOLDBERG SEGALLA, LLP                                                        Filed and Attested by the
BY: JOSEPH J. WELTER, ESQUIRE                                               Office of Judicial Records
ATTORNEY ID NO. 307885                                   Attorneys for Defendant,28 OCT 2024 02:26 pm
BY: ROBERT J. HAFNER, ESQUIRE                            AFAM Concept, Inc. (incorrectly
                                                                                      S. GILLIAM
ATTORNEY ID NO. 44105                                    pled as AFAM Concept, d/b/a JF
BY: STEPHEN A. SHEINEN, ESQUIRE                          Labs, Inc. )
ATTORNEY ID. NO. 61993
BY: NICOLE CASPERS, ESQUIRE
ATTORNEY ID NO. 335320
1700 Market Street, Suite 1418
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               ssheinen@goldbergsegalla.com
               ncaspers@goldbersegalla.com


KAREN UQDAH and EMMANUEL BULLOCK       :   COURT OF COMMON PLEAS
                 Plaintiffs            :   PHILADELPHIA COUNTY
                                       :
     Vs.                               :   OCTOBER TERM, 2024
                                       :
L’OREAL USA, INC, ET AL                :   NO. 2269
                                       :
              ENTRY OF APPEARANCE AND DEMAND FOR JURY TRIAL

TO THE OFFICE OF THE PROTHONOTARY:

         Please enter the appearances of Joseph J. Welter, Esquire, Robert J. Hafner, Esquire, Stephen A.

Sheinen, Esquire and Nicole Caspers, Esquire on behalf of AFAM Concept, Inc. (incorrectly pled as

AFAM Concept, Inc. d/b/a JF Labs, Inc.) only in the above matter.
                                        DEMAND FOR JURY TRIAL

        Defendant AFAM Concept, Inc. (incorrectly pled as AFAM Concept, Inc. d/b/a JF Labs, Inc.)

hereby demands a jury of 12 members and two (2) alternates in the above captioned matter.

                                                         GOLDBERG SEGALLA


                                                 By:    /S/ Stephen A. Sheinen
                                                        JOSEPH J. WELTER, ESQUIRE
                                                        ROBERT J. HAFNER, ESQUIRE
                                                        STEPHEN A. SHEINEN, ESQUIRE
                                                        NICOLE CASPERS, ESQUIRE
                                                        Attorneys for Defendant
                                                        AFAM Concept, Inc. (incorrectly pled as AFAM
                                                        Concept, Inc. d/b/a JF Labs, Inc.)


IMANAGE\286\0002\43040180.v1-10/28/24
                                                                                                Case ID: 241002269
     Case 5:24-cv-06225-JLS             Document 1-3        Filed 11/20/24      Page 50 of 415



                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of October, 2024 a true and correct copy of the

within Entry of Appearance was filed with the Court and served upon all counsel of record via the

ECF System.

                                                        GOLDBERG SEGALLA


                                                 By:   /S/ Stephen A. Sheinen
                                                       STEPHEN A. SHEINEN, ESQUIRE
                                                       Attorney for Defendant
                                                       AFAM Concept, Inc. (incorrectly pled as AFAM
                                                       Concept, Inc. d/b/a JF Labs, Inc.)




IMANAGE\286\0002\43040180.v1-10/28/24
                                                                                                  Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 51 of 415




         Exhibit A-4
     Case 5:24-cv-06225-JLS        Document 1-3        Filed 11/20/24      Page 52 of 415




                                              :                         Filed and Attested by the
 KAREN UQDAH,                                 :   COURT OF COMMON  PLEAS
                                                                Office  of Judicial Records
                                              :                     07 NOV 2024 03:45 pm
                                                  PHILADELPHIA COUNTY
               Plaintiff,                     :                                  S. GILLIAM
                                              :   OCTOBER TERM, 2024
        v.                                    :   NO. 2269
                                              :
 AVLON INDUSTRIES, INC., et al.,              :
                                              :
               Defendants.                    :
                                              :


                                           ORDER
      AND NOW this ______ day of ____________________, 2024, upon consideration of

Defendant Avlon Industries, Inc.’s Preliminary Objections to Plaintiff’s Complaint, and any

responses thereto, it is HEREBY

ORDERED AND DECREED that the Preliminary Objections are SUSTAINED, and

      1.      Any and all claims in Plaintiff’s Complaint against Defendant Avlon Industries,

Inc. are DISMISSED WITH PREJUDICE; and

      2.      Plaintiff’s claims for punitive damages against Defendant Avlon Industries, Inc. are

DISMISSED WITH PREJUDICE.



                                                             BY THE COURT:
                                                             _____________________________
                                                                                         J.




                                                                                       Case ID: 241002269
                                                                                     Control No.: 24111598
       Case 5:24-cv-06225-JLS       Document 1-3        Filed 11/20/24     Page 53 of 415




                                                              Notice To Plead: You are hereby
                                                              notified to file a written response
                                                              to the enclosed Preliminary
                                                              Objections within 20 days or a
                                                              judgment will be entered against
                                                              you.

                                                             Christopher McGowan
                                                              Christopher McGowan, Esquire

 GOLDBERG SEGALLA LLP                                   Attorneys for Defendant
 BY: CHRISTOPHER MCGOWAN                                Avlon Industries, Inc.
      JOSEPH CAGNOLI, JR., ESQUIRE
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                                                    :
 KAREN UQDAH,                                       :   COURT OF COMMON PLEAS
                                                    :   PHILADELPHIA COUNTY
                Plaintiff,                          :
                                                    :   OCTOBER TERM, 2024
         v.                                         :   NO. 2269
                                                    :
 AVLON INDUSTRIES, INC., et al.,                    :
                                                    :
                Defendants.                         :
                                                    :


     PRELIMINARY OBJECTIONS OF AVLON INDUSTRIES, INC. , TO PLAINTIFF’S
                              COMPLAINT

        Defendant, Avlon Industries, Inc., (hereinafter referred to as “Avlon” or “Moving

Defendant”), by and through its undersigned counsel, Goldberg Segalla LLP, hereby files the

following Preliminary Objections to Plaintiff’s Complaint pursuant to Pennsylvania Rule of Civil

Procedure 1028, and in support thereof, avers as follows:

I.      FACTUAL BACKGROUND AND PROCEDURAL HISTORY

                                                2
                                                                                        Case ID: 241002269
                                                                                      Control No.: 24111598
      Case 5:24-cv-06225-JLS              Document 1-3          Filed 11/20/24        Page 54 of 415




        1.       On October 14, 2024, Plaintiff filed a Complaint against Avlon Industries, Inc.. A

true and correct copy of the Complaint is attached hereto as Exhibit A.

        2.       Plaintiff alleges that she developed endometrial cancer as a result of using various

hair relaxer products for five decades. (See Ex. A.)

        3.       Plaintiff filed this lawsuit after the publication of a first-ever “groundbreaking

study” observing a purported association between the use of hair straightening products and uterine

cancer (the “Chang Article”). (Ex. A ¶¶ 126, 127 n.1.)1

        4.       Plaintiff alleges that she used 14 different hair relaxer brands over more than three

decades and alleges that these products are associated with 11 different Defendants. (Ex. A ¶¶ 2-

4, 6-7, 9-10, 12-15)

        5.       Plaintiff does not identify all of the hair relaxer products she used. Rather, she

alleges that she used products from various brands including, but not limited to, Avlon Industries,

Inc.’s Affirm brand, all of which have marketed multiple hair relaxer products over time. (Ex. A

¶¶ 33, 99)

        6.       Plaintiff alleges that she used “different variations” of hair relaxers from Avlon’s

Affirm hair relaxer “including but not limited to Affirm Crème Relaxer; Affirm Sensitive Scalp

Relaxer; and Affirm FiberGuard Sensitive Scalp Conditioning Relaxer.” (Ex. A ¶99.) But Plaintiff

fails to identify any of the other variations of Avlon hair relaxer products she used.

        7.       Plaintiff alleges that she used various relaxer products for approximately 50 years

beginning in 1968, during which time she used at least 13 other types of hair relaxers manufactured

by seven other defendants. (Ex. A ¶ 79)



1
 (Citing Che-Jung Chang, PhD, et al., Use of Straighteners and Other Hair Products and Incident Uterine Cancer,
114 J. Nat’l Cancer Inst., no. 12, Dec. 2022, at 1636 (published Oct. 17, 2022),
https://academic.oup.com/jnci/article/114/12/1636/6759686.)

                                                       3
                                                                                                    Case ID: 241002269
                                                                                                  Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24      Page 55 of 415




        8.      Plaintiff does not disclose when or how frequently she used the products beyond

claiming that she used a hair relaxer belonging to one of the 14 brands approximately every three

months. (Ex. A ¶¶ 83, 101.)

        9.      Plaintiff resides in Reading, Berks County, Pennsylvania. (Ex. A ¶ 1.)

        10.     Defendants are located either in Cumberland County, Pennsylvania, or outside of

Pennsylvania entirely. (Ex. A ¶¶ 2-4, 6-7, 9-10, 12-15.)

        11.     Pursuant to Pennsylvania Rules of Civil Procedure 1028(a)(1), (a)(2), (a)(3), (a)(4),

and 2149(a), Avlon Industries, Inc. now files the within Preliminary Objections to Plaintiff’s

Complaint.

II. PRELIMINARY OBJECTIONS

        12.     Preliminary objections may be filed by any party to any pleading on grounds that

include: the pleading fails to conform to law or rule of court or includes scandalous or impertinent

matter; the pleading is not sufficiently specific; the pleading is legally insufficient (demurrer); or

venue is improper. Pa.R.Civ.P. 1028(a)(1)-(4).

        13.     All preliminary objections are to be raised at one time. Pa.R.Civ.P. 1028(b). Two

or more preliminary objections may be raised in one responsive pleading. Id. The grounds for each

preliminary objection shall be stated and may be inconsistent with each other. Id. The role of the

trial court in ruling on preliminary objections is to determine whether the facts, as pled, are legally

sufficient to allow a claim to proceed. Firing v. Kephart, 353 A.2d 833, 835 (Pa. 1976).

        B.      Counts III and IV Should Be Dismissed Pursuant to Rule 1028(a)(4) Because
                Federal Law Preempts These Claims.

        14.     Avlon Industries, Inc. incorporates by reference all preceding paragraphs as if fully

set forth herein.




                                                  4
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24     Page 56 of 415




        15.     Plaintiff’s claims for negligence (Count III) and breach of implied warranties

(Count IV) are expressly preempted by the Federal Food, Drug, and Cosmetic Act (“FDCA”). The

FDCA, 21 U.S.C. § 301, et seq., provides that “no State or political subdivision of a State may

establish or continue in effect any requirement for labeling or packaging of a cosmetic that is

different from or in addition to, or that is otherwise not identical with, a requirement specifically

applicable to a particular cosmetic or class of cosmetics under this chapter.” 21 U.S.C. § 379s(a).

        16.     While FDCA preemption does not apply to products liability claims, it bars all other

claims that seek to impose labeling requirements that are not identical to those imposed by the

FDCA and its regulations. Critcher v. L’Oréal USA, Inc., 959 F.3d 31, 35-36 (2d Cir. 2020).

        14.     Plaintiff’s Complaint would require Avlon Industries, Inc. to identify constituent

ingredients in the fragrance component of its hair relaxers. (Ex. A ¶ 76 (alleging that “unknown

chemicals” are “hidden under the ingredient title ‘fragrances’”).) However, FDA regulations

expressly do not require disclosing the ingredients in the fragrance component. 21 C.F.R. §

701.3(a).

        18.     Plaintiff’s non-products liability claims are therefore preempted.

        WHEREFORE, Avlon Industries, Inc. respectfully requests that Counts III and IV of the

Complaint be dismissed.

        C.      Counts I through IV Should Be Dismissed Pursuant to Rules 1028(a)(2) and
                (a)(3) Because Plaintiff Fails to Satisfy Pennsylvania’s Fact-Pleading
                Standards and Plaintiff’s Allegations Are Insufficiently Specific.

        19.     Avlon Industries, Inc. incorporates by reference all preceding paragraphs as if fully

set forth herein.

        20.     Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(2), a preliminary

objection may be filed where a pleading fails to conform to law or rule of court. Pa.R.Civ.P.



                                                  5
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3       Filed 11/20/24     Page 57 of 415




1028(a)(2). Rule 1028(a)(3) separately provides that a preliminary objection may be filed if a

pleading is insufficiently specific. Id. 1028(a)(3).

       21.     The Commonwealth of Pennsylvania is a fact pleading jurisdiction. Under

Pennsylvania’s system of fact pleading, the plaintiff bears the burden of defining the issues, and

setting forth every act or performance essential to that end in the complaint. Santiago v. Pa. Nat’l

Mut. Cas. Ins. Co., 613 A.2d 1235, 1238 (Pa. Super. Ct. 1992).

       22.     Further, pursuant to Pennsylvania Rule of Civil Procedure 1019(a), the material

facts on which a cause of action or defense is based shall be stated in a concise and summary form.

Pa.R.Civ.P. 1019(a).

       23.     Rule 1019(f) further provides that “[a]verments of time, place and items of special

damages shall be specifically stated.” Pa.R.Civ.P. 1019(f).

       24.     Pleadings are to place the defendant on notice of the intended grounds for suit, and

should not require the defendant to guess at their substance. Schweikert v. St. Luke’s Hosp. of

Bethlehem, 886 A.2d 258, 270 (Pa. Super. Ct. 2005).

       25.     Plaintiff’s allegations against Avlon Industries, Inc. are so vague and conclusory

that they cannot apprise Avlon Industries, Inc. of the precise nature of Plaintiff’s claims. As a

result, Avlon Industries, Inc. cannot understand the specific basis for which recovery is sought and

cannot, therefore, understand the grounds for defense.

       26. Plaintiff’s Complaint violates the specificity requirements because it fails to identify

all of the Avlon Industries, Inc. products Plaintiff alleges she used, when she used them and how

often she used them, and makes no attempt to identify the chemical Plaintiff claims caused her

injury and whether any such chemical was included in a product that she used. This lack of




                                                  6
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24111598
       Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24       Page 58 of 415




specificity, alone, is sufficient grounds to dismiss all of Plaintiff’s claims against Avlon Industries,

Inc.

        WHEREFORE, Avlon Industries, Inc. respectfully requests that the Complaint be

dismissed.

        D.      Plaintiff’s Strict Liability Causes of Action (Counts I and II) Should Be
                Dismissed Pursuant to Rule 1028(a)(4) Because Plaintiff Fails to Identify All
                of the Products that Caused Her Injury and How the Injuries Were Caused.

        27.     Avlon Industries, Inc. incorporates by reference all preceding paragraphs as if fully

set forth herein.

        28.     Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4), a preliminary

objection in the nature of a demurrer may be filed if a pleading is legally insufficient. Pa.R.Civ.P.

1028(a)(4).

        29.     “Preliminary objections in the nature of a demurrer test the legal sufficiency of the

complaint. When considering preliminary objections, all material facts set forth in the challenged

pleadings are admitted as true, as well as all inferences reasonably deducible therefrom.” Feingold

v. Hendrzak, 15 A.3d 937, 934 (Pa. Super. Ct. 2011) (citation omitted). However, “the court need

not accept as true conclusions of law, unwarranted inferences from the facts, argumentative

allegations, or expressions of opinion.” Silo v. Ridge, 728 A.2d 394, 398 (Pa. Commw. Ct. 1999)

(citation omitted) (internal quotation marks omitted).

        30.     To state a strict products liability claim, Pennsylvania law requires that an allegedly

defective product be “causally connected to a compensable injury.” Tincher v. Omega Flex, Inc.,

104 A.3d 328, 383-84 (Pa. 2014) (emphasis added); Spino v. John S. Tilley Ladder Co., 696 A.2d

1169, 1142 (Pa. 1997) (“Pennsylvania law requires that a plaintiff prove two elements in a product




                                                   7
                                                                                             Case ID: 241002269
                                                                                           Control No.: 24111598
     Case 5:24-cv-06225-JLS             Document 1-3        Filed 11/20/24     Page 59 of 415




liability action: that the product was defective, and that the defect was a substantial factor in

causing the injury.”).

        31.       The Complaint does not identify all of the Avlon Industries, Inc. products allegedly

used by Plaintiff, much less allege a causal connection between any such product and Plaintiff’s

alleged injury.

        WHEREFORE, Avlon Industries, Inc. respectfully requests that Counts I and II of the

Complaint be dismissed.

        E.        Plaintiff’s Negligence and Warranty Causes of Action (Counts III and IV)
                  Should Be Dismissed Pursuant to Rule 1028(a)(4) Because Plaintiff Fails to
                  Identify Products, Fails to Allege a Duty, and Fails to Allege Causation.

        32.       Avlon Industries, Inc. incorporates by reference all preceding paragraphs as if fully

set forth herein.

        33.       Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4), a preliminary

objection may be filed if a pleading is legally insufficient. Pa.R.Civ.P. 1028(a)(4).

        34.       “Preliminary objections in the nature of a demurrer test the legal sufficiency of the

complaint. When considering preliminary objections, all material facts set forth in the challenged

pleadings are admitted as true, as well as all inferences reasonably deducible therefrom.” Feingold,

15 A.3d at 934 (citation omitted). However, “the court need not accept as true conclusions of law,

unwarranted inferences from the facts, argumentative allegations, or expressions of opinion.” Silo,

728 A.2d at 398 (citation omitted) (internal quotation marks omitted).

        35.       Like strict liability claims, claims for negligence and breach of warranty under

Pennsylvania law similarly require proof that the defendant’s negligence or breach of warranty

caused the plaintiff’s injury. See, e.g., Rhodes v. Avis Budget Car Rental, LLC, No. C.A. 15- 1459,

2016 WL 1435443, at *3, *7 (W.D. Pa. Apr. 12, 2016) (dismissing claims for negligence and



                                                    8
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24      Page 60 of 415




breach of warranty where the plaintiff’s allegations could not establish that the defendant’s conduct

caused the plaintiff’s injury).

        36.     Additionally, a negligence claim is appropriately dismissed where the plaintiff does

not specifically allege the existence of a statutory or common law duty. See Phillips v. Cricket

Lighters, 834 A.2d 1000, 1008 (Pa. 2003) (“It is axiomatic that in order to maintain a negligence

action, the plaintiff must show that the defendant had a duty ‘to conform to a certain standard of

conduct;’ that the defendant breached that duty; that such breach caused the injury in question; and

actual loss or damage.” (citation omitted)).

        37.     Plaintiff’s Complaint identifies some of the Avlon Industries, Inc. products she

allegedly used, but alleges that she used other “variations” of Avlon Industries, Inc. products,

which she fails to name. (Ex. A ¶ 99.) Plaintiff’s failure to identify all of the products she used

renders her unable to properly allege that Avlon Industries, Inc. owed her a duty of care as to any

of those products. Furthermore, Plaintiff’s Complaint similarly does not identify the ingredient or

chemical in any product that she alleges caused her to develop endometrial cancer. Her failure to

allege such facts demonstrating causation is also fatal to her negligence claim.

        38.     Plaintiff’s failure to allege all of the products she used and how they were defective

is also fatal to her breach of warranty claim. To prevail on a claim for breach of implied warranty

of merchantability, a plaintiff must show (1) that the seller is a merchant with respect to goods of

that kind and (2) that the goods are merchantable, including that they “are fit for the ordinary

purposes for which such goods are used” and that they “conform to the promises or affirmations

of fact made on the container or label if any.” See 13 Pa.C.S.A. § 2314. Without identifying all of

the products she used, Plaintiff necessarily cannot allege that the goods failed to conform to

promises made on their containers. And because Plaintiff does not allege what promises were made



                                                  9
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24111598
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24       Page 61 of 415




on the labels of the few products she does name, she has not pled a warranty claim as to any of

those products.

        39.     Plaintiff’s negligence and warranty claims are insufficiently pled and should be

dismissed pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4).

        WHEREFORE, Avlon Industries, Inc. respectfully requests that Counts III and IV of the

Complaint be dismissed.

        F.      Plaintiff’s Claim for Punitive Damages Should be Stricken Pursuant to Rule
                1028(a)(4).

        33.       Avlon Industries, Inc. incorporates by reference all preceding paragraphs as if fully

set forth herein.

        34. Avlon Industries, Inc. objects to Plaintiff’s claims for punitive damages because

Plaintiff fails to allege the requisite levels of conduct on behalf of Avlon Industries, Inc.. Claims

for punitive damages must be supported by allegations of malicious, willful, or reckless conduct.

See Wright v. Ryobi Techs., Inc., 145 F. Supp. 3d 439, 455-56 (E.D. Pa. 2016) (applying

Pennsylvania law) (“Punitive damages may be awarded because the defendant’s conduct was

outrageous, or because the defendant’s motive was evil, or because of the defendant’s reckless

indifference to the rights of others . . . . Punitive damages are only warranted for conduct that is

malicious, wanton, reckless, willful, or oppressive.” (citations omitted)). In Wright, for example,

the court granted summary judgment for the defendants on the plaintiff’s punitive damages claim

because his evidence that a safer design of the product at issue was possible was not alone

sufficient to show knowledge of “a high degree of risk of physical harm to another” followed by a

deliberate act, or failure to act, in conscious disregard of that risk. Id. at 457.

        42.     Plaintiff merely alleges that Avlon Industries, Inc. failed to exercise reasonable care

with respect to the manufacture of the Affirm brands. These allegations do not meet the pleading


                                                   10
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
      Case 5:24-cv-06225-JLS                Document 1-3           Filed 11/20/24         Page 62 of 415




threshold required to state a claim for punitive damages, and thus each and every one of Plaintiff’s

punitive damages claims should be dismissed pursuant to Pennsylvania Rule of Civil Procedure

1028(a)(4).

         WHEREFORE, Avlon Industries, Inc. respectfully requests that Plaintiff’s claims for

punitive damages be dismissed with prejudice.

         G.       Counts I through IV Should Be Dismissed Pursuant to Rule 1028(a)(1)
                  Because Venue is Improper in Philadelphia.

         43.      Avlon Industries, Inc. incorporates by reference all preceding paragraphs as if fully

set forth herein.

         44.      Pennsylvania Rule of Civil Procedure 1028(a)(1) provides for the filing of

preliminary objections on the basis of improper venue. Pa.R.Civ.P. 1028(a)(1).

         45.      Pennsylvania Rule of Civil Procedure 2149(a)(2) provides that venue is proper in

any county where a corporation, or similar entity, “regularly conduct business.” Zampana-Barry

v. Donaghue, 921 A.2d 500, 502 (Pa. Super. Ct. 2007); Gilfor ex rel. Gilfor v. Altman, 770 A.2d

334, 345 (Pa. Super. Ct. 2001).2

         46.      If a lawsuit involves joint or joint and several liability claims against multiple

defendants, it may be brought in any county where venue is proper against any one of the

defendants. Kim v. Dep’t of Transp., 270 A.3d 1284, 1290 (Pa. Commw. Ct. 2022); Zappala v.

Brandolini Property Management, Inc., 589 Pa. 516, 530 (Pa. 2006); Hausmann v. Bernd, 271

A.3d 486, 492 (Pa. Super. Ct. 2022).

         47.      Plaintiff has improperly filed her Complaint in Philadelphia County. Based on the

face of the Complaint, none of the Defendants are located in Philadelphia County. Rather, they are



2
 It is undisputed that none of the other means of establishing venue, as set forth in Rule 2179, even arguably apply
here

                                                         11
                                                                                                         Case ID: 241002269
                                                                                                       Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24       Page 63 of 415




located in Cumberland County, Pennsylvania, or outside of Pennsylvania completely. (Ex. A ¶¶ 2-

4, 6-7, 9-10, 12-15.)

         48.    Pennsylvania Rule of Civil Procedure 2149(a) is intended to ensure that a case is

tried in a location that has a logical connection to the dispute or the parties involved, balancing the

interests of convenience and fairness in the litigation process.

         49.    Because Plaintiff alleges she resides in Cumberland County, purchased multiple

hair relaxer home kits from retailers located in Cumberland County, and does not allege she

purchased any hair relaxer products in Philadelphia County, venue in this County is improper.

         WHEREFORE, Avlon Industries, Inc. respectfully requests that the Court sustain these

Preliminary Objections and dismiss all of Plaintiff’s four causes of action and her claims for

punitive damages with prejudice. In the alternative, Avlon Industries, Inc. requests that this action

be transferred to Cumberland County, Pennsylvania.

                                                       GOLDBERG SEGALLA LLP



                                                       BY: Christopher McGowan
                                                          CHRISTOPHER MCGOWAN, ESQ.
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                                                          Attorneys for Defendant(s)
                                                          Avlon Industries, Inc.

Dated:         November 7, 2024




                                                  12
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
      Case 5:24-cv-06225-JLS          Document 1-3       Filed 11/20/24      Page 64 of 415




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 KAREN UQDAH EdD,                                    :   PHILADELPHIA COUNTY
               Plaintiff(s),                         :   OCTOBER TERM, 2024
       v.                                            :   NO.: 02269
                                                     :
 Avlon Industries, Inc., et al.                      :
                      Defendant(s).                  :
                                                     :



     MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
          AVLON INDUSTRIES, INC , TO PLAINTIFF’S COMPLAINT

       Defendant, Avlon Industries, Inc., (hereinafter referred to as “Avlon” or “Moving

Defendant”), by and through its undersigned counsel, Goldberg Segalla LLP, hereby submits the

following Memorandum of Law in Support of its Preliminary Objections to Plaintiff’s Complaint.


I.     MATTER BEFORE THE COURT

       Before the Court are Preliminary Objections on behalf of Avlon Industries, Inc. to

Plaintiff’s Complaint and Plaintiff’s claims of punitive damages pursuant to Pennsylvania Rules

of Civil Procedure 1028(a)(1), (2), (3) and (4) and 2149(a). The Complaint fails to allege any facts

on which Plaintiff may be entitled to relief—Plaintiff does not identify each of the products that

she claims caused her injuries, nor does she, more critically, identify what chemicals were

contained in any product she allegedly used that may have caused her injuries. Additionally,

Philadelphia is not a proper venue for Plaintiff’s claims because none of the parties are alleged to


                                                13
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24111598
      Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24       Page 65 of 415




be based in Philadelphia. For the reasons set forth below, Avlon Industries, Inc. respectfully

requests that this Court sustain its Preliminary Objections and dismiss Plaintiff’s Complaint, or, in

the alternative, transfer the action to Cumberland County, Pennsylvania.

II.    STATEMENT OF QUESTIONS INVOLVED

       1. Should Plaintiff’s non-products liability claims (Counts III and IV) be dismissed

because they are preempted by federal law?

       Proposed answer: Yes.

       2.      Should Plaintiff’s Complaint be dismissed for insufficient specificity and failure to

conform to Pennsylvania Rule of Civil Procedure 1019(a) because Plaintiff fails to identify all of

the products she used, her frequency of use, or the chemicals contained in the products?

       Proposed answer: Yes.

       3.      Should Plaintiff’s strict liability claims (Counts I and II) be dismissed because they

are legally insufficient to state a claim against Avlon Industries, Inc., given that Plaintiff fails to

identify all of the products she used and fails to allege causation?

       Proposed answer: Yes.

       4.      Should Plaintiff’s negligence claim (Count III) be dismissed because it is legally

insufficient to state a claim against Avlon Industries, Inc., given that Plaintiff has not alleged

sufficient facts to establish a duty owed to her by Avlon Industries, Inc. nor facts showing that her

injury was caused by a product manufactured by Avlon Industries, Inc.?

       Proposed answer: Yes.

       5.      Should Plaintiff’s breach of warranty claim (Count IV) be dismissed because it is

legally insufficient to state a claim against Avlon Industries, Inc., given Plaintiff has not alleged

facts showing that her injury was caused by a product manufactured by Avlon Industries, Inc.?



                                                  14
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
       Case 5:24-cv-06225-JLS         Document 1-3        Filed 11/20/24       Page 66 of 415




          Proposed answer: Yes.

          6.     Should Plaintiff’s claim for punitive damages be dismissed because it is legally

insufficient to state a claim against Avlon Industries, Inc., given that Plaintiff has not sufficiently

alleged facts showing that Avlon Industries, Inc. acted with reckless indifference to the safety of

others?

          Proposed answer: Yes.

          7.     Should this Court dismiss Plaintiff’s Complaint for improper venue or, in the

alternative, transfer this action to Cumberland County?

          Proposed answer: Yes.

III.      RELEVANT FACTS

          A.     Allegations Of The Complaint

                 1.     General Allegations Unrelated to Plaintiff

          The Complaint focuses very little on Avlon Industries, Inc.. Instead, it provides lengthy

discussions about the invention and use of hair relaxers and the targeting of the African American

community, starting around the 1970s, by persons and entities other than Avlon Industries, Inc..

(See Ex. A ¶¶ 35-54.)

          The Complaint then turns its focus to endocrine-disrupting chemicals (“EDCs”),

specifically phthalates, identifying one phthalate in particular, Di-2-ethylhexylphthalate

(“DEHP”). (Ex. A ¶¶ 55-78.) Plaintiff alleges that chemical hair relaxers contain EDCs, which

“can cause the creation of excess hormones or deficient hormones and can cause adverse effects,

including causing abnormalities in sex organs, early puberty, endometriosis, and hormonally

responsive cancers, among other hormonally related diseases.” (Id. ¶ 58.)




                                                  15
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 67 of 415




       The Complaint associates uterine and endometrial cancers with exposure to EDCs (Ex. A

¶¶ 107-130), but only the October 2022 Chang Article made a tacit association between hair

relaxers and Plaintiff’s injury. The Chang Article authors observed “novel” findings of a

relationship between hair relaxers and uterine cancer. (Chang, supra note 1, at 1638.) The study

noted that “[b]rands or ingredients of hair products were not collected” (id. at 1638, 1634), and

that “[m]ore research is warranted to replicate [the] findings in other settings and to identify

specific chemicals driving this observed association” (id. at 1636).

               2.      Allegations Regarding Plaintiff

       Plaintiff alleges that she used hair relaxers approximately every three months beginning in

1972. (Ex. A ¶¶ 79, 101.) The Complaint identifies 14 purported hair relaxer brands that Plaintiff

used over five decades. (Id. ¶¶ 81-100.) One of the brands listed is Avlon’s Affirm brand (Id. ¶¶

33, 99.) While Plaintiff identifies some of the Affirm brand products she used, she also alleges she

used “different variations” of these hair relaxer products, including but not limited to the products

she names, and she does not identify the other products in her Complaint. (Ex. A ¶ 99.) Plaintiff

alleges that her use of these various products, including at least 13 other products manufactured

by the other named Defendants, resulted in her being diagnosed with uterine and endometrial

cancer in December of 2016. (Id. ¶¶ 34, 131, 132.)

       B.      Notable Omissions From The Complaint

       The Complaint reveals more by what it omits than by what it contains. While Plaintiff’s

Complaint identifies the Affirm brand sold by Avlon and alleges that she used “different

variations” of hair relaxer, she only identifies some of the Affirm brand products that she actually

used. (Ex. A ¶ 99.) Furthermore, Plaintiff does not identify a single product she used that contains




                                                 16
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24111598
      Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 68 of 415




DEHP, or any other phthalate, nor does she provide the frequency of her product use. Plaintiff also

has not identified any material misrepresentation or omission made by Avlon Industries, Inc..

       C.      Allegations Concerning Venue

       Plaintiff’s Complaint alleges that she resides in Reading, Cumberland County,

Pennsylvania. (Ex. A ¶ 1.) It further alleges that Avlon Industries, Inc. have their principal places

of business at 1999 North 15th Street, Melrose Park, Illinois 60160. (Id. ¶ 14.) The remaining

Defendants are either located outside of the state of Pennsylvania (id. ¶¶ 2-4, 6-7, 9-10, 12-14) or

are located in Carlisle, Pennsylvania, which are all located in Cumberland County, Pennsylvania.

(Id. ¶¶ 15.) Plaintiff does not allege she purchased the hair relaxer products in Philadelphia County,

and the incident spurring the instant suit did not occur in Philadelphia County because Plaintiff

does not reside there.

IV.    LEGAL STANDARD

       A.      Preliminary Objections in the Nature of a Demurrer Based on Legal
               Insufficiency Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4).

       Pursuant to Pennsylvania Rule of Civil Procedure 1028(a), preliminary objections may be

filed “by any party to any pleading.” Pa.R.Civ.P. 1028(a). Preliminary objections may be made on

the grounds of legal insufficiency of a pleading styled as a demurrer. Id. 1028(a)(4). In evaluating

a demurrer, the question for the court is “whether, on the facts averred, the law says with certainty

that no recovery is possible.” Werner v. Plater-Zyberk, 799 A.2d 776, 783 (Pa. Super. Ct. 2002).

If, on a review of the facts, the complaint is legally insufficient, a preliminary objection in the

nature of a demurrer will be sustained. See Cardenas v. Schober, 783 A.2d 314, 321 (Pa. Super.

Ct. 2001).

       Additionally, “[i]n reviewing preliminary objections, only facts that are well pleaded,

material, and relevant will be considered as true, together with such reasonable inferences that may


                                                 17
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24111598
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 69 of 415




be drawn from those facts . . . .” Santiago v. Pa. Nat. Mut. Cas. Ins. Co., 613 A.2d 1235, 1238 (Pa.

Super. Ct. 1992). The plaintiff’s “conclusions or averments of law are not considered to be

admitted as true by a demurrer.” MacGregor v. Mediq Inc., 576 A.2d 1123, 1125 (Pa. Super. Ct.

1990). Accordingly, a court “may not supply a fact missing in the complaint.” Hart v. O’Malley,

647 A.2d 542, 552-53 (Pa. Super. Ct. 1994), aff’d, 676 A.2d 222 (Pa. 1996).

       B.      Preliminary Objections Based Upon Plaintiff’s Failure to Properly Plead
               Pursuant to Pennsylvania Rules of Civil Procedure Rule 1028(a)(2) and
               (a)(3).

       Pennsylvania Rule of Civil Procedure 1028(a)(2) provides that preliminary objections may

be made on the ground that a pleading fails to conform to law or rule of court. Pa.R.Civ.P.

1028(a)(2). Pennsylvania Rule of Civil Procedure 1019(a) further mandates that “[t]he material

facts on which a cause of action or defense is based shall be stated in a concise and summary

form.” Id. 1019(a). “‘The complaint must not only apprise the defendant of the claim being

asserted, but it must also summarize the essential facts to support the claim.’” Donaldson v.

Davidson Bros., 144 A.3d 93, 103 (Pa. Super. Ct. 2016) (citation omitted).

       Pennsylvania Rule of Civil Procedure 1028(a)(3) similarly provides that preliminary

objections may be made on the ground that a pleading is insufficiently specific. Pa.R.Civ.P.

1028(a)(3). This rule asks “‘whether the complaint is sufficiently clear to enable the defendant to

prepare his defense,’ or ‘whether the plaintiff’s complaint informs the defendant with accuracy

and completeness of the specific basis on which recovery is sought so that he may know without

question upon what grounds to make his defense.’” Rambo v. Greene, 906 A.2d 1232, 1236 (Pa.

Super. Ct. 2006) (citation omitted). “In this Commonwealth, the pleadings must define the issues

and thus every act or performance to that end must be set forth in the complaint.” Koch v. First




                                                18
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24       Page 70 of 415




Union Corp., Nos. CONTROL 100727, CONTROL 100746, 2002 WL 372939, at *2 (Pa. Com.

Pl. Jan. 10, 2002) (citation omitted) (internal quotation marks omitted).

       Preliminary objections “are properly granted when the pleadings are legally insufficient

for one or more of several reasons enumerated in Rule of Civil Procedure 1028 . . . [including] (2)

failure of a pleading to conform to law or rule of court . . .; [and] (3) insufficient specificity in a

pleading.” Baker v. Cambridge Chase, Inc., 725 A.2d 757, 764 (Pa. Super. Ct. 1999) (second

omission in original). Finally, “a court is not required to allow amendment of a pleading if a party

will be unable to state a claim on which relief could be granted.” Werner v. Zazyczny, 681 A.2d

1331, 1338 (Pa. 1996).

       C.      Preliminary Objections Based Upon Improper Venue Pursuant to
               Pennsylvania Rules of Civil Procedure Rule 1028(a)(2) and (a)(3).

       Pennsylvania Rule of Civil Procedure 1028(a)(1) provides for the filing of preliminary

objections on the basis of improper venue. Pa.R.Civ.P. 1028(a)(1). Pennsylvania Rule of Civil

Procedure 2149(a)(2) provides that venue is proper in any county where a corporation, or similar

entity, “regularly conduct business.” Zampana-Barry v. Donaghue, 921 A.2d 500, 502 (Pa. Super.

Ct. 2007); Gilfor ex rel. Gilfor v. Altman, 770 A.2d 334, 345 (Pa. Super. Ct. 2001). If a lawsuit

involves joint or joint and several liability claims against multiple defendants, it may be brought

in any county where venue is proper against any one of the defendants. Kim v. Dep’t of Transp.,

270 A.3d 1284, 1290 (Pa. Commw. Ct. 2022); Zappala v. Brandolini Property Management, Inc.,

589 Pa. 516, 530 (Pa. 2006); Hausmann v. Bernd, 271 A.3d 486, 492 (Pa. Super. Ct. 2022).

Pennsylvania Rule of Civil Procedure 2149(a) is intended to ensure that a case is tried in a location

that has a logical connection to the dispute or the parties involved, balancing the interests of

convenience and fairness in the litigation process.




                                                  19
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24      Page 71 of 415




V.     ARGUMENT

       A.      Plaintiff’s Non-Products Liability Claims are Preempted by Federal Law.

       Plaintiff’s negligence and warranty causes of action are expressly preempted by the FDCA.

Under the Supremacy Clause of the United States Constitution, “federal law is ‘the supreme Law

of the land’ and any conflicts between federal and state laws must be resolved in favor of federal

law.” Werner v. Plater-Zyberk, 799 A.2d 776, 787 (Pa. 2002) (citation omitted). One recognized

method of preemption, express preemption, exists where “there is an explicit statutory command

that state law be displaced.” Id. “It is also well established that federal law may impliedly preempt

state law to the extent that the state law conflicts with a federal regulatory scheme.” Id. at 788.

       With regard to the labeling of cosmetics, the FDCA includes an express preemption

provision that prohibits any state from “establish[ing] or continu[ing] in effect any requirement for

labeling or packaging of a cosmetic that is different from or in addition to, or that is otherwise

not identical with, a requirement specifically applicable to a particular cosmetic or class of

cosmetics under this chapter.” 21 U.S.C. § 379s(a) (emphases added). The only exception to this

broad preemption is for products liability claims. Id. § 379s(d).

       Thus, a plaintiff cannot seek to “impose labeling requirements that are additional to, or

different from, those that [the FDCA] has established.” Critcher v. L’Oréal USA, Inc., 959 F.3d

31, 38 (2d Cir. 2020). Congress conferred authority to the Food and Drug Administration (“FDA”)

to promulgate rules and regulations under the FDCA, 21 U.S.C. § 371(a), and the FPLA, 15 U.S.C.

§ 1454(a). Federal regulations do not require cosmetic manufacturers to designate phthalates apart

from what it requires to be designated as a “fragrance.” 21 C.F.R. § 701.3(a) (“The label on each

package of a cosmetic shall bear a declaration of the name of each ingredient in descending order




                                                 20
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24111598
      Case 5:24-cv-06225-JLS               Document 1-3           Filed 11/20/24        Page 72 of 415




of predominance, except that fragrance or flavor may be listed as fragrance or flavor.” (emphasis

added)).

        The “sweeping preemptive force” of the FDCA led the Second Circuit to affirm the

dismissal of analogous mislabeling claims in Critcher, 959 F.3d at 38. There, the plaintiffs asserted

consumer protection, unjust enrichment, and breach of warranty claims against Avlon Industries,

Inc., alleging various cosmetic products’ labels were misleading because they did not disclose that

consumers “will not be able to access or use a large percentage . . . of the product.” Id. at 36. While

the FDCA requires that labels contain an “accurate statement of the quantity of the [products’]

contents in terms of weight, measure, or numerical count,” the FDA promulgated more “specific

labeling requirements” consistent with the statute, and no statute or regulation required plaintiffs’

desired disclosure. Id. at 35. Thus, because the FDCA preempts “any state law that provides for

labeling requirements that are not exactly the same as those set forth in the FDCA and its

regulations,” the claims were found to be preempted. Id. at 35-36.

        Plaintiff accuses Avlon Industries, Inc. of falsely marketing, mislabeling, and/or failing to

disclose the existence of phthalates in its products. Plaintiff then speculates that she could not

identify from the ingredient label whether a product contains phthalates because phthalates may

be part of the product’s fragrance. (Ex. A ¶ 76.) As Avlon Industries, Inc. has no obligation to

identify fragrance ingredients, and certainly has no obligation to identify ingredients that are not

in their products, Plaintiff’s claims are preempted. 3

        B.       Plaintiff’s Complaint Should Be Dismissed Because Plaintiff Fails to Comply
                 with Pennsylvania’s Fact Pleading Standard.




3
 Plaintiff’s claims are also impliedly preempted both because the FDCA occupies the field and because Plaintiff’s
demands conflict with the FDCA. See Plater-Zyberk, 799 A.2d at 787.

                                                        21
                                                                                                       Case ID: 241002269
                                                                                                     Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24       Page 73 of 415




        Plaintiff’s claims should be dismissed because Plaintiff fails to identify all of the products

she used. Pennsylvania has a specific pleading standard, fact pleading, which places on the plaintiff

the burden of defining the issues and setting forth every act or performance essential to that end in

the complaint. Santiago v. Pa. Nat’l Mut. Cas. Ins. Co., 613 A.2d 1235, 1238 (Pa. Super. Ct. 1992).

Pennsylvania Rule of Civil Procedure 1019(a) further mandates that “[t]he material facts on which

a cause of action or defense is based shall be stated in a concise and summary form.” Pa.R.Civ.P.

1019(a). Additionally, subsection (f) requires that “[a]verments of time, place and items of special

damage shall be specifically stated.” Id. 1019(f). Pennsylvania Rule of Civil Procedure 1022 adds

that each paragraph in a pleading “shall contain as far as practicable only one material allegation.”

Id. 1022. Each of Plaintiff’s causes of action fails because she does not meet this fact pleading

standard. She fails to identify all of the products she used, she does not allege how or when she

used specific products, nor does she allege what chemicals caused her injury. These deficiencies

are fatal to her claims.

        Plaintiff did not properly plead her strict liability claims for design defect and failure to

warn, because she failed to allege the necessary facts as to each particular product. The court in

Commonwealth v. Monsanto Co., 269 A.3d 623, 661 (Pa. Commw. Ct. 2021) confirmed that “[a]s

required to plead a valid design defect claim, Plaintiffs allege that Defendants’ PCB products were

defective, the products were defective when they left Monsanto’s hands, and the defects harmed

the public and/or Plaintiffs’ natural resources.” As to failure to warn claims, “[t]he first element of

a strict-liability claim is that the product be defective [including where it has an inadequate

warning]. . . . ‘The second element of a strict-liability failure-to-warn claim is that the defective

warning caused the plaintiff’s injury.’” Id. at 663-64 (quoting Whyte v. Stanley Black & Decker,

Inc., 514 F. Supp. 3d 684, 700 (W.D. Pa. 2021)). Here, in her design defect and her failure to warn



                                                  22
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24       Page 74 of 415




claims, Plaintiff identifies only some of the products she allegedly used. The product she used is

material to her strict products liability claims, thus by failing to name all of the products she used,

Plaintiff has not met Pennsylvania’s fact-pleading requirements under Rule 1019(a). As to the

products Plaintiff does identify, she does not allege the defect in any product or how it caused her

injury. Failure to identify these necessary facts is similarly fatal to both her design defect and

failure to warn claims. These claims should therefore be dismissed.

       Plaintiff’s claim for negligence fails for similar reasons. As to the unnamed products in

Plaintiff’s Complaint, Plaintiff has not alleged a duty owed to her by Avlon Industries, Inc. to

conform to a particular standard of conduct. Barton v. Lowe’s Home Ctrs., Inc., 124 A.3d 349, 359

(Pa. Super. Ct. 2015). In a products liability action, a plaintiff can allege a duty by showing a

relationship between the purchaser of a product and the manufacturer of that product. Id. Here,

Plaintiff cannot allege such a relationship because she does not include facts specifying what

particular products she purchased from Avlon Industries, Inc.. As her Complaint fails to allege

what particular product she allegedly used that was manufactured by Avlon Industries, Inc., she

cannot establish the first element of her negligence claim. Similarly, as to the products Plaintiff

does name, she has not alleged how the products caused her injury and thus cannot establish the

third element of her negligence claim: causation. See Phillips v. Cricket Lighters, 834 A.2d 1000,

1008 (Pa. 2003). Accordingly, her negligence claim should be dismissed.

       Finally, Plaintiff’s claim for breach of warranty also fails because she has not included

allegations in her Complaint as to all of the products she allegedly used. “Under Pennsylvania law,

contract claims for breach of the implied warranty of merchantability and fitness for a particular

purpose may also fall within the sphere of products liability actions.” Barton, 124 A.3d at 357.

Such warranties are “implied by law to protect buyers from loss where goods purchased are below



                                                  23
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24      Page 75 of 415




commercial standards.” Id. Here, Plaintiff fails to allege facts identifying each of the particular

goods that she used. The products she allegedly used, and which allegedly harmed her, are material

facts underlying her claims. Without them, her breach of warranty claim cannot proceed. As to the

Avlon Industries, Inc. products she has identified, Plaintiff has failed to specify what aspect of

these products’ warnings or labels were insufficient. Thus, this claim should also be dismissed for

failure to abide by Pennsylvania’s fact-pleading standard.

        Plaintiff’s failure to meet her burden of pleading the material facts underlying her claims

with the requisite specificity leaves Avlon Industries, Inc.to guess at which of its hair relaxer

products she may have used for 50 years, how the product was defective, and what component of

the product harmed her. This leaves Avlon Industries, Inc. unable to properly prepare a defense to

the action. This situation is precisely what Rules 1028 and 1019 exist to protect against, and

Plaintiff’s Complaint should be dismissed in its entirety accordingly.

        C.      Plaintiff’s Strict Liability Claims Fail as a Matter of Law Because She Fails
                to Identify All of the Products She Used or Allege Causation.

        Plaintiff brings two claims against Avlon Industries, Inc. in strict liability: one alleging

design defect and the other alleging a failure to warn. As detailed below, both claims fail as a

matter of law because they lack an essential component of a strict products liability claim:

identification of every product that caused the complained-of injury. See Cummins v. Firestone

Tire & Rubber Co., 495 A.2d 963, 968-69 (Pa. Super. Ct. 1985) (affirming the dismissal of the

plaintiff’s strict liability cause of action because he could not “adequately aver the requisite

connection between appellees and the defective product,” which constituted a “fatal deficiency”

to his claim); see also Tincher v. Omega Flex, Inc., 104 A.3d 328, 331 (Pa. 2014) (“[I]n

Pennsylvania, the cause of action in strict products liability requires proof, in the alternative, either

of the ordinary consumer’s expectations or of the risk-utility of a product.”). As Plaintiff does not


                                                   24
                                                                                              Case ID: 241002269
                                                                                            Control No.: 24111598
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24     Page 76 of 415




allege all of the products she used in either of her strict liability causes of action, nor does she

allege how any product caused her harm, Plaintiff’s design defect and failure to warn claims must

be dismissed.

                1.     Plaintiff’s Strict Liability Design Defect Claim Fails Because She Does
                       Not Identify Every Product She Used or How the Products were
                       Defective.

       Plaintiff’s design defect claim (Count I) fails because the Complaint does not identify a

defect in any product—let alone an actual product Plaintiff purportedly used. To prevail on a

design defect claim, “the plaintiff must prove that the product was defective, the defect existed

when it left the defendant’s hands, and the defect caused the harm.” Barton v. Lowe’s Home Ctrs.,

Inc., 124 A.3d 349, 354-55 (Pa. 2015) (citing Riley v. Warren Mfg., Inc., 688 A.2d 221, 224 (Pa.

Super. Ct. 1997)). In Pennsylvania, a defective condition may be proven “by showing either that

(1) the danger is unknowable and unacceptable to the average or ordinary consumer, or that (2) a

reasonable person would conclude that the probability and seriousness of harm caused by the

product outweigh the burden or costs of taking precautions.” Tincher v. Omega Flex, Inc., 104

A.3d 328, 335 (Pa. 2014). No matter which method a plaintiff elects, the baseline requirement

remains the same: the plaintiff must allege both that a particular product is defective and what

makes it purportedly defective. Here, Plaintiff does neither.

       Plaintiff’s design defect claim first fails because she does not identify all of the Avlon

Industries, Inc. products she allegedly used. Plaintiff instead alleges that she used “different

variations” of Affirm brand products “including but not limited to” Affirm Crème Relaxer; Affirm

Sensitive Scalp Relaxer; and Affirm FiberGuard Sensitive Scalp Conditioning Relaxer. (Ex. A ¶

99.) By failing to identify the other products she allegedly used, Plaintiff has not satisfied her

pleading burden.



                                                25
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24111598
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24     Page 77 of 415




       In Barton, the court found that the plaintiff had included sufficient detail in his complaint

alleging a design defect in a lawnmower so as to avoid dismissal. The allegations in his complaint

included that:

       (1) [Plaintiff] purchased a Husqvarna lawnmower (with a Kohler engine) from
           Lowe’s; (2) just three days later, he used the lawnmower for the first time
           to cut grass on his property and then stored the lawnmower in his barn; (3)
           later that day, the engine or mower caught fire and/or exploded inside the
           barn, because the engine ran too hot and melted the fuel lines, causing fuel
           to leak onto the hot engine or muffler; and (4) the barn burned down.

124 A.3d at 355. The court determined that the allegations were sufficient to survive preliminary

objections because “when a brand new lawnmower catches fire or explodes after its first use, it

could be the result of a defect in its design or manufacture.” Id. at 356. Although more specifics

would likely be unearthed during the discovery process, the plaintiff’s complaint sufficiently

“furnish[ed] a concise overview of the defects that he intend[ed] to prove.” Id.

       In contrast to the detailed allegations in the complaint in Barton, Plaintiff’s Complaint

includes hardly any specific factual allegations. Instead, Plaintiff’s 41-page Complaint recounts

the history of chemical hair relaxer products (¶¶ 35-54), details what endocrine disrupting

chemicals are and how they purportedly work (¶¶ 55-78), and makes allegations concerning the

link between chemical hair relaxers and endometrial cancers (¶¶ 107-130). Plaintiff does not

identify all of the products she actually used, nor does she specify when or how often she used hair

relaxer products, or what ingredient in the products rendered them defective. Plaintiff merely

alleges that over the course of 50 years, she used hair relaxers from any one of 14 different brands

approximately every three months. (Ex. A ¶¶ 80, 101.) Accordingly, Plaintiff’s strict liability

design defect claim fails as a matter of law and should be dismissed.

       2.        Plaintiff’s Strict Liability Failure to Warn Claim Fails Because
                 Plaintiff Does Not Identify All of the Products She Used, How the
                 Products Were Defective, or How the Purported Defect Injured Her.


                                                26
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24111598
     Case 5:24-cv-06225-JLS            Document 1-3        Filed 11/20/24       Page 78 of 415




       Plaintiff’s failure to warn claim (Count II) is similarly lacking because the Complaint does

not identify all of the products she allegedly used, the nature of any defect, nor how the purported

defect injured her. In order to prevail on a failure to warn claim, “a plaintiff must prove that the

lack of warning rendered the product unreasonably dangerous and that it was the proximate cause

of the injury.” Barton, 124 A.3d at 355 (quoting Weiner v. Am. Honda Motor Co., 718 A.2d 305,

309 (Pa. Super. Ct. 1998)). In Chandler v. L’Oréal USA, Inc., 333 F. Supp. 3d 551, 556 (W.D. Pa.

2018), aff’d, 774 F. App’x 752 (3d Cir. 2019), the plaintiff purchased a L’Oréal USA product: the

Regular Optimum Salon Haircare Defy Breakage Salon No-Lye Relaxer (the “Defy Breakage

relaxer”). Although it was her first time using this particular product, the plaintiff “did not read the

warnings on the exterior of the Defy Breakage relaxer box and while she read the

warnings/instructions which were provided inside the box, she concedes that she ignored same.”

Id. at 562. The plaintiff alleged that she experienced hair loss after using the Defy Breakage relaxer

and she brought claims including failure to warn under both negligence and strict liability theories.

Id. at 559, 561. The court recited several of the safety warnings that were “clearly state[d] under

bold headings” on the exterior of the packaging, including that the product must be tested on a

strand of hair before using because failure to do so “can damage hair or result in permanent hair

loss.” Id. at 563. Similar warnings appeared on the interior instruction sheet, yet the plaintiff did

not heed them. The court determined “that the product’s packaging and instruction sheet clearly

warn consumers that failure to follow the written instructions may result in injury, including

permanent hair loss, the exact injury about which Plaintiff complains” and granted summary

judgment for L’Oréal USA on the failure to warn claim. Id. at 563-64.

       Here, such an evaluation is not possible because Plaintiff has not identified all of the

specific products she used nor when she used them. Instead, Plaintiff avers that she used “different


                                                  27
                                                                                             Case ID: 241002269
                                                                                           Control No.: 24111598
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 79 of 415




variations” of Affirm brand over a period of approximately 50 years. (Ex. A ¶ 80, 99.) Although

Plaintiff identifies at three product from Affirm, she alleges that her use of Avlon Industries, Inc.

products is not limited to these products, and fails to specify what additional products she used.

(Id. ¶ 99.) Affirm brand markets various products. This ambiguity thus makes it impossible for her

to allege how Avlon Industries, Inc.’s warnings rendered each product she used unreasonably

dangerous. As a result, Plaintiff also cannot allege that her injury was “proximately” caused by

Avlon Industries, Inc..

       Furthermore, Plaintiff fails to allege any direct link between an ingredient contained in any

Avlon Industries, Inc. product and risk of developing endometrial cancer. Plaintiff’s conclusory

and speculative allegations cannot satisfy her pleading burden. For these reasons, the claim must

be dismissed.

       D.       Plaintiff’s Negligence Claim Fails Because She Does Not Allege a Duty Owed
                to Her By Avlon Industries, Inc., Nor Does She Allege How the Products
                Caused Her Injury.

       Plaintiff’s negligence claim (Count III) should also be dismissed because Plaintiff fails to

allege a duty owed to her by Avlon Industries, Inc.. Pennsylvania law requires that, in order to

prevail on a claim sounding in negligence, a plaintiff must show that the defendant had a duty to

conform to a certain standard of conduct, that the defendant breached that duty, that such breach

caused the injury in question and actual loss or damage was sustained by the plaintiff. Phillips v.

Cricket Lighters, 834 A.2d 1000, 1008 (Pa. 2003). Plaintiff’s negligence claim should be dismissed

because the Complaint does not allege facts supporting a claim that Avlon Industries, Inc. owed

her a common law or statutory duty as to the unnamed products she claims to have used, nor does

it allege any facts explaining what ingredient in the products she does identify caused her harm.




                                                 28
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24111598
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24    Page 80 of 415




        In order to determine whether a duty exists, courts weigh the following factors: “(1) the

relationship between the parties; (2) the social utility of the actor’s conduct; (3) the nature of the

risk imposed and foreseeability of the harm incurred; (4) the consequences of imposing a duty

upon the actor; and (5) the overall public interest in the proposed solution.” Althaus ex rel. Althaus

v. Cohen, 756 A.2d 1166, 1169 (Pa. 2000) (citations omitted). Although Plaintiff alleges she used

three Affirm brand hair relaxer products, she also alleges that she used other “variations” of these

products (Ex. A ¶¶ 99) which she fails to identify and thus cannot properly allege which Affirm

brand products. Even if she had identified all of the products she allegedly used, a relationship

between Plaintiff and Avlon Industries, Inc. as a manufacturer alone is not sufficient to impose a

duty on Avlon Industries, Inc.. Similarly, though the social utility of hair relaxers may weigh in

favor of a duty, this factor is likewise not dispositive.

        As to foreseeability, Plaintiff’s Complaint relies heavily on the Chang Article, which was

the first to associate hair relaxer use with uterine cancer and was published in October 2022.

(Chang, supra note 1, at 1638; Ex. A ¶¶ 126-130.) Despite the recent date of publication, Plaintiff’s

Complaint contends that Avlon Industries, Inc. did not perform sufficient testing “after learning

that their formulations could be carcinogenic.” (Ex. A ¶ 176(b)). Plaintiff’s allegations that

products allegedly manufactured by Avlon Industries, Inc. (or any one of 13 other brands) over

the course of decades might possibly be carcinogenic based on the limited and qualified findings

of one recent study is a far cry from foreseeable and unreasonable harm. Compare with Barton,

124 A.3d at 359 (finding that the design or manufacture of a lawnmower engine foreseeably

created an unreasonable risk of harm to others when it exploded after its first use while standing

in a barn). Factor three thus weighs against a finding of duty as do factors four and five; although

the public has an interest in product safety, the consequences of finding a duty on such threadbare



                                                  29
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3       Filed 11/20/24      Page 81 of 415




allegations as exist here will discourage companies from manufacturing innovative products. The

public interest in engaging companies in litigation over minimal, ambiguous, and vague allegations

made without any factual substance is weak, thereby weighing against a finding of duty here. In

sum, Plaintiff’s allegations are not sufficient to establish a duty owed to her by Avlon Industries,

Inc. and thus her negligence claim must fail as a matter of law.

       Plaintiff’s failure to identify many of the products she purportedly used is also fatal to her

negligence claim because she cannot allege causation. For example, in Cummins v. Firestone Tire

& Rubber Co., 495 A.2d 963, 966 (Pa. Super. Ct. 1985), the plaintiff was injured when a car tire

and rim exploded at a car service garage he was visiting. The damaged car parts were irretrievable

and, thus, the plaintiff brought his negligence and strict liability claims against various

manufacturers of truck wheel rims, the owner of the fleet of trucks, manufacturers of truck trailers

and tractors, suppliers of truck tires and rims, and the owner of the real estate where the accident

occurred. Id. Several defendants filed preliminary objections, arguing that the plaintiff could not

bring negligence claims without specifically identifying a defendant as the one responsible for the

rim at issue. Id. The preliminary objections were sustained and the trial court dismissed the

complaint as to those defendants. Id. at 966-67. On appeal, the Superior Court agreed and held that

identification of the manufacturer of the “particular offending product” is required to bring a

negligence claim, and because the plaintiff was unable to identify any one manufacturer of the

offending product, “there can be no allegations of duty, breach of duty or legal causation, and

hence there can be no liability.” Id. at 967-68.

       Here, Plaintiff’s Complaint is similarly lacking in facts alleging a particular offending

product and an associated manufacturer for some of the products she claims to have used. Plaintiff

alleges that she used “different variations” of hair relaxer from each brand not limited to the 14



                                                   30
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24111598
      Case 5:24-cv-06225-JLS                 Document 1-3           Filed 11/20/24          Page 82 of 415




she names in her Complaint. (Ex. A ¶¶ 83-99.) As she has not identified the remaining products,

she is unable to identify the defect associated with the product or the causative link between the

defective product and her injury. See Klein v. Council of Chem. Assn’s, 587 F. Supp. 213, 223

(E.D. Pa. 1984) (“Because plaintiffs have failed to identify a specific product, plaintiffs cannot

allege a causal connection between conduct of the defendants and [the plaintiff’s] injuries.

Plaintiffs have failed to allege a cause of action for negligence against the product defendants.”).

Moreover, as to the products Plaintiff does identify in her Complaint, Plaintiff does not allege what

ingredient or chemical contained in those products caused her injuries. Thus, Plaintiff’s negligence

claim fails to state a claim as a matter of law and should be dismissed.

         E.       Plaintiff’s Breach of Implied Warranties Claim Should Be Dismissed
                  Because She Fails to State What Product She Used and How It Was
                  Defective.

         Plaintiff’s claim for a breach of the implied warranty of merchantability (Count IV) also

fails as a matter of law.4 In Pennsylvania, to prevail on a claim for breach of implied warranty of

implied warranty of fitness for a particular purpose, this claim also must fail. The Pennsylvania

Commercial Code provides that, when a seller has reason to know of any particular purpose for

which the goods are required and also knows that the buyer is relying on the seller’s skill or

judgment to furnish suitable goods, that an implied warranty then exists that the goods shall be fit

for such purpose. See 13 Pa.C.S.A. § 2315. A “‘particular purpose’ differs from the ‘ordinary

purpose’ for which the goods are used in that it envisages a specific use by the buyer which is

peculiar to the nature of his business” as contrasted with the ordinary purpose, which covers the



4
  Plaintiff’s Complaint styles Count IV as a “Breach of Implied Warranties,” however, the language of this cause of
action regarding goods not being “of merchantable quality and safe and fit for the use for which they were intended”
indicates that her claim is specifically one of a breach of implied warranty of merchantability. To the extent that
Plaintiff intended to also plead a breach of the implied warranty of fitness for a particular purpose, Avlon Industries,
Inc. addresses that claim as well.


                                                          31
                                                                                                           Case ID: 241002269
                                                                                                         Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24       Page 83 of 415




uses for which the goods are customarily used. Gall, 555 A.2d at 790 (quoting 13 Pa.C.S.A. §

2315, Uniform Commercial Code Comment 2).

       Gall is instructive on this point. In Gall, the plaintiffs brought a claim for breach of implied

warranties against the local county health department, alleging that they contracted giardiasis

because the defendants had failed to property treat and protect the water supply. Id. at 787. The

court held that “[t]he sale of water for drinking and household use does not carry with it the implied

warranty of fitness for a particular purpose” and sustained the defendants’ preliminary objections

in the nature of a demurrer to the plaintiffs’ claim of breach of warranty of fitness for a particular

purpose. Id. at 790.

       Similarly, here, Plaintiff’s breach of warranty of fitness for a particular purpose claim fails

because any type of hair relaxer product Plaintiff may have used would have been used for its

ordinary purpose: chemically straightening hair. Thus, she cannot sustain a claim for breach of

implied warranty of fitness for a particular purpose.

       F.      Plaintiff Has Not Adequately Pled a Claim for Punitive Damages.

       Plaintiff’s demand for an award of punitive damages for each of her four causes of action

fails because she has not sufficiently alleged that Avlon Industries, Inc.’s conduct was malicious,

willful, or done with knowledge of a high risk of physical harm. (Ex. A ¶¶ 142, 168, 179, 195.) In

Pennsylvania, “punitive damages are an ‘extreme remedy’ available in only the most exceptional

matters.” Phillips v. Cricket Lighters, 883 A.2d 439, 445 (Pa. 2005) (citation omitted). A claim for

punitive damages “must be based on ‘“malicious”, “wanton”, “reckless”, “willful”, or

“oppressive” conduct on the part of defendant.’” Chambers v. Montgomery, 192 A.2d 355, 358

(Pa. 1963) (quoting Hughes v. Babcock, 37 A.2d 551, 554 (Pa. 1944)); see also Feld v.

Merriam,485 A.2d 742, 748 (Pa. 1984) (“The state of mind of the actor is vital. The act, or the



                                                 32
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24111598
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24     Page 84 of 415




failure to act, must be intentional, reckless or malicious.”). In determining whether a defendant

exhibited reckless indifference sufficient to support an award of punitive damages, the court “must

analyze whether the complaint’s allegations establish that the actor actually knew or had reason to

know of facts which created a high risk of physical harm to plaintiff. Further, the defendant must

have proceeded to act in conscious disregard of or indifference to that risk.” Field v. Phila. Elec.

Co., 558 A.2d 1140, 1149 (Pa. Super. Ct. 1989).

        For example, in McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436 (Pa. Super. Ct. 1987),

the plaintiff, executor of a decedent’s estate, brought claims for punitive damages against a

hospital, several of its doctors, and a pharmaceutical company for administering a drug to the

decedent that allegedly led to her death. The court explained that “[p]unitive damages may not be

awarded for misconduct which constitutes ordinary negligence such as inadvertence, mistake and

errors of judgment.” Id. at 447. As the plaintiff’s complaint had alleged facts against the hospital

and doctors that were only sufficient to support a claim for ordinary negligence, the court affirmed

the dismissal of punitive damages claims against those defendants. Id. at 447-48. However,

because the plaintiff alleged that the pharmaceutical company “knew of a serious risk of illness

and death resulting from [the drug’s] use, and deliberately and negligently failed to communicate

that knowledge to the medical community” the court found the punitive damages claim appropriate

as to that defendant. Id. at 448.

        Here, Plaintiff does not allege that any conduct of Avlon Industries, Inc. was malicious,

wanton, reckless, willful, or oppressive. She merely contends that Avlon Industries, Inc. knew, or

should have known, of unreasonable risks of harm associated with unidentified Affirm brand

products including their alleged propensity to cause cancer, and that it “concealed, downplayed,

or otherwise suppressed” information about the risks. (Ex. A ¶¶ 162.) Importantly, Plaintiff’s



                                                33
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24111598
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24      Page 85 of 415




allegations that Avlon Industries, Inc. should have known that its products were potentially

carcinogenic are belied by her own allegations that any purported association between hair relaxers

and uterine cancer was revealed in a “groundbreaking study” published in October of 2022. (Ex.

A ¶ 126.) This recent development is a far cry from knowledge and deliberate withholding of

information supporting a “serious risk of illness and death” that supported a punitive damages

claim in McDaniel. Plaintiff’s allegations that Avlon Industries, Inc. failed to sufficiently test its

products and failed to disclose a recently suggested risk of harm associated with endocrine-

disrupting chemicals does not rise to the level of malicious and intentional conduct sufficient to

warrant an “extreme” damages remedy. Accordingly, as Plaintiff has not alleged facts sufficient

to support an award of punitive damages for any of her four claims, all of her punitive damages

claims should be dismissed.

       G.      Philadelphia County is the Wrong Venue for Plaintiff’s Complaint.

       Alternatively, Plaintiff’s Complaint should be dismissed as being filed in an improper

venue, or transferred to Cumberland County. Pennsylvania Rule of Civil Procedure 1028(a)(1)

allows for preliminary objections to be raised where a complaint is filed in an improper venue. If

a lawsuit involves joint or joint and several liability claims against multiple defendants, it may be

brought in any county where venue is proper against any one of the defendants. Kim v. Dep’t of

Transp., 270 A.3d 1284, 1290 (Pa. Commw. Ct. 2022); Zappala v. Brandolini Property

Management, Inc., 589 Pa. 516, 530 (Pa. 2006); Hausmann v. Bernd, 271 A.3d 486, 492 (Pa.

Super. Ct. 2022). Pennsylvania Rule of Civil Procedure 2149(a) further provides that venue is

proper in any county where a corporation, or similar entity, “regularly conduct business.”

Zampana-Barry v. Donaghue, 921 A.2d 500, 502 (Pa. Super. Ct. 2007); Gilfor ex rel. Gilfor v.




                                                 34
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24111598
      Case 5:24-cv-06225-JLS              Document 1-3           Filed 11/20/24        Page 86 of 415




Altman, 770 A.2d 334, 345 (Pa. Super. Ct. 2001).5 But venue does not lie under this prong unless

the entity “regularly conducts business” in the forum county by engaging in business “sufficient

in quantity and quality” to justify appearing in that county. Hangey, 304 A.3d at 1127 (Pa. 2023).

        For instance, in Watson v. Baby Trend, Inc., Baby Trend filed preliminary objections to the

amended complaint on the basis of improper venue. Watson v. Baby Trend, Inc., 308 A.3d 860

(Pa. Super. Ct. 2024). It contended that the venue was not proper in Philadelphia County because

the plaintiffs did not live in Philadelphia County, the car seat at issue was not alleged to have been

purchased there, the cause of action did not arise there, and Baby Trend did not conduct

“substantial, continuous, and systemic business” in Philadelphia County. Id. at 862. The Court of

Common Pleas of Philadelphia County sustained the defendant’s preliminary objections because

of the lack of business contacts Baby Trend had with Philadelphia and transferred venue, and the

appellate court affirmed. Id. at 867-869.

        Venue is similarly inappropriate here. Plaintiff has improperly filed her Complaint in

Philadelphia County, as Plaintiff’s Complaint alleges that she resides in Reading, Cumberland

County, Pennsylvania. (Ex. A ¶ 1.) It further alleges that Avlon Industries, Inc. LLC have their

principal places of business in New York. (Id. ¶ 14.) The remaining Defendants are either located

outside of the state of Pennsylvania (id. ¶¶ 2-4, 6-7, 9-10, 12-14) or are located in Carlisle,

Pennsylvania, which is in Cumberland County, Pennsylvania. (Id. ¶¶ 15.) Plaintiff does not allege

she purchased the hair relaxer products in Philadelphia County, and the incident spurring this

lawsuit did not occur in Philadelphia County because Plaintiff does not reside there. Nor has

Plaintiff alleged any facts suggesting that any defendant maintains contacts in Philadelphia County



5
  While Pennsylvania Rule of Civil Procedure 2179 provides that venue may be established in other circumstances,
it is undisputed that none of those circumstances exist here.


                                                       35
                                                                                                     Case ID: 241002269
                                                                                                   Control No.: 24111598
      Case 5:24-cv-06225-JLS         Document 1-3       Filed 11/20/24      Page 87 of 415




sufficient in both “quantity and quality” to justify venue there. Rather, because Plaintiff alleges

she purchased multiple hair relaxer home kits from retailer defendants located in Cumberland

County, venue in this County is improper and Plaintiff’s Complaint should be dismissed or

transferred to Cumberland County.

       Thus, Avlon Industries, Inc. respectfully requests that the Preliminary Objections be

sustained as to Counts I through IV, or in the alternative, that the Court transfer venue to

Cumberland County in compliance with Rule 2149(a).

VI.    RELIEF REQUESTED

       For the foregoing reasons, Avlon Industries, Inc. respectfully requests the Court sustain its

Preliminary Objections to Plaintiff’s Complaint and dismiss all of Plaintiff’s claims against Avlon

Industries, Inc. with prejudice. Alternatively, Avlon Industries, Inc. requests that this action be

transferred to Cumberland County, Pennsylvania.



                                                     GOLDBERG SEGALLA LLP

                                             BY:     /s/ Christopher McGowan
                                                     Christopher McGowan Esquire
                                                     Joseph Cagnoli, Jr. Esquire
                                                     Attorneys for Defendant
                                                     Avlon Industries, Inc.

DATE: November 7, 2024




                                                36
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24111598
     Case 5:24-cv-06225-JLS        Document 1-3       Filed 11/20/24     Page 88 of 415




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 7, 2024, a true and correct copy of the

foregoing Defendant Avlon Industries, Inc.’s Preliminary Objections to Plaintiff Karen Uqdah’s

Complaint was served electronically via the Court’s Electronic Filing System in accordance with

Pennsylvania Rule of Civil Procedure 205.4(g).



Date: November 7, 2024                      GOLDBERG SEGALLA LLP

                                            BY:    /s/ Christopher McGowan
                                                   Christopher McGowan Esquire
                                                   Joseph Cagnoli, Jr. Esquire
                                                   Attorneys for Defendant
                                                   Avlon Industries, Inc.




                                              37
                                                                                      Case ID: 241002269
                                                                                    Control No.: 24111598
     Case 5:24-cv-06225-JLS             Document 1-3       Filed 11/20/24       Page 89 of 415




                                          VERIFICATION

        I, Christopher McGowan, Esquire, hereby state that we are attorneys in the firm of

Goldberg Segalla LLP, and that we represent Avlon Industries, Inc. in the foregoing matter; that

we are authorized to make this Verification on its behalf; that all of the facts stated in the foregoing

Preliminary Objections are true and correct to the best of our knowledge, information and belief;

and that this Verification is taken subject to the penalties of 18 Pa.C.S.A. §4904, relating to

unsworn falsification to authorities.



                                                                By: Christopher McGowan
                                                                    Christopher McGowan, Esquire
Dated: November 7, 2024




                                                  38
                                                                                             Case ID: 241002269
                                                                                           Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 90 of 415




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                   EXHIBIT A




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 91 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 92 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 93 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 94 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 95 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 96 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 97 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 98 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 99 of 415




                                                                   Case ID: 241002269
                                                                 Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 100 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 101 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 102 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 103 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 104 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 105 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 106 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 107 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 108 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 109 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 110 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 111 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 112 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 113 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 114 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 115 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 116 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 117 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 118 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 119 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 120 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 121 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 122 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 123 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 124 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 125 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 126 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 127 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 128 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 129 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 130 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 131 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 132 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 133 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 134 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 135 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24111598
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 136 of 415




         Exhibit A-5
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 137 of 415




                                                          Filed and Attested by the
                                                         Office of Judicial Records
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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 138 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 139 of 415




         Exhibit A-6
     Case 5:24-cv-06225-JLS         Document 1-3         Filed 11/20/24     Page 140 of 415




KAREN UQDAH                                          :       COURT OFFiled
                                                                      COMMON   PLEAS by the
                                                                           and Attested
                                                     :                    Office of Judicial Records
Plaintiff                                            :                 11 COUNTY
                                                             PHILADELPHIA NOV 2024 09:08 am
                                                     :                             S. GILLIAM
        Vs.                                          :       OCTOBER TERM, 2024
                                                     :
L’OREAL USA, INC, et al.                             :
                                                     :
Defendants.                                          :       NO. 2269
                                                     :


                                             ORDER


        AND NOW, this ________ day of ______________, 2024, upon consideration of the

Preliminary Objections of Defendant AFAM Concept, Inc. (incorrectly identified as AFAM

Concept, Inc. d/b/a JF Labs, Inc.) to Plaintiff’s Complaint and any responses thereto, it is hereby

ORDERED and DECREED that Defendant’s Preliminary Objections are SUSTAINED. IT IS

FURTHER ORDERED and DECREED as follows:

        1.     All of Plaintiff’s claims against Defendant AFAM Concept, Inc. are dismissed,
               with prejudice;

        2.     All demands for punitive damages asserted against Defendant AFAM Concept,
               Inc. are stricken, with prejudice; and

        3.     All averments of recklessness and “conscious disregard” against Defendant
               AFAM Concept, Inc. are stricken, with prejudice.


                                                             BY THE COURT:

                                                             _______________________
                                                                                   J.




                                                 1
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24112022
     Case 5:24-cv-06225-JLS    Document 1-3       Filed 11/20/24    Page 141 of 415




                                                      To Plaintiff: You are hereby notified
                                                      to file a written response to the
                                                      enclosed Preliminary Objections
                                                      within 20 days or a judgment will be
                                                      entered against you.

                                                  /s/ STEPHEN A. SHEINEN________________
                                                  Stephen A. Sheinen, Esquire
                                                  Attorneys for Defendant AFAM
                                                  Concept, Inc. (incorrectly pled as
                                                  AFAM Concept, Inc. d/b/a JF Labs,
                                                  Inc.


GOLDBERG SEGALLA LLP                                  Attorneys for Defendant
BY: JOSEPH J. WELTER, ESQUIRE                         AFAM Concept, Inc. (incorrectly
ATTORNEY ID NO. 307885                                pled as AFAM Concept, Inc.
BY: ROBERT J. HAFNER, ESQUIRE                         d/b/a JF Labs, Inc.)
ATTORNEY ID NO. 44105
BY: STEPHEN A. SHEINEN, ESQUIRE
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              ncaspers@goldbergsegalla.com

KAREN UQDAH                                   :       COURT OF COMMON PLEAS
                                              :
Plaintiff                                     :       PHILADELPHIA COUNTY
                                              :
        Vs.                                   :       OCTOBER TERM, 2024
                                              :
L’OREAL USA, INC, et al.                      :
                                              :
Defendants.                                   :       NO. 2269
                                              :

           PRELIMINARY OBJECTIONS OF DEFENDANT AFAM CONCEPT, INC.
        (INCORRECTLY IDENTIFIED AS AFAM CONCEPT, INC. d/b/a JF LABS, INC.)
                   TO PLAINTIFF KAREN UQDAH’S COMPLAINT



                                         2
                                                                                 Case ID: 241002269
                                                                               Control No.: 24112022
        Case 5:24-cv-06225-JLS               Document 1-3   Filed 11/20/24      Page 142 of 415




           Defendant AFAM Concept, Inc., incorrectly pled as AFAM Concept, Inc. d/b/a JF Labs,

Inc. ("AFAM"), by and through its undersigned counsel, Goldberg Segalla LLP, pursuant to

Pennsylvania Rule of Civil Procedure 1028, hereby files the within Preliminary Objections to

Plaintiff’s Complaint, and in support thereof, avers as follows:

I.         PRELIMINARY STATEMENT

           1.      AFAM seeks the dismissal of the product liability and breach of warranty claims

against it as they are preempted by the Federal Food, Drug, and Cosmetic Act (“FDCA”).

           2.      AFAM further requests that Plaintiff’s claims against it be dismissed as they are

pled in violation of Pennsylvania’s strict fact-pleading standards.

           3.      Additionally, AFAM requests that the punitive damages demands and

recklessness and conscious disregard averments against it be stricken with prejudice as Plaintiff

failed to comply with Pennsylvania’s strict fact-pleading requirements in asserting these

demands/claims.

II.        FACTUAL BACKGROUND

           4.      Plaintiff commenced this alleged product liability action by filing a Complaint on

October 17, 2024 against 11 defendants (various manufacturers and retailers), including AFAM.1

           5.      Plaintiff claims she contracted cancer after using certain hair relaxer products.

           6.      In Plaintiff’s four-count Complaint, she asserts claims sounding in Strict

Liability-Design Defect (Count I), Strict Liability-Failure to Warn (Count II), Negligence (Count

III); and Breach of Implied Warranties (Count IV), against AFAM, among other defendants.




1
    See Complaint, attached as Exhibit “A”


                                                      3
                                                                                              Case ID: 241002269
                                                                                            Control No.: 24112022
      Case 5:24-cv-06225-JLS              Document 1-3        Filed 11/20/24      Page 143 of 415




         7.          In Plaintiff’s Complaint, it is alleged that Plaintiff used Dark & Lovely, Optimum,

Bantu, Mizani, Gentle Treatment, TCB, Africa’s Best, Luster’s Pink Oil, Hawaiian Silky, and

Affirm which are manufactured and advertised by the named Manufacturer Defendants.2

         8.          Plaintiff alleges she “consistently and frequently used Hair Relaxers, starting in

1968 through her final use on or around 2018.”3

         9.          Plaintiff further avers she “reapplied the relaxer to newly grown hair

approximately every three months at both home and at hair salons using home hair relaxer kits

until her last application on or around 2018.”4

         10.         According to the Complaint, “[I]n December of 2016, at the age of fifty-eight,

Ms. Uqdah was diagnosed with endometrial adenocarcinoma, FIGO grade 2.”5

         11.         Plaintiff does not delineate the time period of use for each product (instead

alleging a block of 50 years of use).

         12.         Plaintiff’s Complaint includes a list of chemicals that Plaintiff claims are present

in all the hair relaxers that she claims to have used. However, Plaintiff fails to link these

chemicals to AFAM’s products. Plaintiff alleges, generally and without sufficient factual support

that “ Dark & Lovely, Optimum, Bantu, Mizani, Gentle Treatment, TCB, Africa’s Best, Luster’s

Pink Oil, Hawaiian Silky, and Affirm hair relaxers contained:

               a. phthalates;

               b. bisphenol A;

               c. cyclosiloxanes;

               d. antimicrobials;


2
  Id. at ¶¶21, 80.
3
  Id. at ¶ 79.
4
  Id. at ¶ 101.
5
  Id. at ¶ 131.


                                                       4
                                                                                                Case ID: 241002269
                                                                                              Control No.: 24112022
       Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24         Page 144 of 415




              e. ethanolamines;

              f. alkylphenols;

              g. UV filters; and

              h. fragrances,”

which she speculates may have been in all the hair relaxer products that she used generally.6

        13.      Plaintiff does not set forth specifically which chemicals were present in AFAM

products or the proportion of the chemicals that were in those products, which allegedly

contributed to her harm.

        14.      Instead, Plaintiff devotes countless allegations to irrelevant factual assertions

concerning the history of hair relaxer products and their marketing practices, which are not

relevant to Plaintiff's claims against any named defendant., including AFAM.

III.     LEGAL ARGUMENT

         A.      Preliminary Objections Standard

        15.      AFAM incorporates by reference the preceding paragraphs as though they were

fully set forth at length herein.

        16.      In adjudicating preliminary objections, the court should view all clearly pleaded

material facts as true, as well as all reasonable inferences drawn therefrom.7

        17.      There is no requirement, however, that the court accept the pleader’s legal

conclusions or averments of law when ruling on preliminary objections.8




6
  Id. at ¶ 105.
7
  Perelman v. Perelman, 125 A.3d 1259, 1263 (Pa. Super. 2015) (citations omitted), appeal denied, 141 A.3d 435
(Pa. 2016).
8
  See Santiago v. Pennsylvania Nat’l Mut. Cas. Ins. Co., 613 A.2d 1235, 1238-39 (Pa. Super. 1992).


                                                       5
                                                                                                     Case ID: 241002269
                                                                                                   Control No.: 24112022
     Case 5:24-cv-06225-JLS                Document 1-3           Filed 11/20/24         Page 145 of 415




         B.       Counts II, III and IV Should be Dismissed Against AFAM Pursuant to Rule
                  1028(a)(4) Due to Federal Law Preemption

         18.      AFAM incorporates by reference the preceding paragraphs as though they were

fully set forth at length herein.

         19.      Plaintiff’s negligence, failure to warn and breach of implied warranties claims are

expressly preempted by the Federal Food, Drug, and Cosmetic Act (“FDCA”) as they address

product labeling requirements.

         20.      The FDCA, 21 U.S.C. § 301, et seq., provides that “no State or political

subdivision of a State may establish or continue in effect any requirement for labeling or

packaging of a cosmetic that is different from or in addition to, or that is otherwise not identical

with, a requirement specifically applicable to a particular cosmetic or class of cosmetics under

this chapter.”9

         21.      A plaintiff cannot seek to “impose labeling requirements that are additional to,

different from, those that [the FDCA] has established.”10

         22.      Though FDCA preemption does not apply to products liability claims, it bars all

other claims that seek to impose labeling requirements that are not identical to those imposed by

the FDCA and its regulations.11

         23.      Plaintiff herein posits the same arguments that were rejected in Critcher as she

contends that AFAM is required to identify constituent ingredients in the fragrance component of

its hair relaxers.12




9
  21 U.S.C. § 379s(a).
10
   Critcher v. L’Oreal USA, Inc., 959 F.3d 31, 38 (2d Cir. 2020).
11
   Id. at 35-36.
12
   See Exhibit “A” at ¶ 76 (alleging that “unknown chemicals” are “hidden under the ingredient title ‘fragrances’”).


                                                          6
                                                                                                         Case ID: 241002269
                                                                                                       Control No.: 24112022
     Case 5:24-cv-06225-JLS             Document 1-3          Filed 11/20/24       Page 146 of 415




        24.     However, FDCA regulations do not expressly require the disclosure of the

ingredients in the fragrance component.13

        25.     The Georgia Court of Appeals, in L’Oreal USA, Inc. v. Burroughs, an opinion

issued approximately five months ago, addressed the same issues as the Court will be

adjudicating in the instant case.14

        26.     In L’Oreal USA, Inc., the court provided that inadequate warning claims are pre-

empted by the FDCA if they seek to require warnings that are additional to those required by the

FDCA. 15

        27.     The Illinois Circuit Court of Cook County, approximately three months ago,

issued a global order in favor of Defendants granting, in part, a consolidated motion to dismiss

based on issues of FDCA labeling preemption in 39 separate actions between various plaintiffs

and manufacturers of hair relaxer products. In particular, the Court, in Hayes v. L’Oreal USA,

Inc., dismissed Plaintiffs’ fraud claims as preempted under 21 U.S.C. §379s(a).16

        28.     Plaintiff herein seeks to impose labeling requirements on AFAM that are

additional to those required by the FDCA in her failure to warn, negligence and breach of

warranty claims.

        29.     The plain language of the FDCA provides that a state cannot impose labeling

requirements that are broader than those outlined in the FDCA clearly evincing a congressional

intent to control issues pertaining to the labeling of cosmetic products, including those at issue

here.


13
   21 C.F.R. § 701.3(a).
14
   372 Ga. App 30 (June 21, 2024), attached as Exhibit “B.”
15
   Id. at 40-41.
16
   Motion to Dismiss at 8*, Hayes v. L’oreal USA, Inc., No. 2022-L-011132, 2023-L-001824, 2023-L-001934, 2023-
L-003274, 2023-L-002603, 2023-L-005963, 2023-L-005958, 2023-L-005959, 2023-L-005953, 2023-L-005962,
2023-L-006390, 2023-L-006448 (Cir. Ct. Cook County, August 28, 2024), attached as Exhibit “C.”



                                                      7
                                                                                                  Case ID: 241002269
                                                                                                Control No.: 24112022
        Case 5:24-cv-06225-JLS              Document 1-3           Filed 11/20/24        Page 147 of 415




          30.       Plaintiff’s failure to warn (Count II), negligence (Count III) and breach of

warranty claims (Count IV) are therefore preempted by federal law and must be dismissed.

           WHEREFORE, Defendant AFAM Concept, Inc., incorrectly identified as AFAM

Concept, Inc. d/b/a JF Labs, Inc., respectfully requests that an Order be entered dismissing

Plaintiff’s Complaint against it, with prejudice.

           C.       All of Plaintiff’s Claims Against AFAM Should be Dismissed Pursuant to
                    Rule 1028(a)(4) Because They are Violative of Pennsylvania’s Fact-Pleading
                    Standards.

          31.       AFAM incorporates by reference the preceding paragraphs as though they were

fully set forth at length herein.

          32.       The Commonwealth of Pennsylvania is a fact pleading jurisdiction. Under

Pennsylvania’s system of fact pleading, the plaintiff bears the burden of defining the issues and

setting forth every act or performance essential to that end in the complaint.17

          33.       The purpose of such pleadings is to place the defendant on notice of the intended

grounds for suit and spare defendant of the exercise of guessing at the substance of plaintiff’s

allegations.18

          34.       Pennsylvania Rule of Civil Procedure 1019(a) requires that the material facts on

which a cause of action is based be set forth in a concise and summary form.

          35.       Plaintiff’ Complaint includes a list of chemicals that Plaintiff claims are present in

all the hair relaxers that she claims to have used. However, Plaintiff fails to link these chemicals

to AFAM’s products. Plaintiff alleges, generally and without sufficient factual support that Dark

& Lovely, Optimum, Bantu, Mizani, Gentle Treatment, TCB, Africa’s Best, Luster’s Pink Oil,

Hawaiian Silky, and Affirm hair relaxers contained:


17
     Santiago v. Pennsylvania Nat’l Mut. Cas. Ins. Co., 613 A.2d 1235, 1238 (Pa. Super. 1992).
18
     Schweikert v. St. Luke’s Hosp. of Bethlehem, 886 A.2d 265, 270 (Pa. Super. 2005).


                                                           8
                                                                                                    Case ID: 241002269
                                                                                                  Control No.: 24112022
        Case 5:24-cv-06225-JLS          Document 1-3       Filed 11/20/24     Page 148 of 415




                a. phthalates;

                b. bisphenol A;

                c. cyclosiloxanes;

                d. antimicrobials;

                e. ethanolamines;

                f. alkylphenols;

                g. UV filters; and

                h. fragrances,

which she speculates may have been in all the hair relaxer products that she used generally.19

          36.       Throughout the Complaint, Plaintiff continuously uses vague and expansive

language which does not appropriately place AFAM on notice regarding the parameters of

Plaintiff's claims.

          37.       The Complaint continuously fails to identify which chemicals Plaintiff believes

caused her harm and, though she discusses a litany of chemicals with allegedly harmful effects,

Plaintiff fails to adequately link any of those chemicals to AFAM’s products.

          38.       Accordingly, because Plaintiff violated Pennsylvania’s fact-pleading

requirements, the Court should dismiss Plaintiff’s claims against AFAM.

           WHEREFORE, Defendant AFAM Concept, Inc., incorrectly identified as AFAM

Concept, Inc. d/b/a JF Labs, Inc., respectfully requests that an Order be entered dismissing

Plaintiff’s Complaint against it, with prejudice.




19
     Exhibit “A” at ¶ 105.


                                                    9
                                                                                             Case ID: 241002269
                                                                                           Control No.: 24112022
     Case 5:24-cv-06225-JLS                Document 1-3            Filed 11/20/24         Page 149 of 415




           D.     Count III Should be Dismissed Pursuant to Rule 1028(a)(4) as Pennsylvania
                  Does Not Recognize a Claim for Failure to Test

        39.       AFAM incorporates by reference the preceding paragraphs as though they were

fully set forth at length herein.

        40.       Throughout Count III of the Complaint, Plaintiff alleges that AFAM was

negligent for “failing to sufficiently test” its Hawaiian Silky product.20

        41.       However, Pennsylvania courts do not recognize a claim for “negligent failure to

test.”21

        42.       Accordingly, Plaintiff’s allegations regarding AFAM’s failure to test must be

stricken.

           WHEREFORE, Defendant AFAM Concept, Inc., incorrectly identified as AFAM

Concept, Inc. d/b/a JF Labs, Inc., respectfully requests that an Order be entered striking

Plaintiff’s allegations of failure to test hair relaxer products against it, with prejudice.

           E.     Plaintiff’s Demand for Punitive Damages and Allegations of Recklessness
                  and Conscious Disregard Against AFAM Should be Stricken Pursuant to
                  Rule 1028(a)(2).
        43.       AFAM incorporates by reference the preceding paragraphs as though they were

fully set forth at length herein.

        44.       Rule 1028(a)(2) provides that preliminary objections may be filed for a pleading’s

failure to conform to a rule of law or court, such as Rule 1019(a) requiring that the pleader state

the material facts to support their claims.




20
  See Exhibit “A” at ¶ 176 (a, b, h).
21
  Viguers v. Philip Morris USA, Inc., 2003 PA Super. 446, ¶ 21 (“[T]he claim for ‘negligent failure to test’ is not a
viable cause of action recognized by our courts, and we have found no ‘duty to test’ that would be the basis of such
a claim”).


                                                         10
                                                                                                          Case ID: 241002269
                                                                                                        Control No.: 24112022
     Case 5:24-cv-06225-JLS               Document 1-3          Filed 11/20/24         Page 150 of 415




       45.       The standard governing punitive damages in Pennsylvania states that punitive

damages may be awarded in cases where conduct is “outrageous, because of the defendant’s evil

motive or his reckless indifference to the rights of others.”22

       46.       Furthermore, a plaintiff must allege facts demonstrating that the defendant's

conduct was of such an outrageous nature as to constitute reckless, intentional, willful, or wanton

conduct.23

       47.       The Restatement (Second) of Torts, which has been adopted in Pennsylvania,

defines reckless conduct as follows:

        Recklessness may consist of either of two different types of conduct. In one the
        actor knows, or has reason to know . . . of facts which create a high degree of risk
        of physical harm to another, and deliberately proceeds to act, or to fail to act, in
        conscious disregard of, or indifference to, that risk. In the other the actor has such
        knowledge, or reason to know, of the facts, but does not realize or appreciate the
        high degree of risk involved, although a reasonable man in his position would do
        so. An objective standard is applied to him, and he is held to the realization of the
        aggravated risk which a reasonable man in his place would have, although he does
        not himself have it.24
       48.       Furthermore, “reckless” conduct must be something more than mere negligence

and involve a risk of harm to others substantially in excess of that which is required to support a

negligence claim.25

       49.       Recklessness differs from negligence in that the former requires a “conscious

choice of a course of action, either with knowledge of the serious danger to others involved in it

or with knowledge of facts which would disclose this danger to any reasonable man.”26


22
   Hutchison v. Luddy, 582 Pa. 114, 121, 870 A.2d 766, 770, 2005 Pa. LEXIS 523, *12 (2005).
23
   SHV Coal v. Continental Grain, Co., 587 A.2d 702, 704 (Pa. 1991)(citing Pittsburgh Outdoor Adv. Co. v. Virginia
Manor Apts., Inc., 436 Pa. 350, 260 A.2d 801 (1970)).
24
   Restatement (Second) of Torts § 500 cmt. a; Hutchinson v. Luddy, 870 A. 2d 766 (Pa. 2004); See also, Kerchner v.
Naill, 6 Pa. D.&C.4th 120, 125-26 (C.P. Adams 1989) (defining reckless conduct).
25
   Restatement (Second) of Torts § 500; see also Perez v. Bardo, 2011 U.S. Dist. WL 941380, at *2 (E.D. Pa.
2011)(“A defendant acts recklessly when he creates an unquestionable risk of physical harm to another and such risk
is substantially greater than that which is necessary to make his conduct negligent.”)
26
   Restatement (Second) of Torts § 500.


                                                        11
                                                                                                      Case ID: 241002269
                                                                                                    Control No.: 24112022
     Case 5:24-cv-06225-JLS               Document 1-3           Filed 11/20/24        Page 151 of 415




       50.       In Plaintiff’s Wherefore clauses in Counts I through IV of the Complaint, she

asserts demands for punitive damages.

       51.       Plaintiff further alleges that AFAM acted recklessly and with conscious disregard

for the health and safety of consumers of their hair relaxer products on several occasions in her

Complaint.27

       52.       Plaintiff’s demand for punitive damages against AFAM must be stricken because

Plaintiff fails to allege the requisite levels of conduct on behalf of AFAM.

       53.       Plaintiff failed to plead material facts to support her claims that AFAM acted

maliciously, wantonly, recklessly, or willfully.28

       54.       Plaintiff’s allegations that AFAM failed to exercise reasonable care with respect

to the manufacture of Hawaiian Silky do not meet the pleading threshold required to state a claim

for recklessness, conscious disregard or a demand for punitive damages, and thus each and every

one of plaintiff’s punitive damages demands and allegations of recklessness and conscious

disregard against AFAM should be stricken pursuant to Pennsylvania Rule of Civil Procedure

1028(a)(4).

        WHEREFORE, Defendant AFAM Concept, Inc., incorrectly identified as AFAM

Concept, Inc. d/b/a JF Labs, Inc., respectfully requests that an Order be entered striking

Plaintiff’s demands for punitive damages and recklessness and conscious disregard allegations

against it, with prejudice.




27
  See Exhibit “A” at ¶¶137, 155, 168, 179, and 195.
28
   See Wright v. Ryobi Techs., Inc., 175 F. Supp. 3d 439, 455-56 (E.D. Pa. 2016) (applying Pennsylvania law)
(“Punitive damages may be awarded because the defendant’s conduct was outrageous, or
because the defendant’s motive was evil, or because of the defendant’s reckless indifference to
the rights of others . . . . Punitive damages are only warranted for conduct that is malicious,
wanton, reckless, willful, or oppressive.” (citations omitted)).


                                                        12
                                                                                                       Case ID: 241002269
                                                                                                     Control No.: 24112022
        Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24     Page 152 of 415




           F.       Paragraphs 35-78 of the Complaint Should be Stricken Pursuant to Rule
                    1028(a)(2) as They include Scandalous or Impertinent Matter.

          55.       AFAM incorporates by reference the preceding paragraphs as though they were

fully set forth at length herein.

          56.       Under Rule 1028(a)(2), preliminary objections may be sustained when a pleading

includes “scandalous or impertinent matter.”

          57.       Plaintiff’s Complaint contains approximately ten pages (pages 10 through 19) of

statements regarding western beauty standards and the alleged marketing of hair relaxers to

young girls.29

          58.       These statements are immaterial to Plaintiff's claims or AFAM’s conduct.

          59.       Accordingly, if the Complaint is not dismissed in its entirety, the court should

strike this immaterial matter from the Complaint.

           WHEREFORE, Defendant AFAM Concept, Inc., incorrectly identified as AFAM

Concept, Inc. d/b/a JF Labs, Inc., respectfully requests that an Order be entered striking

Plaintiff’s statements regarding western beauty standards and the alleged marketing of hair

relaxers to young girls (paragraphs 35 through 78), with prejudice.




29
     See Exhibit “A” at ¶ 35-78.


                                                     13
                                                                                              Case ID: 241002269
                                                                                            Control No.: 24112022
    Case 5:24-cv-06225-JLS   Document 1-3      Filed 11/20/24       Page 153 of 415




                                          Respectfully submitted,
                                          GOLDBERG SEGALLA LLP

                                             /s/ Stephen A. Sheinen
                                    By:     Joseph J. Welter, Esquire
                                            Robert J. Hafner, Esquire
                                            Stephen A. Sheinen, Esquire
                                            Nicole Caspers, Esquire
                                            Attorneys for Defendant
                                            AFAM Concept, Inc. (incorrectly identified
                                            as AFAM Concept, Inc. d/b/a
                                            JF Labs, Inc.)

Dated: 11/11/2024




                                      14
                                                                               Case ID: 241002269
                                                                             Control No.: 24112022
      Case 5:24-cv-06225-JLS        Document 1-3         Filed 11/20/24    Page 154 of 415




GOLDBERG SEGALLA LLP                                         Attorneys for Defendant
BY: JOSEPH J. WELTER, ESQUIRE                                AFAM Concept, Inc. (incorrectly
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KAREN UQDAH                                          :       COURT OF COMMON PLEAS
                                                     :
Plaintiff                                            :       PHILADELPHIA COUNTY
                                                     :
        Vs.                                          :       OCTOBER TERM, 2024
                                                     :
L’OREAL USA, INC, et al.                             :
                                                     :
Defendants.                                          :       NO. 2269
                                                     :
          MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS
     OF DEFENDANT AFAM CONCEPT, INC. (INCORRECTLY PLED AS AFAM CONCEPT,
                INC. d/b/a JF LABS, INC.) TO PLAINTIFF’S COMPLAINT


        Defendant AFAM Concept, Inc. d/b/a JF Labs, Inc. (“AFAM”) by and through its

undersigned attorneys, hereby submits the following Memorandum of Law in support of its

Preliminary Objections to Plaintiff, Karen Uqdah’s (“Plaintiff”), Complaint.


I.      MATTER BEFORE THE COURT
        AFAM, in its Preliminary Objections, seeks the dismissal of Plaintiff’s negligence, strict

liability-failure to warn and breach of warranty claims because they are preempted by federal law

(the FDCA). Alternatively, all of Plaintiff’s claims against AFAM should be dismissed as they


                                                15
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24112022
      Case 5:24-cv-06225-JLS         Document 1-3        Filed 11/20/24      Page 155 of 415




are legally insufficient. Plaintiff fails to link AFAM’s products to the litany of chemicals she

claims caused her damages. Additionally, Plaintiff’s demand for punitive damages and

averments of recklessness and conscious disregard for the health and safety of consumers should

be stricken as Plaintiff failed to allege the necessary material facts to support such

averments/demands.

II.     QUESTIONS PRESENTED

        A.     Should this Court dismiss Plaintiff’s negligence, failure to warn and breach of

implied warranties claims against AFAM when such claims are preempted by federal law?

        Suggested answer: Yes.

        B.     Should this Court dismiss Plaintiff’s claims against AFAM when Plaintiff failed

to allege that the chemicals that caused her damages were contained within any of AFAM’s

products rendering this claim legally insufficient?

        Suggested Answer: Yes.

        C.     Should this Court dismiss Count III of the Complaint against AFAM for its legal

insufficiency when Pennsylvania does not recognize a claim for negligent failure to test?

        Suggested Answer: Yes

        D.     Should this Court strike Plaintiff’s allegations of recklessness and conscious

disregard and her demands for punitive damages when Plaintiff failed to plead the material facts

supporting these averments/demands?

        Suggested Answer: Yes

        E.     Should this Court strike the scandalous and impertinent matter from




                                                 16
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112022
       Case 5:24-cv-06225-JLS              Document 1-3    Filed 11/20/24    Page 156 of 415




Plaintiff’s Complaint when it has no connection to Plaintiff’s claims or the various Defendants’

defenses pursuant to Rule 1028(a)(2)?

         Suggested Answer: Yes

III.     STATEMENT OF FACTS

         Plaintiff, Karen Uqdah (“Plaintiff”), initiated this action by filing a Complaint on October

17, 2024. Plaintiff’s Complaint arises out of her claimed use of numerous hair relaxer products

associated with multiple defendants, which allegedly resulted in a diagnosis of endometrial

cancer.30 According to the Complaint, plaintiff “consistently and frequently” used various hair

relaxers from 1968 through 2018.31

         Plaintiff claims to have used many different types and brands of hair relaxer products,

including Dark & Lovely, Optimum, Bantu, Mizani, Gentle Treatment, TCB, Africa’s Best,

Luster’s Pink Oil, Hawaiian Silky, and Affirm associated with (6) different defendants.32

Plaintiff alleges that AFAM “developed, tested, assembled, marketed, manufactured, and sold

various brands of chemical hair relaxer products that were specifically marketed, including, but

not limited to, the Hawaiian Silky brand, that Plaintiff specifically used to chemically straighten

her hair.”33

         As will be discussed in detail below, Plaintiff’s claims are either preempted by federal

law or pled in violation of Pennsylvania’s strict fact pleading requirements. The deficiency of

Plaintiff’s Complaint encompasses Plaintiff’s allegations of recklessness and conscious disregard




30
   See Complaint, attached as Exhibit “A” at ¶ 131.
31
   Id. at ¶ 79.
32
   Id. at ¶¶21, 80.
33
   Id. at ¶32.


                                                      17
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112022
      Case 5:24-cv-06225-JLS               Document 1-3           Filed 11/20/24         Page 157 of 415




against AFAM.34 Similarly, Plaintiff failed to plead the requisite material facts to support the

punitive damages demands in all of the Wherefore clauses in the Complaint.35

IV.      ARGUMENT

         A.       Counts II, III and IV of Plaintiff’s Complaint Should be Dismissed Against
                  AFAM Pursuant to Rule 1028(a)(4) due to Federal Law Preemption.

         The Federal Food, Drug & Cosmetic Act (“FDCA”), 21 U.S.C. § 301, et seq., provides

that “no State or political subdivision of a State may establish or continue in effect any

requirement for labeling or packaging of a cosmetic that is different from or in addition to, or

that is otherwise not identical with, a requirement specifically applicable to a particular cosmetic

or class of cosmetics under this chapter.”36 A plaintiff cannot seek to “impose labeling

requirements that are additional to, different from, those that [the FDCA] has established.”37

Though FDCA preemption does not apply to products liability claims, it bars all other claims that

seek to impose labeling requirements that are not identical to those imposed by the FDCA and its

regulations.38

         Plaintiff herein posits the same arguments that were rejected in Critcher as she contends

that AFAM is required to identify constituent ingredients in the fragrance component of its hair

relaxers.39 However, FDCA regulations expressly do not require disclosing the ingredients in the

fragrance component.40




34
   See Exhibit “A” at ¶¶137, 155, 168, 179, and 195.
35
    Id.
36
    21 U.S.C. § 379s(a).
37
    Critcher v. L’Oreal USA,. Inc., 959 F.3d 31, 38 (2d Cir. 2020).
38
    Id. at 35-36.
39
    See Exhibit “A” ¶76 (alleging that “unknown chemicals” are “hidden under the ingredient title ‘fragrances’”).
40
    21 C.F.R. § 701.3(a).


                                                         18
                                                                                                         Case ID: 241002269
                                                                                                       Control No.: 24112022
     Case 5:24-cv-06225-JLS             Document 1-3          Filed 11/20/24        Page 158 of 415




        The Georgia Court of Appeals, in L’Oreal USA, Inc. v. Burroughs, approximately five

months ago, addressed the same issues as the Court will be adjudicating in the instant case.41 In

L’Oreal USA, Inc., the court provided that inadequate warning claims are pre-empted by the

FDCA if they seek to require warnings that are additional to those required by the FDCA. 42

        The Illinois Circuit Court of Cook County, approximately three months ago, issued a

global order in favor of Defendants granting, in part, a consolidated motion to dismiss based on

issues of FDCA labeling preemption in 39 separate actions between various plaintiffs and

manufacturers of hair relaxer products. In particular, the Court, in Hayes v. L’Oreal USA, Inc.,

dismissed Plaintiffs’ fraud claims as preempted under 21 U.S.C. §379s(a).43

        Plaintiff herein seeks to impose labeling requirements on AFAM that are additional to

those required by the FDCA in her failure to warn, negligence and breach of warranty claims.

The plain language of the FDCA provides that a state cannot impose labeling requirements that

are broader than those outlined in the FDCA clearly evincing a congressional intent to control

issues pertaining to the labeling of products, including those at issue here.

        Plaintiff ignores this unambiguous language. Accordingly, her failure to warn (Count II),

negligence (Count III) and breach of warranty claims (Count IV) are therefore preempted by

federal law and must be dismissed.




41
   372 Ga. App 30 (June 21, 2024), attached as Exhibit “B.”
42
   Id. at 40-41.
43
   Motion to Dismiss at 8, Hayes v. L’oreal USA, Inc., No. 2022-L-011132, 2023-L-001824, 2023-L-001934, 2023-
L-003274, 2023-L-002603, 2023-L-005963, 2023-L-005958, 2023-L-005959, 2023-L-005953, 2023-L-005962,
2023-L-006390, 2023-L-006448 (Cir. Ct. Cook County, August 28, 2024), attached as Exhibit “C.”



                                                     19
                                                                                                  Case ID: 241002269
                                                                                                Control No.: 24112022
        Case 5:24-cv-06225-JLS              Document 1-3           Filed 11/20/24        Page 159 of 415




           B.       All of Plaintiff’s claims Against AFAM Should be Dismissed Pursuant to
                    Rule 1028(a)(2) Because They are Violative of Pennsylvania’s Fact-Pleading
                    Requirements.

           The Commonwealth of Pennsylvania is a fact pleading jurisdiction. Under

Pennsylvania’s system of fact pleading, the plaintiff bears the burden of defining the issues and

setting forth every act or performance essential to that end in the complaint.44 Pennsylvania Rule

of Civil Procedure 1019(a) requires that the material facts on which a cause of action is based be

set forth in a concise and summary form. The purpose of such pleading requirements is to place

the defendant on notice of the intended grounds for suit and spare defendant of the exercise of

guessing at the substance of plaintiff’s allegations.45

           Plaintiff alleges, generally and without sufficient factual support, that “Dark & Lovely,

Optimum, Bantu, Mizani, Gentle Treatment, TCB, Africa’s Best, Luster’s Pink Oil, Hawaiian

Silky, and Affirm hair relaxers contained:

                a. phthalates;

                b. bisphenol A;

                c. cyclosiloxanes;

                d. antimicrobials;

                e. ethanolamines;

                f. alkylphenols;

                g. UV filters; and

                h. fragrances.”

           Throughout the Complaint, Plaintiff continuously uses vague and expansive language

which does not appropriately place AFAM on notice regarding the parameters of Plaintiff's


44
     Santiago v. Pennsylvania Nat’l Mut. Cas. Ins. Co., 613 A.2d 1235, 1238 (Pa. Super. 1992).
45
     Schweikert v. St. Luke’s Hosp. of Bethlehem, 886 A.2d 265, 270 (Pa. Super. 2005).


                                                          20
                                                                                                    Case ID: 241002269
                                                                                                  Control No.: 24112022
     Case 5:24-cv-06225-JLS                Document 1-3           Filed 11/20/24          Page 160 of 415




claims. The Complaint continuously fails to adequately link any of the aforementioned chemicals

to AFAM’s products. Accordingly, because Plaintiff violated Pennsylvania’s fact-pleading

requirements, the Court should dismiss Plaintiff’s claims against AFAM.

         C.       Count III Should be Dismissed Pursuant to Rule 1028(a)(4) as Pennsylvania
                  Does Not Recognize a Claim for Failure to Test.

         Throughout Count III of the Complaint, Plaintiff alleges that AFAM was negligent for

“failing to sufficiently test” its Hawaiian Silky product.46 However, Pennsylvania courts do not

recognize a claim for “negligent failure to test.”47 Accordingly, Plaintiff’s allegations regarding

AFAM’s failure to test must be stricken.

         D.       Plaintiff’s Demand for Punitive Damages and Allegations of Recklessness
                  and Conscious Disregard Against AFAM Should be Stricken Pursuant to
                  Rule 1028(a)(2).

         The standard governing punitive damages in Pennsylvania states that punitive damages

may be awarded in cases where conduct is “outrageous, because of the defendant’s evil motive

or his reckless indifference to the rights of others.”48 Furthermore, a plaintiff must allege facts

demonstrating that the defendant's conduct was of such an outrageous nature as to constitute

reckless, intentional, willful, or wanton conduct.49

         The Restatement (Second) of Torts, which has been adopted in Pennsylvania, defines

reckless conduct as follows:

         Recklessness may consist of either of two different types of conduct. In one the
         actor knows, or has reason to know . . . of facts which create a high degree of risk
         of physical harm to another, and deliberately proceeds to act, or to fail to act, in

46
   See Exhibit “A” at ¶ 176 (a, b, h).
47
   Viguers v. Philip Morris USA, Inc., 2003 PA Super. 446, ¶ 21 (“[T]he claim for ‘negligent failure to test’ is not a
viable cause of action recognized by our courts, and we have found no ‘duty to test’ that would be the basis of such
a claim”).
48
   Hutchison v. Luddy, 582 Pa. 114, 121, 870 A.2d 766, 770, 2005 Pa. LEXIS 523, *12 (2005).
49
   SHV Coal v. Continental Grain, Co., 587 A.2d 702, 704 (Pa. 1991)(citing Pittsburgh Outdoor Adv. Co. v. Virginia
Manor Apts., Inc., 436 Pa. 350, 260 A.2d 801 (1970)).


                                                         21
                                                                                                         Case ID: 241002269
                                                                                                       Control No.: 24112022
     Case 5:24-cv-06225-JLS               Document 1-3          Filed 11/20/24         Page 161 of 415




        conscious disregard of, or indifference to, that risk. In the other the actor has such
        knowledge, or reason to know, of the facts, but does not realize or appreciate the
        high degree of risk involved, although a reasonable man in his position would do
        so. An objective standard is applied to him, and he is held to the realization of the
        aggravated risk which a reasonable man in his place would have, although he does
        not himself have it.50

        Furthermore, “reckless” conduct must be something more than mere negligence and

involve a risk of harm to others substantially in excess of that which is required to support a

negligence claim.51 Recklessness differs from negligence in that the former requires a

“conscious choice of a course of action, either with knowledge of the serious danger to others

involved in it or with knowledge of facts which would disclose this danger to any reasonable

man.”52

        In Plaintiff’s Wherefore clauses in Counts I through IV of the Complaint, she asserts

demands for punitive damages. Plaintiff further alleges that AFAM acted recklessly and with

conscious disregard for the health and safety of consumers of their hair relaxer products on

several occasions in her Complaint.53

        Plaintiff’s demand for punitive damages against AFAM must be stricken because

Plaintiff fails to allege the requisite levels of conduct on behalf of AFAM. Plaintiff failed to

plead material facts to support her claims that AFAM acted maliciously, wantonly, recklessly, or

willfully.54 Plaintiff’s allegations that AFAM failed to exercise reasonable care with respect to


50
   Restatement (Second) of Torts § 500 cmt. a; Hutchinson v. Luddy, 870 A. 2d 766 (Pa. 2004); See also, Kerchner v.
Naill, 6 Pa. D.&C.4th 120, 125-26 (C.P. Adams 1989) (defining reckless conduct).
51
    Restatement (Second) of Torts § 500; see also Perez v. Bardo, 2011 U.S. Dist. WL 941380, at *2 (E.D. Pa.
2011)(“A defendant acts recklessly when he creates an unquestionable risk of physical harm to another and such risk
is substantially greater than that which is necessary to make his conduct negligent.”)
52
    Restatement (Second) of Torts § 500.
53
   See Exhibit “A” at ¶¶137, 155, 168, 179, and 195.
54
    See Wright v. Ryobi Techs., Inc., 175 F. Supp. 3d 439, 455-56 (E.D. Pa. 2016) (applying Pennsylvania law)
(“Punitive damages may be awarded because the defendant’s conduct was outrageous, or
because the defendant’s motive was evil, or because of the defendant’s reckless indifference to
the rights of others . . . . Punitive damages are only warranted for conduct that is malicious,
wanton, reckless, willful, or oppressive.” (citations omitted)).


                                                        22
                                                                                                      Case ID: 241002269
                                                                                                    Control No.: 24112022
        Case 5:24-cv-06225-JLS        Document 1-3       Filed 11/20/24      Page 162 of 415




the manufacture of Hawaiian Silky do not meet the pleading threshold required to state a claim

for recklessness, conscious disregard or a demand for punitive damages, and thus each and every

one of plaintiff’s punitive damages demands and allegations of recklessness and conscious

disregard against AFAM should be stricken pursuant to Pennsylvania Rule of Civil Procedure

1028(a)(2).

           E.       Paragraphs 35-78 of the Complaint Should be Stricken Pursuant to Rule
                    1028(a)(2) as They Include Scandalous or Impertinent Matter.

           Rule 1028(a)(2) provides that preliminary objections may be sustained when a pleading

includes “scandalous or impertinent matter.” Plaintiff’s Complaint contains approximately ten

pages (pages 10 through 19) of statements regarding western beauty standards and the alleged

marketing of hair relaxers to young girls.55 These statements are immaterial to Plaintiff's claims

or AFAM’s conduct. Accordingly, if the Complaint is not dismissed in its entirety, the court

should strike this immaterial matter from the Complaint.

V.         CONCLUSION

           The majority of Plaintiff’s claims against AFAM should be dismissed by virtue of federal

law preemption. The plain language of the FDCA mandates that federal law preempt state law

when it relates to the labeling of hair products. Accordingly, Plaintiff’s failure to warn,

negligence and breach of warranty claims against AFAM must be dismissed. Plaintiff violated

Pennsylvania’s strict fact pleading requirements when it failed to identify which of the allegedly

harmful chemicals were contained within Hawaiian Silky, the only product AFAM allegedly

manufactured as alleged in the Complaint. Finally, Plaintiff has failed to plead any facts that




55
     See Exhibit “A” at ¶¶ 35-78.


                                                  23
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112022
    Case 5:24-cv-06225-JLS         Document 1-3        Filed 11/20/24       Page 163 of 415




support her demands for punitive damages or her bald, conclusory allegations of reckless and

conscious disregard. These demands and allegations must be stricken, with prejudice.

                                                  Respectfully submitted,
                                                  GOLDBERG SEGALLA LLP

                                                     /s/ Stephen A. Sheinen
                                            By:     Joseph J. Welter, Esquire
                                                    Robert J. Hafner, Esquire
                                                    Stephen A. Sheinen, Esquire
                                                    Nicole Caspers, Esquire
                                                    Attorneys for Defendant
                                                    AFAM Concept, Inc. (incorrectly identified
                                                    as AFAM Concept, Inc. d/b/a
                                                    JF Labs, Inc.)

Dated: 11/11/2024




                                              24
                                                                                         Case ID: 241002269
                                                                                       Control No.: 24112022
     Case 5:24-cv-06225-JLS         Document 1-3       Filed 11/20/24      Page 164 of 415




                                       VERIFICATION
        I, Stephen A. Sheinen, Esquire, am counsel for Defendant AFAM Concept, Inc.

(incorrectly pled as AFAM Concept, Inc. d/b/a JF Labs, Inc). I hereby verify that the statements

made within the foregoing Defendant’s Preliminary Objections to Plaintiffs’ Complaint are true

and correct to the best of my knowledge, information and belief, and that false statements herein

are made subject to the penalties of 18 Pa.C.S.A. Section 4904 relating to unsworn falsification to

authorities.

                                                     /s/ STEPHEN A. SHEINEN
                                                     Stephen A. Sheinen, Esquire
Date: 11/11/2024




                                                25
                                                                                        Case ID: 241002269
                                                                                      Control No.: 24112022
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 165 of 415




                             CERTIFICATE OF COMPLIANCE
       I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.

                                                    Submitted by,



                                                    GOLDBERG SEGALLA LLP

                                                      /s/ Stephen A. Sheinen
                                              By:     Stephen A. Sheinen, Esquire
                                                      Attorneys for Defendant
                                                      AFAM Concept, Inc. (incorrectly identified as
                                                      AFAM Concept, Inc. d/b/a JF Labs, Inc.)

Dated: 11/11/2024




                                                26
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112022
    Case 5:24-cv-06225-JLS         Document 1-3        Filed 11/20/24     Page 166 of 415




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of November 2024 a true and correct copy of the

within Defendant AFAM Concept, Inc.’s (incorrectly pled as AFAM Concept, Inc. d/b/a JF

Labs, Inc) Preliminary Objections to Plaintiff’s Complaint was filed with the Court and served

upon all counsel of record via the Court’s ECF System.



                                              GOLDBERG SEGALLA LLP


                                                /s/ Stephen A. Sheinen
                                        By:     JOSEPH J. WELTER, ESQUIRE
                                                ROBERT J. HAFNER, ESQUIRE
                                                STEPHEN A. SHEINEN, ESQUIRE
                                                NICOLE CASPERS, ESQUIRE
                                                Attorneys for Defendant
                                                AFAM Concept, Inc.,
                                                (Incorrectly identified as AFAM Concept, Inc.
                                                d/b/a JF Labs, Inc.).




                                               27
                                                                                       Case ID: 241002269
                                                                                     Control No.: 24112022
     Case 5:24-cv-06225-JLS    Document 1-3       Filed 11/20/24   Page 167 of 415




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KAREN UQDAH                                   :       COURT OF COMMON PLEAS
                                              :
Plaintiff                                     :       PHILADELPHIA COUNTY
                                              :
        Vs.                                   :       OCTOBER TERM, 2024
                                              :
L’OREAL USA, INC, et al.                      :
                                              :
Defendants.                                   :       NO. 2269
                                              :

           PRELIMINARY OBJECTIONS OF DEFENDANT AFAM CONCEPT, INC.
        (INCORRECTLY IDENTIFIED AS AFAM CONCEPT, INC. d/b/a JF LABS, INC.)
                   TO PLAINTIFF KAREN UQDAH’S COMPLAINT




                              EXHIBIT “A”




                                                                               Case ID: 241002269
                                                                             Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 168 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 169 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 170 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 171 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 172 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 173 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 174 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 175 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 176 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 177 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 178 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 179 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 180 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 181 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 182 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 183 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 184 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 185 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 186 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 187 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 188 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 189 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 190 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 191 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 192 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 193 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 194 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 195 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 196 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 197 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 198 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 199 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 200 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 201 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 202 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 203 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 204 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 205 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 206 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 207 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 208 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 209 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 210 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 211 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 212 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 213 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
     Case 5:24-cv-06225-JLS    Document 1-3       Filed 11/20/24   Page 214 of 415




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KAREN UQDAH                                   :       COURT OF COMMON PLEAS
                                              :
Plaintiff                                     :       PHILADELPHIA COUNTY
                                              :
        Vs.                                   :       OCTOBER TERM, 2024
                                              :
L’OREAL USA, INC, et al.                      :
                                              :
Defendants.                                   :       NO. 2269
                                              :

           PRELIMINARY OBJECTIONS OF DEFENDANT AFAM CONCEPT, INC.
        (INCORRECTLY IDENTIFIED AS AFAM CONCEPT, INC. d/b/a JF LABS, INC.)
                   TO PLAINTIFF KAREN UQDAH’S COMPLAINT




                              EXHIBIT “B”




                                                                               Case ID: 241002269
                                                                             Control No.: 24112022
        Case 5:24-cv-06225-JLS              Document 1-3            Filed 11/20/24       Page 215 of 415




User Name: Joseph Welter
Date and Time: Monday, August 26, 2024 2:19:00PM EDT
Job Number: 232013544


Document (1)

 1. L'Oréal USA, Inc. v. Burroughs, 372 Ga. App. 30
  Client/Matter: 00000




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                                                                                                         Case ID: 241002269
                                                    Joseph Welter
                                                                                                       Control No.: 24112022
           Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24      Page 216 of 415


     Cited
As of: August 26, 2024 6:19 PM Z


                                   L'Oréal USA, Inc. v. Burroughs
                                             Court of Appeals of Georgia
                                               June 21, 2024, Decided
                                               A24A0313. A24A0314.

Reporter
372 Ga. App. 30 *; 2024 Ga. App. LEXIS 250 **; 2024 WL 3082347
                                                            Judgment affirmed in part, reversed in part, and
L'ORÉAL USA, INC. et al. v. BURROUGHS.
                                                            remanded with instructions.
STRENGTH OF NATURE GLOBAL, LLC v.
BURROUGHS.
                                                            LexisNexis® Headnotes
Subsequent History: Cert. applied for.

Prior History: Product liability, etc. Chatham State
Court. Before Judge White.

Disposition: Judgment affirmed in part and reversed in           Civil Procedure > Appeals > Standards of
part, and case remanded with instructions.                       Review > De Novo Review

Core Terms                                                       Civil Procedure > ... > Defenses, Demurrers &
                                                                 Objections > Motions to Dismiss > Failure to State
statute of repose, products, manufacturer, trial court,          Claim
motion to dismiss, fraud claim, allegations, preempted,
                                                                 Civil
punctuation, repose, misrepresentation, labeling, hair,
                                                                 Procedure > ... > Pleadings > Complaints > Require
federal law, first sale, relaxer, warn, chemical, strict
                                                                 ments for Complaint
liability, ten years, preemption, triggered, negligence
claim, consumer, cosmetic, disease, statute of
                                                            HN1[    ] Standards of Review, De Novo Review
limitations, manufacturing defect, trial court's order,
definite statement
                                                            An appellate court reviews a trial court's ruling on a
                                                            motion to dismiss de novo, and a motion to dismiss
Case Summary                                                should not be granted unless the allegations of the
                                                            complaint disclose with certainty that the claimant would
                                                            not be entitled to relief under any state of provable facts
Overview                                                    asserted in support thereof. The appellate court
                                                            construes the pleadings in the light most favorable to
HOLDINGS: [1]-The trial court erred in concluding that
                                                            the plaintiff with any doubts resolved in the plaintiff's
the statute of repose did not bar the consumer's
                                                            favor.
products liability claim because it improperly concluded
that each application of the hair relaxer constituted
exposure to a new product, which was contrary to the
language of O.C.G.A. § 51-1-11(b)(2), which indicated            Governments > Legislation > Statute of Repose
that the repose period begins with the "first sale"; [2]-
The consumer's negligence claim survived under the               Torts > Procedural Matters > Statute of
exception in the § 51-1-11(c), for claims arising out of         Repose > Personal Injury
the negligence of such manufacturer in manufacturing
products which cause a disease or birth defect.                  Torts > Procedural Matters > Statute of
                                                                 Repose > Products Liability
Outcome

                                                                                                      Case ID: 241002269
                                                    Joseph Welter
                                                                                                    Control No.: 24112022
          Case 5:24-cv-06225-JLS               Document 1-3           Filed 11/20/24       Page 217 of 415
                                                                                                           Page 2 of 12
                                372 Ga. App. 30, *30; 2024 Ga. App. LEXIS 250, **250

    Governments > Legislation > Statute of                         Repose > Products Liability
    Limitations > Time Limitations
                                                               HN5[    ] Statute of Repose, Products Liability
HN2[   ] Legislation, Statute of Repose
                                                               It is the last sale of a finished product (containing
For product liability claims, Georgia's statute of repose      multiple component parts) to the consumer that is the
states that no action shall be commenced with respect          relevant sale — versus any inter-manufacturer sales of
to an injury after ten years from the date of the first sale   the component parts to other manufacturers who would
for use or consumption of the personal property causing        assemble the product.
or otherwise bringing about the injury. O.C.G.A. § 51-1-
11(b)(2). Subsection (c) extends the statute of repose to
negligence claims against manufacturers, subject to
                                                                   Governments > Legislation > Statute of Repose
certain exceptions.
                                                                   Torts > Procedural Matters > Statute of
                                                                   Repose > Tolling of Statutory Period
    Governments > Legislation > Statute of Repose
                                                                   Governments > Legislation > Statute of
    Torts > Procedural Matters > Statute of                        Limitations > Time Limitations
    Repose > Personal Injury
                                                               HN6[    ] Legislation, Statute of Repose
    Torts > Procedural Matters > Statute of
    Repose > Products Liability                                Unlike a statute of limitations, a statute of repose is not
                                                               triggered by the injury. A statute of repose limits the time
    Torts > Products Liability > Theories of                   within which an action may be brought and is not related
    Liability > Strict Liability                               to the accrual of any cause of action. The injury need
                                                               not have occurred, much less have been discovered.
    Governments > Legislation > Statute of
    Limitations > Time Limitations
                                                                   Governments > Legislation > Statute of Repose
HN3[   ] Legislation, Statute of Repose
                                                                   Torts > Procedural Matters > Statute of
Under Georgia's statute of repose, strict liability actions
                                                                   Repose > Tolling of Statutory Period
filed more than ten years after the date of the first sale
for use or consumption of the product are completely
                                                                   Governments > Legislation > Statute of
barred. Indeed the statute of repose may extinguish a
                                                                   Limitations > Time Limitations
cause of action before it even accrues or destroy a
previously existing right of action so that it no longer       HN7[    ] Legislation, Statute of Repose
exists. If applicable, a statute of repose stands as an
unyielding barrier to a plaintiff's right of action.           A statute of ultimate repose delineates a time period in
                                                               which a right may accrue. If the injury occurs outside
                                                               that period, it is not actionable. A statute of repose
    Torts > Procedural Matters > Statute of                    stands as an unyielding barrier to a plaintiff's right of
    Repose > Products Liability                                action.

HN4[   ] Statute of Repose, Products Liability
                                                                   Governments > Courts > Judicial Precedent
O.C.G.A. § 51-1-11 does not reference application/use
of the product, but rather first sale for use or               HN8[    ] Courts, Judicial Precedent
consumption. O.C.G.A. § 51-1-11(b)(2).
                                                               Federal district court opinions are not binding on the
                                                               Court of Appeals of Georgia.
    Torts > Procedural Matters > Statute of

                                                                                                         Case ID: 241002269
                                                                                                       Control No.: 24112022
          Case 5:24-cv-06225-JLS               Document 1-3        Filed 11/20/24        Page 218 of 415
                                                                                                         Page 3 of 12
                               372 Ga. App. 30, *30; 2024 Ga. App. LEXIS 250, **250

    Governments > Legislation > Interpretation                allowing claims arising out of the negligence of a
                                                              manufacturer in manufacturing products which cause a
HN9[    ] Legislation, Interpretation                         disease or birth defect is to afford relief to plaintiffs
                                                              whose claims are based on certain types of injury the
When an appellate court considers the meaning of a            latent effects of which may not be manifest for many
statute, it must presume that the General Assembly            years. Accordingly, O.C.G.A. § 51-1-11, contemplates a
meant what it said and said what it meant. And, it is no      manufacturer's liability outside of the products-liability
more the court's function to revise by subtraction than       statute of repose for such negligence that results in a
by addition. If possible, every word and every provision      product causing disease or birth defect.
is to be given effect. None should needlessly be given
an interpretation that causes it to duplicate another
provision or have no consequence.
                                                                  Civil Procedure > ... > Defenses, Demurrers &
                                                                  Objections > Affirmative Defenses > Estoppel

    Torts > Products Liability > Theories of                      Governments > Legislation > Statute of
    Liability > Negligence                                        Limitations > Equitable Estoppel

    Torts > Procedural Matters > Statute of                       Contracts Law > ... > Affirmative Defenses > Statute
    Repose > Products Liability                                   of Limitations > Equitable Estoppel

HN10[    ] Theories of Liability, Negligence                      Torts > ... > Statute of
                                                                  Limitations > Tolling > Equitable Estoppel
The statute of repose also applies to actions claiming
negligence of a manufacturer as the basis of liability            Governments > Legislation > Statute of Repose
except an action seeking to recover from a
manufacturer for injuries or damages arising out of the       HN12[    ] Affirmative Defenses, Estoppel
negligence of such manufacturer in manufacturing
products which cause a disease or birth defect, or            Although it is well settled that a statute of repose cannot
arising out of conduct which manifests a willful, reckless,   be tolled, there are narrow circumstances in which a
or wanton disregard for life or property. Nothing             defendant may be equitably estopped from raising the
contained in this subsection shall relieve a manufacturer     statute of repose as a defense. Particularly, if evidence
from the duty to warn of a danger arising from use of a       of defendant's fraud or other conduct on which the
product once that danger becomes known to the                 plaintiff reasonably relied in forbearing the bringing of a
manufacturer. O.C.G.A. § 51-1-11(c).                          lawsuit is found by the trier of fact to exist, then the
                                                              defendant, under the doctrine of equitable estoppel, is
                                                              estopped from raising the defense of the statute of
                                                              ultimate repose. In order for this to apply, however, a
    Governments > Legislation > Statute of Repose
                                                              plaintiff must show fraud by offering evidence of a
                                                              known failure to reveal negligence.
    Torts > Products Liability > Types of
    Defects > Manufacturing Defects

    Torts > Procedural Matters > Statute of                       Antitrust & Trade Law > Consumer
    Repose > Products Liability                                   Protection > Deceptive Labeling &
                                                                  Packaging > Federal Food, Drug & Cosmetic Act
    Torts > Procedural Matters > Statute of
    Repose > Personal Injury                                      Constitutional Law > Supremacy Clause > Federal
                                                                  Preemption
    Torts > Products Liability > Theories of
    Liability > Negligence                                    HN13[ ] Deceptive Labeling & Packaging, Federal
                                                              Food, Drug & Cosmetic Act
HN11[    ] Legislation, Statute of Repose
                                                              The FDCA contains an express preemption provision,
The intent of the exception to the statute of repose
                                                                                                        Case ID: 241002269
                                                                                                      Control No.: 24112022
          Case 5:24-cv-06225-JLS               Document 1-3          Filed 11/20/24        Page 219 of 415
                                                                                                              Page 4 of 12
                                372 Ga. App. 30, *30; 2024 Ga. App. LEXIS 250, **250

21 U.S.C.S. § 379s(a), stating that the federal law             at least so long as the plaintiff is able and willing to
preempts any requirement for labeling or packaging of a         amend her pleadings to conform to the statutory
cosmetic that is different from or in addition to, or that is   requirements.
otherwise not identical with, a requirement specifically
applicable to a particular cosmetic or class of cosmetics       Headnotes/Summary
under this chapter.

                                                                Headnotes
    Civil Procedure > ... > Federal & State
                                                                Georgia Advance Headnotes
    Interrelationships > Federal Common
    Law > Preemption

                                                                GA(1)[   ] (1)
    Constitutional Law > Supremacy Clause > Federal
    Preemption
                                                                  Torts. > Procedure. > Statutes of Repose.

HN14[    ] Federal Common Law, Preemption
                                                                The trial court's reference to the “last sale of the
                                                                property as new” as being the sale which triggered the
State law is naturally preempted to the extent of any
                                                                commencement of the statute of repose was misplaced
conflict with a federal statute and courts will find
                                                                because the language of OCGA § 51-1-11 (b) (2),
preemption where it is impossible for a private party to
                                                                indicated that the repose period begins with the “first
comply with both state and federal law, and where
                                                                sale.”
under the circumstances of a particular case, the
challenged state law stands as an obstacle to the
accomplishment and execution of the full purposes and
                                                                GA(2)[   ] (2)
objectives of Congress. Further, state law claims that
are preempted by federal law are properly dismissed.
                                                                  Torts. > Procedure. > Statutes of Repose.

                                                                The consumer's negligence claim survived under the
    Constitutional Law > Supremacy Clause > Federal             exception in OCGA § 51-1-11 (c), for claims arising out
    Preemption                                                  of the negligence of such manufacturer in manufacturing
                                                                products which cause a disease or birth defect.
HN15[    ] Supremacy Clause, Federal Preemption
                                                                Counsel: Gordon Rees Scully Mansukhani, Leslie K.
The Supreme Court of Georgia has distinguished                  Eason, Ellis George, Cipollone O'Brien, Dennis S. Ellis,
misrepresentation claims from inadequate warning                Katherine F. Murray, Nicholas J. Begakis, for appellants
claims in assessing the preemptive effect of FDA                (case no. A24A0313).
regulations.

                                                                Gilbert Harrell Sumerford & Martin, Mark D. Johnson;
                                                                Arnold & Porter Kaye Scholer, Lori B. Leskin, Rhonda
    Civil Procedure > ... > Responses > Defenses,
                                                                R. Trotter, Leah A. Schultz, for appellant (case no.
    Demurrers & Objections > Defects of Form
                                                                A24A0314).
    Civil
    Procedure > ... > Pleadings > Complaints > Require
                                                                The Summerville Firm, Darren Summerville, Elizabeth
    ments for Complaint
                                                                C. Stone; Bullock Ward Mason, Tina M. Bullock,
                                                                Danielle W. Mason; Bey & Associates, N. John Bey, for
HN16[ ] Defenses,          Demurrers       &   Objections,
                                                                appellee.
Defects of Form
                                                                Judges: [**1] GOBEIL, Judge. Barnes, P. J., and
The proper remedy to address deficiencies in pleading
                                                                Pipkin, J., concur.
is a motion for a more definite statement, not a
dismissal of the complaint or judgment on the pleadings,

                                                                                                          Case ID: 241002269
                                                                                                        Control No.: 24112022
          Case 5:24-cv-06225-JLS             Document 1-3           Filed 11/20/24         Page 220 of 415
                                                                                                            Page 5 of 12
                                372 Ga. App. 30, *30; 2024 Ga. App. LEXIS 250, **1

Opinion by: GOBEIL                                            October 2022, a scientific study was released finding an
                                                              association between chemical hair relaxers and [**3]
Opinion                                                       uterine cancers. Publicity surrounding the study alerted
                                                              Burroughs to the possibility that she may have been
                                                              harmed by her use of chemical hair relaxers.
[*30] GOBEIL, Judge.                                          On October 27, 2022, Burroughs filed her original
                                                              complaint against L'Oreal, SON, and Namaste
In these related appeals, L'Oréal USA, Inc., L'Oréal
                                                              (“Defendants”). In broad terms, she alleged that
USA Products, Inc., SoftSheen-Carson, LLC, and
                                                              endocrine-disrupting chemicals (including phthalates)
SoftSheen-Carson (W. I.), Inc. (collectively referred to
                                                              found in Defendants‘ products are harmful and known to
as “L'Oreal”), and Strength of Nature Global, LLC
                                                              adversely impact the reproductive system. She alleged
(“SON”) (and together, “Appellants”), appeal from the
                                                              that uterine fibroids “are associated with phthalate
trial court's order denying Appellants' motions to dismiss
                                                              metabolites found in chemical hair straightening and
Kiara Burroughs's complaint asserting claims for
                                                              hair relaxer products” and that uterine fibroids are more
products liability, negligence, and fraud. Appellants
                                                              common among Black women, who are more likely to
present two primary issues for appeal: (1) Does
                                                              use chemical hair relaxing products than women of
Georgia's ten-year statute of repose for products liability
                                                              other races. As relevant here, her original complaint
actions (OCGA § 51-1-11 (b) (2)) preclude Burroughs's
                                                              raised claims of strict liability (failure to warn), strict
strict liability and/or negligence claims, when she first
                                                              liability (design     and/or     manufacturing    defect),
purchased the products allegedly causing injury more
                                                              negligence (failure to warn), negligence (design and/or
than ten years before filing her action, but claims to
                                                              manufacturing defect), general negligence, negligent
have purchased new containers of the same products
                                                              misrepresentation, fraud, and fraudulent concealment.1
within ten years of filing her action?; and (2) Are
Burroughs's fraud claims preempted by federal law?
                                                              Defendants all filed motions to dismiss. Namaste's
For the reasons set forth below, we affirm in part,
                                                              motion focused on the specificity of Burroughs's
reverse in part, and remand the case to the trial court for
                                                              allegations, arguing that she had not identified
further proceedings not inconsistent with this opinion.
                                                              specific [**4] Namaste products she had used that
                                                              allegedly caused her injuries. L'Oreal and SON also
HN1[ ] We review the trial court's ruling on a motion to
                                                              were concerned about specificity (and L'Oreal
dismiss de novo, and a motion [**2] to dismiss should
                                                              specifically moved in the alternative for a more definite
not be granted “unless the allegations of the complaint
                                                              statement on Burroughs's fraud claims), but they [*32]
disclose with certainty that the claimant would not be
                                                              argued further that many of Burroughs's claims were
entitled to relief under any state of provable facts
                                                              barred by the statute of limitation and the statute of
asserted in [*31] support thereof.” Golden v. Floyd
                                                              repose. L'Oreal argued additionally that Burroughs's
Healthcare Mgmt., 368 Ga. App. 409, 410 (890 SE2d
                                                              negligent misrepresentation and fraud claims were
288) (2023) (citation and punctuation omitted).
                                                              preempted by the Federal Food, Drug, and Cosmetic
“We construe the pleadings in the light most favorable to
                                                              Act (“FDCA”) and its labeling requirements.
the plaintiff with any doubts resolved in the plaintiff's
favor.” Id. (citation and punctuation omitted).               On the day Defendants‘ motions to dismiss were to be
                                                              argued, Burroughs filed an amended complaint. The
So viewed, the record in this case shows that
                                                              amended complaint added specificity about which
Burroughs began using chemical hair relaxers at the
                                                              products from each Defendant Burroughs had used,
age of six, and she used them continuously until she
                                                              and the chemicals found in these products she alleges
was 25 years old in 2014. During that time period, she
                                                              caused injury. She also significantly amended her
purchased and used products from L'Oreal, SON, and
                                                              claims, listing a total of 34 counts. Broadly, she asserted
Namaste Laboratories, LLC (“Namaste”). As described
                                                              five categories of claims against each Defendant:
in her amended complaint, she began using SON
                                                              (1) strict liability — failure to warn (Counts 1-7); (2) strict
products in 1995, and used them through 2014. She
used L‘Oreal and Namaste products from 2003 through
2014. She alleged that her last purchase of a chemical
hair relaxer product was in 2014. In 2018, Burroughs          1 Burroughs's  original complaint included other claims that
was diagnosed with uterine fibroids, which have caused        she later omitted in her amended complaint, so we do not
her significant health problems in the years since. In        discuss them here.
                                                                                                          Case ID: 241002269
                                                                                                        Control No.: 24112022
           Case 5:24-cv-06225-JLS               Document 1-3           Filed 11/20/24        Page 221 of 415
                                                                                                             Page 6 of 12
                                   372 Ga. App. 30, *32; 2024 Ga. App. LEXIS 250, **4

liability — design/manufacturing defect (Counts 8-132);           HN2[ ] In Georgia,
(3) negligence — negligent failure to warn (Counts 14-               [t]he manufacturer of any personal property sold as
20); (4) general negligence (Counts 21-27); and                      new property directly or through a dealer or any
(5) fraud    —     fraudulent [**5]   misrepresentation              other person shall be liable in tort, irrespective of
(Counts 28-34).                                                      privity, to any natural person who may use,
                                                                     consume, or reasonably be affected by the property
Finding that the amended complaint satisfied its                     and who suffers injury to his person or property
concerns, Namaste orally withdrew its motion to                      because the property when sold by the
dismiss. Appellants, however, wished to proceed on                   manufacturer      was   not    merchantable      and
their legal arguments concerning the statute of repose,              reasonably suited to the use intended, and its
statute of limitation, preemption, and fraud. After the              condition when sold is the proximate cause of the
hearing, the trial court denied Appellants' motions to               injury sustained.
dismiss. Relevant to the issues on appeal, the trial court
ruled that Burroughs's claims were timely filed under             OCGA § 51-1-11 (b) (1). For product liability claims,
the statute of repose. As for the product liability claims,       Georgia's statute of repose states that no action “shall
the court found that “[e]ach application of hair relaxer          be commenced … with respect to an injury after ten
constituted exposure to a new product, with her last use          years from the date of the first sale for use or
occurring in 2014.” The trial court noted that it was             consumption [**7] of the personal property causing or
“the last sale of the property as new” that triggered the         otherwise bringing about the injury.” OCGA § 51-1-11
statute of repose, or potentially even the date of                (b) (2). Subsection (c) extends the statute of repose to
Burroughs's injury. And as for the negligence claims,             negligence claims against manufacturers, subject to
the court found that an exception in the statute of               certain exceptions (discussed in more detail below).
repose allowed for failure-to-warn claims outside the             “The purpose of OCGA § 51-1-11 (b) (2) was to address
ten-year repose period.                                           problems generated by the open-ended liability of
                                                                  manufacturers so as to eliminate stale claims and
The trial court also ruled that Burroughs's fraud claims          stabilize products liability underwriting.” Johnson v. Ford
were not preempted by federal law and were sufficiently           Motor Co., 281 Ga. App. 166, 168 (637 SE2d 202)
pled to survive a motion to dismiss. Further, the court           (2006) (citation and punctuation omitted), overruled on
found that Burroughs's fraud claims “additionally [**6]           other grounds by Campbell v. Altec Indus., 288 Ga. 535
toll the … statute of repose … .” This appeal followed.3          (707 SE2d 48) (2011).
There are two primary issues raised by Appellants. First,
                                                                  HN3[ ] As the Supreme Court of Georgia has
both L'Oreal and SON argue that the trial court erred in
                                                                  explained, under Georgia's statute of repose, “strict
concluding that [*33] the statute of repose did not bar
                                                                  liability actions filed more than ten years after the date
Burroughs's products liability and general negligence
                                                                  of the first sale for use or consumption of the product
claims. Second, L'Oreal (alone) contends that
                                                                  are completely barred.” Chrysler Corp. v. Batten, 264
Burroughs's fraud claims are preempted by federal
                                                                  Ga. 723, 725 (2) (450 SE2d 208) (1994) (citation and
statutes. (However, in its reply brief, SON also makes
                                                                  punctuation omitted). Indeed the statute of repose may
this argument.)
                                                                  extinguish a cause of action before it even accrues or
1. Statute of Repose                                              destroy a previously existing right of action so that it no
                                                                  longer exists. See PTI Royston v. Eubanks, 360 Ga.
(a) Strict Liability and “First Sale”                             App. 263, 267-268 (1) (861 SE2d 115) (2021). If
                                                                  applicable, “[a] statute of repose stands as an unyielding
                                                                  barrier to a plaintiff's right of action.” Id.

2 The counts are misnumbered at this point in the amended
                                                                  Appellants assert that the trial court's conclusions
                                                                  regarding the statute of repose are erroneous and
complaint, but this misnumbering appears to be a mere
                                                                  include either misunderstandings or misstatements of
scrivener's error and does not affect the substance of any of
the claims.                                                       law.   They     argue    that,   because   Burroughs
                                                                  does [**8] [*34] not contest that she first began
3 Appellants obtained certificates of immediate review from the
                                                                  purchasing and using their products in 1995 (SON) and
trial court, and we granted Appellants' applications for
                                                                  2003 (L'Oreal), the statute of repose began running in
interlocutory appeal. See Case Nos. A23I0259, A23I0264
                                                                  those years, and lapsed in 2005 and 2013, respectively,
(July 10, 2023).
                                                                                                            Case ID: 241002269
                                                                                                          Control No.: 24112022
           Case 5:24-cv-06225-JLS                 Document 1-3           Filed 11/20/24         Page 222 of 415
                                                                                                                Page 7 of 12
                                    372 Ga. App. 30, *34; 2024 Ga. App. LEXIS 250, **8

many years before she brought this action in 2022.                  much less have been discovered.”) (citation and
Appellants contend that the statute does not support a              punctuation omitted); Golden, 368 Ga. App. at 418 (3)
reading that each container of a product constitutes a              (a)    HN7[ ]      (“A statute     of    ultimate   repose
new “first sale,” but that it is a plaintiff's first purchase of    delineates [**10] a time period in which a right may
a product she might purchase many times later that                  accrue. If the injury occurs outside that period, it is not
triggers the commencement of the statute of repose.                 actionable. A statute of repose stands as an unyielding
                                                                    barrier to a plaintiff's right of action.”) (citation and
First, we agree with Appellants that the trial court's              punctuation omitted). Accordingly, we agree with
reasoning is flawed.4 The trial court's first conclusion            Appellants that the trial court's order does not support its
that “[e]ach application of hair relaxer constituted                denial of Appellants' motions to dismiss.
exposure to a new product” is not grounded in the
statute. HN4[ ] The statute does not reference                      Outside of the reasons stated in the trial court's order,
application/use of the product, but rather “first sale for          however, we still could affirm the trial court's denial of
use or consumption.” OCGA § 51-1-11 (b) (2)                         Appellants' motions to dismiss if it is right for any reason
(emphasis supplied). See also Davis v. Brunswick                    — so long as the legal basis for affirmance is “apparent
Corp., 854 FSupp. 1574, 1584 (II) (B) (N.D. Ga. 1993),              from the record [and] was fairly presented in the court
overruled in part on other grounds by Lewis v.                      below.” Bailey v. Hall, 267 Ga. App. 222, 223 n. 1 (599
Brunswick Corp., 107 F3d 1494 (11th Cir. 1997)                      SE2d 226) (2004). That said, we do not find a
(applying Georgia's statute of repose to claims of injury           compelling reason to do so in this case.
from allegedly defective boat design; when boat was
picked up or registered by consumer was irrelevant                  Both Appellants rely on PTI Royston, 360 Ga. App. at
because the date of sale, although not definitively                 263, and we are persuaded by the reading of the statute
established, was early enough that the statute of                   set forth in that case. PTI Royston involved claims
repose [**9] had run before plaintiff filed lawsuit).               arising from the use of baby powder containing talc. Id.
                                                                    at 263. The plaintiff had used talc-containing baby
GA(1)[ ] (1) The trial court's reference to the “last sale          powder manufactured by the defendant since 2005, and
of the property as new” as being the “sale which triggers           was diagnosed with ovarian cancer in 2016. Id. at 263-
the commencement of the statute of repose” and its                  264. In 2019, she brought strict liability claims against
reliance on Campbell, 288 Ga. at 535, is misplaced.                 the defendant for failure to warn, manufacturing defect,
HN5[ ] In Campbell, we held that it is the “last sale” of           and design defect. Id. at 264. The defendant moved to
a finished product (containing multiple component parts)            dismiss [**11] the action, asserting that the ten-year
to the consumer that is the relevant sale — versus any              statute of repose set forth in OCGA § 51-1-11 (b) (2)
inter-manufacturer sales of the component parts to other            barred her claims. Id. The trial court denied the motion
manufacturers who would assemble the product. Id. at                to dismiss, finding that the statute of limitation set out in
538. Thus, Campbell does not support the trial court's              the Asbestos Claims and Silica Claims Act
conclusion that it is the last of multiple sales of the             (the “Asbestos Act”) barred the application of the
same, finished product to one consumer that triggers                general tort statute of repose. Id.
the statute of repose.
                                                                    We reversed the trial court's judgment, ultimately
Finally, the trial court's conclusion that the statute of           holding that nothing in the Asbestos Act overrode the
repose could “also potentially run from the date of                 statute of repose. PTI Royston, 360 Ga. App. at 266-
[Burroughs's] injury in 2018” is a misstatement of law.             271 (1). Accordingly, the statute of repose applied to
HN6[ ] Unlike a statute of limitation, a statute of repose          claims arising from asbestos exposure. Id. However, we
is not triggered by the injury. See Wright v. Robinson,             remanded the case to allow the trial court to determine
262 Ga. 844, 845 (1) (426 SE2d 870) (1993) (“A statute              in the first instance whether the defendant could be
of repose … limits the time within which an action may              equitably estopped from raising the statute of repose as
be brought and is not related to the accrual of any cause           a defense based on fraud. Id. at 271-272 (2).
of action. The injury need not have [*35] occurred,
                                                                    L'Oreal argues that our holding in PTI Royston assumes
                                                                    that, if not for the estoppel issue remaining open for the
4 We also note that Burroughs appears to make no effort to
                                                                    trial court, the ten-year statute of repose otherwise
defend the reasoning set forth in the trial court's order. She
                                                                    would have barred the plaintiff's claims — because the
instead notes that the court's order may be affirmed if right for
                                                                    plaintiff admitted that the “first sale” of the defendant's
any reason.
                                                                                                               Case ID: 241002269
                                                                                                             Control No.: 24112022
             Case 5:24-cv-06225-JLS                 Document 1-3           Filed 11/20/24         Page 223 of 415
                                                                                                                  Page 8 of 12
                                    372 Ga. App. 30, *35; 2024 Ga. App. LEXIS 250, **11

talc-containing product occurred in 2005 and she did                  Further, now considering the question explicitly in this
not [*36] file her lawsuit until 2019.5 Although we did               case, such assumption from PTI Royston is logical
not explicitly find that the plaintiff's claims were barred           given the statutory context and other precedent
by the statute of repose in [**12] PTI Royston, we                    surrounding our statute of repose. Burroughs
agree that our holdings implicitly rely upon that                     construes OCGA § 51-1-11 (b) (2) as resetting the
conclusion (given the facts of that case). If the plaintiff's         statute of repose every time the consumer purchases a
subsequent purchase of the defendant's products in                    new container of product. She points to the end of the
later years (up through 2016) reset the statute of                    provision, ten years from the date of the first sale of the
repose, there would have been no need to consider its                 “property causing or otherwise bringing [*37] about the
application with the Asbestos Act because she would                   injury.” OCGA § 51-1-11 (b) (2). She argues that each
have been well within ten years from her last purchase                sale of the product “as new” begins a new repose
of a product. Further, there would have been no need to               period, and it ultimately becomes a question of
remand the case to the trial court to consider equitable              causation — the plaintiff has to prove that it was a bottle
estoppel: if the plaintiff's repose period had been reset             purchased within the repose period that caused the
by her last purchase in 2016, she would not have to                   injury. According to Burroughs, even if that causation
prove fraud to the trial court because the 2019 lawsuit               question is difficult to prove, it would be sufficient to
would have been timely.                                               survive a motion to dismiss.

We also addressed this argument in footnote 3, where                  We disagree, however, and find that the statute
we noted that the parties disagreed about when the                    supports Appellants' interpretation that it was
Asbestos Act's statute of limitation began to run. PTI                Burroughs's first purchase of the allegedly injurious
Royston, 360 Ga. App. at 264 n. 3. However, we                        products in 1995 and 2003, respectively, that triggered
ultimately chose not to answer the question because,                  the repose [**14] period in this case. First, the statute
“if the statute of repose applies” (which we found that it            indeed uses the words “first sale” to indicate when the
did), the plaintiff's claims would be barred by the statute           repose period begins to run, and Defendants' first sale
of repose under any of her statute-of-limitation dates,               of the allegedly injury-causing products to Burroughs
because she first purchased the defendant's product in                was in 1995 (SON) and 2003 (L'Oreal and Namaste).
2005, and she did not file her complaint until 2019. Id.              See Deal v. Coleman, 294 Ga. 170, 172 (1) (a) (751
This language [**13] lends support to finding that our                SE2d 337) (2013) HN9[ ] (“When we consider the
Court in PTI Royston did not believe that plaintiff's                 meaning of a statute, we must presume that the General
subsequent purchases of the talc-containing product                   Assembly meant what it said and said what it meant.”)
reset the statute of repose period.6                                  (citation and punctuation omitted). And had the General
                                                                      Assembly intended the trigger to be “any sale (of the
                                                                      product as new)” versus the “first sale,” it could have so
                                                                      stated. Further, if we were to construe the statute in the
5 Although  not necessarily at issue in PTI Royston, we note          manner advanced by Burroughs, it would render “first”
that there were no allegations in that case that the formulation      mere surplusage. And, it is “no more the court‘s function
of the defendant's products had changed during the time
                                                                      to revise by subtraction than by addition.” See Antonin
period in which the plaintiff purchased the products — or that
                                                                      Scalia & Bryan A. Garner, Reading Law: The
the product had, for instance, become contaminated. Similarly,
there are no such allegations in the instant case.
                                                                      Interpretation of Legal Texts 174 (1st ed. 2012)
                                                                      (“If possible, every word and every provision is to be
6 We    acknowledge that an Illinois federal district court,          given effect. … None should needlessly be given an
applying Georgia law, found that the statute of repose began          interpretation that causes it to duplicate another
to run at the plaintiff's last consumption of a drug. Paulsen v.      provision or have no consequence.”); Kennedy v.
Abbott Laboratories, 563 FSupp.3d 787, 791 (III) (A) (1) (N.D.        Carlton, 294 Ga. 576, 578 (2) (757 SE2d 46) (2014)
Ill. 2021). HN8[ ] However, at the outset, federal district court     (statutes are to be construed to “avoid[ ] a statutory
opinions are not binding on this Court. Walker County v. Tri-         construction that will render some of the statutory
State Crematory, 292 Ga. App. 411, 415 (1) n. 4 (664 SE2d             language mere [**15]        surplusage”). Finally, the
788) (2008). Further, in Paulsen, the plaintiff's product liability   “personal property causing or otherwise bringing about
action was not brought until more than ten years after her last
consumption of the drug, so there was no need for the court to
consider the question now before us: Had her action been              the drug, would her claim be barred? Thus, the issue was not
brought more than ten years from her first purchase of the            squarely before the court in Paulsen, and we do not find it
drug, but less than ten years from her most recent purchase of        persuasive here.
                                                                                                                Case ID: 241002269
                                                                                                              Control No.: 24112022
          Case 5:24-cv-06225-JLS              Document 1-3           Filed 11/20/24        Page 224 of 415
                                                                                                           Page 9 of 12
                                372 Ga. App. 30, *37; 2024 Ga. App. LEXIS 250, **15

the injury” in this case are the hair relaxer products sold    might result from the statute of repose in a case such as
by Defendants. Burroughs made no allegations that the          Burroughs's, noting that this exception [**17]
products changed in formulation, composition, or                   reflects the legislature's recognition of the possibility
otherwise during the time in which she purchased and               that this duty [to warn] may not emerge until long
used various containers of the products. She also made             after the statute of repose has extinguished any
no allegations that the containers of the products                 cause of action arising out of the product's sale;
purchased within ten years of the filing of her complaint          that the duty to warn arises once the danger
are the ones that caused her injury. Our analysis might            becomes known reflects the existing case law with
be quite different had she made such allegations, but              its actual or constructive knowledge standard.
she did not. And, under the statute and our prior
discussion of the statute of repose, we are compelled to       Id. at 727 (4).
conclude that Burroughs's strict-liability claims were
due to be dismissed because she “cannot introduce              The parties disagree, however, concerning whether
evidence within the framework of [her] complaint to            Burroughs's general negligence claims (Counts 21-27)
show” that she can bypass the statute of repose. Villa         are excepted from the statute of repose. Appellants
Sonoma at Perimeter Summit Condo. Assn. v. [*38]               argue that the exception allowing claims “arising out of
Commercial Indus. Bldg. Owners Alliance, 349 Ga. App.          the     negligence      of     such     manufacturer     in
666, 666 (824 SE2d 738) (2019). Accordingly, we                manufacturing [*39] products which cause a disease or
reverse the trial court's judgment in part to the extent it    birth defect” applies only to claims of negligence in the
denied Appellants’ motions to dismiss Burroughs's              manufacturing process, as opposed to in the design,
strict liability — design/manufacturing defect claims.         testing, or other parts of the product creation process.

(b) Negligence                                                 The statutory text is not so limited, and our Supreme
                                                               Court has described this exception broadly. See, e.g.,
Burroughs argues that, even if her strict liability claims     Chrysler Corp., 264 Ga. at 725 (2) (“where the
are barred by the statute of repose, her GA(2)[ ] (2)          manufacturer's negligence resulted in a product causing
negligence [**16] claims survive under exceptions              disease or birth defect”); Love v. Whirlpool Corp., 264
listed in the statute. We agree.                               Ga. 701, 702 (1) (449 SE2d 602) (1994) (describing the
                                                               exception as allowing claims “in which it is alleged that
HN10[ ] The statute of repose also applies to actions          the manufacturer's negligence resulted in a product
claiming negligence of a manufacturer as the basis of          causing disease or birth defect”). Given that this
liability                                                      is [**18] the most natural and reasonable interpretation
      except an action seeking to recover from a               of the statute, that is the meaning we attribute to it.
      manufacturer for injuries or damages arising out of      Herrington v. State, 364 Ga. App. 186, 189 (2) (874
      the negligence of such manufacturer in                   SE2d 389) (2022). This interpretation of the statute is
      manufacturing products which cause a disease or          further supported by our holding in Fletcher v. Water
      birth defect, or arising out of conduct which            Applications Distribution Group, 333 Ga. App. 693 (773
      manifests a willful, reckless, or wanton disregard for   SE2d 859) (2015), reversed in part on other grounds by
      life or property. Nothing contained in this subsection   Certainteed Corp. v. Fletcher, 300 Ga. 327 (794 SE2d
      shall relieve a manufacturer from the duty to warn       641) (2016). In Fletcher, we noted that a negligent
      of a danger arising from use of a product once that      design defect claim (that we specifically held was not a
      danger becomes known to the manufacturer.                negligent manufacturing claim) was “not barred by the
                                                               statute of repose” because the plaintiff claimed “that she
OCGA § 51-1-11 (c).
                                                               suffers from a disease allegedly caused by the
The parties do not dispute that the final sentence in this     [defendant's] negligence.” 333 Ga. App. at 696 n. 1.
statute applies to Burroughs's negligent failure-to-warn       HN11[ ] Further, the Supreme Court has described
claims (Counts 14-20), and thus the trial court correctly      that the intent of this exception “was to afford relief to
denied the motions to dismiss as they pertained to the         plaintiffs whose claims are based on certain types of
counts (and the order is affirmed to this extent). Chrysler    injury the latent effects of which may not be manifest for
Corp., 264 Ga. at 727 (4) (“the legislature carefully          many years.” Love, 264 Ga. at 704 (1). Accordingly, we
excluded failure-to-warn causes of action from the             conclude that the statute contemplates a manufacturer's
statute of repose”). Indeed, in Chrysler Corp., we             liability outside of the products-liability statute of repose
addressed the potentially harsh consequences that
                                                                                                          Case ID: 241002269
                                                                                                        Control No.: 24112022
           Case 5:24-cv-06225-JLS                 Document 1-3           Filed 11/20/24         Page 225 of 415
                                                                                                              Page 10 of 12
                                   372 Ga. App. 30, *39; 2024 Ga. App. LEXIS 250, **18

for such negligence that results in a product causing               requirement specifically applicable to a particular
disease or birth defect. These are just the type of                 cosmetic or class of cosmetics under this Act.” L'Oreal
allegations made in this case. Thus, we affirm the trial            argues that Burroughs's fraud claim (and her general
court's order to the extent it denied Appellants' motions           negligence claim to the extent it alleges negligent
to dismiss Burroughs's negligence claims.                           misrepresentation) is alleging that L'Oreal was required
                                                                    to provide different information on its label than is
(c) Estoppel                                                        required by the federal law — thus attempting to impose
                                                                    additional requirements for its label in violation of
Finally, we address the trial court's finding that                  preemption principles.
Burroughs's claims [**19] of fraud “toll[ ]” the statute of
repose. HN12[ ] “Although it is well settled that a                 HN14[ ] As an initial matter, “state law is naturally
statute of repose cannot be tolled, there are narrow                preempted to the extent of any conflict with a federal
circumstances in which a defendant may be equitably                 statute” and courts “will find preemption where it is
estopped from raising the statute of repose as a                    impossible for a private party to comply with both state
defense.” PTI Royston, 360 Ga. App. at 271 (2) (citation            and federal law, and where under the circumstances of
and punctuation omitted). Particularly, if “evidence of             a particular case, the challenged state law stands as an
defendant's fraud or other conduct on which the plaintiff           obstacle to the accomplishment and execution of the full
reasonably relied in forbearing the bringing of a lawsuit           purposes [**21] and objectives of Congress.” Crosby v.
is found by the trier of fact to exist, then the defendant,         Nat. Foreign Trade Council, 530 U. S. 363, 372 (III)
under the doctrine of equitable estoppel, is estopped               (120 SCt 2288, 147 LE2d 352) (2000) (citations and
from raising the defense of the statute of ultimate                 punctuation omitted). Further, state law claims that are
repose.” Id. at 272 (2) (citation and punctuation                   preempted by federal law are properly dismissed. See
omitted). [*40] “In order for this to apply, however, a             Eason v. Marine Terminals Corp., 309 Ga. App. 669,
plaintiff must show fraud by offering evidence of a                 671 (1) (710 SE2d 867) (2011).
known failure to reveal negligence.” Smith v. Kayfan,
364 Ga. App. 651, 654-655 (874 SE2d 465) (2022)                     Here, we agree with Burroughs that her fraud claims
(citation and punctuation omitted).                                 are not limited simply to allegations of incomplete
                                                                    labeling or inaccurate statements of ingredients that
As described below in Division 2, Burroughs raised                  would conflict with the FDCA. Rather, she alleges, at
claims of fraudulent misrepresentation alleging that                least      in    part,    that    Defendants      have
Defendants misrepresented that their products were                  misrepresented [*41] the use of their products as safe
safe and effective while knowing that they were not.                and effective through affirmative product claims. For
Given our discussion below, the trial court must resolve            example, Burroughs alleges that SON intentionally
this issue in the first instance on remand. See PTI                 advertises its products as “Botanicals” with “Natural”
Royston, 360 Ga. App. at 271-272 (2).                               ingredients that are “Ultra Nourishing” as a way to
                                                                    mislead consumers into believing its products are safe
2. Next, L'Oreal contends7 that Burroughs's fraud                   and effective. That these statements also appear on the
claims are preempted by federal law. [**20] For the                 product packaging does not automatically mean federal
reasons that follow and parsing the specifics of                    labeling requirements preempt her claims.
Burroughs's allegations, we agree in part and disagree
in part. HN13[ ] The FDCA contains an express                       HN15[ ] The Supreme Court of Georgia has
preemption provision, 21 USC § 379s (a), stating that               distinguished       misrepresentation     claims       from
the federal law preempts “any requirement for labeling              “inadequate warning” claims in assessing the
or packaging of a cosmetic that is different from or in             preemptive effect of FDA regulations. In Poloney v.
addition to, or that is otherwise not identical with, a             Tambrands, a case involving a tampon manufacturer's
                                                                    alleged failure to warn of the risks of toxic shock
                                                                    syndrome, the Court held that although the
7 SON   argues that Burroughs's fraud claims “were not              plaintiffs' [**22] medical device product-liability failure-
properly before the [trial] court, in light of” Burroughs's first   to-warn claims were preempted by the federal warning
amended complaint. In its reply brief, SON reiterates this          label requirements, it was “important to note” that the
statement, essentially adopts L'Oreal's argument as to              plaintiffs' misrepresentation claims were not preempted
preemption, and also argues that Burroughs's fraud claims
                                                                    (although they were not sufficient to withstand summary
were not pleaded with the particularity necessary to survive a
                                                                    judgment). 260 Ga. 850, 852 (1) (412 SE2d 526) (1991).
motion to dismiss.
                                                                                                              Case ID: 241002269
                                                                                                            Control No.: 24112022
           Case 5:24-cv-06225-JLS                Document 1-3            Filed 11/20/24          Page 226 of 415
                                                                                                                 Page 11 of 12
                                   372 Ga. App. 30, *41; 2024 Ga. App. LEXIS 250, **22

Thus, to the extent Burroughs's fraud claims are based             mirror the requirements of the FDCA.9
on affirmative misrepresentations made by Defendants,8
they are not preempted. See Smith v. Hi-Tech                       Even though we conclude that Burroughs's fraud
Pharmaceuticals, 364 Ga. App. 476, 483-484 (1) (875                claims are not entirely preempted by federal law,
SE2d 454) (2022) (plaintiff's misrepresentation claim              Burroughs's allegations against L'Oreal still fail to
based on packaging statement that the product was a                adequately state a claim of fraud. Although Burroughs
“synergistic blend of potent herbal derivatives” was not           alleges      generally    that    L'Oreal     “fraudulently
preempted by FDCA because “plaintiff was not asking                misrepresented the use of the Products as safe and
defendant to modify or enhance any aspect of its                   effective,” she includes no affirmative statements made
cosmetics labels that are required by federal law but              by L'Oreal that are alleged to be false. At most, she
rather claiming deception as a result of advertising               alleged that some hair relaxer companies used
statements” (quoting Astiana v. Hain Celestial Group,              photographs of girls on their packaging that did not
783 F3d 753, 757-758 (I) (9th Cir. 2015))).                        actually use the products, but she does not even allege
                                                                   that L'Oreal engaged in this practice. Accordingly, the
And, also under Smith, to the extent Burroughs seeks               trial court [**24] erred in denying L'Oreal's “Motion to
to recover damages for Defendants' false or misleading             Dismiss or, in the Alternative, Motion for a More Definite
labeling, such misrepresentation is also prohibited under          Statement” as to these claims. See OCGA § 9-11-9 (b)
the FDCA. Thus, to the extent Burroughs is not                     (“In all averments of fraud or mistake, the circumstance
seeking to impose any different or additional [*42]                constituting fraud or mistake shall be stated with
requirement than that imposed by federal law, she                  particularity.”); Osprey Cove Real Estate v. Towerview
avoids preemption. 364 Ga. App. at 484 (1) (because                Constr., 343 Ga. App. 436, 441 (3) (808 SE2d 425)
plaintiff's “claims under the [state law] mirror the FDCA          (2017) (where complaint lacked “any allegation
requirement that [**23] labels be truthful and not                 concerning a fraudulent statement by” defendant,
misleading, they escape express preemption”); 21                   complaint did not properly plead fraud claim). HN16[ ]
USC §§ 331 (a) (prohibiting the “introduction into                 However, “the proper remedy to address such
interstate commerce of any … cosmetic that is …                    deficiencies in pleading is a motion for a more definite
misbranded”), 362 (a) (cosmetic is misbranded if                   statement, not a dismissal of the complaint or judgment
“its labeling is false or misleading in any particular”).          on the pleadings, at least so long as the plaintiff is able
Again, the federal preemption statute does not allow               and willing to amend [her] pleadings to conform to the
Burroughs to base her claims on labeling “omissions”               statutory requirements.” Id. (citation and punctuation
that Appellants are not required to include under the              omitted). We therefore reverse the trial court's judgment
FDCA, footnote 8, supra, but it does allow her state-law           to the extent that it denied L'Oreal's alternative motion
claims — as asserted — to survive insofar as they                  for a more definite statement that would require
                                                                   Burroughs to provide additional information to satisfy
                                                                   OCGA § 9-11-9 (b)'s requirement for particularity in
                                                                   fraud [*43] pleadings. On remand, the trial court must
8 We  do note the specificity of our holding in this case. We
                                                                   order a more definite statement from Burroughs to
agree with L‘Oreal that to the extent Burroughs seeks to use
                                                                   satisfy the pleading requirement.
her fraud claims to allege that Defendants “intentionally failed
to disclose the presence of” (as explained in her appellate
                                                                   Burroughs's fraud claims against SON and Namaste
brief) or “[k]nowingly made omissions” of (as alleged in the
                                                                   do      include       allegations      of      affirmative
amended complaint) certain chemicals she alleges are
                                                                   misrepresentations [**25] on the packaging of those
harmful, those allegations are preempted by federal law, as
she would be seeking to impose a requirement on a cosmetic         defendants' products. Thus, the trial court properly
manufacturer above and beyond what is required by federal          denied SON's motion to dismiss in this regard and that
law. And to the extent the trial court order found that “nothing   portion of the trial court's order is affirmed in part as
in the FDCA or other federal rules prohibits Defendants from       described above.
disclosing the chemicals comprising the fragrance in their hair
relaxer products to Plaintiff[,]” such finding is disapproved by
this Court. Defendants are subject to the labeling requirement
of the FDCA, and Burroughs's state-law based fraud claim           9 The parties do not assert that the specific, affirmative claims

cannot seek to penalize Defendants for omitting information        at issue here bear the imprimatur of FDA or other federal
not required to be disclosed by federal law. Such a claim          regulatory agency approval. Accordingly, we do not consider
would run afoul of the preemption principles discussed herein.     whether any such assent might alter our conclusion
See 21 USC § 379s (a).                                             concerning labeling or advertising claims.
                                                                                                                 Case ID: 241002269
                                                                                                               Control No.: 24112022
          Case 5:24-cv-06225-JLS           Document 1-3      Filed 11/20/24         Page 227 of 415
                                                                                              Page 12 of 12
                              372 Ga. App. 30, *43; 2024 Ga. App. LEXIS 250, **25

Accordingly, for all of the reasons stated herein, we
affirm in part and reverse in part the trial court's
judgment, and we remand this case to the trial court for
further proceedings as described above.

Judgment affirmed in part and reversed in part, and
case remanded with direction. Barnes, P. J., and Pipkin,
J., concur.


  End of Document




                                                                                               Case ID: 241002269
                                                                                             Control No.: 24112022
     Case 5:24-cv-06225-JLS    Document 1-3       Filed 11/20/24   Page 228 of 415




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KAREN UQDAH                                   :       COURT OF COMMON PLEAS
                                              :
Plaintiff                                     :       PHILADELPHIA COUNTY
                                              :
        Vs.                                   :       OCTOBER TERM, 2024
                                              :
L’OREAL USA, INC, et al.                      :
                                              :
Defendants.                                   :       NO. 2269
                                              :

           PRELIMINARY OBJECTIONS OF DEFENDANT AFAM CONCEPT, INC.
        (INCORRECTLY IDENTIFIED AS AFAM CONCEPT, INC. d/b/a JF LABS, INC.)
                   TO PLAINTIFF KAREN UQDAH’S COMPLAINT




                              EXHIBIT “C”




                                                                               Case ID: 241002269
                                                                             Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 229 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 230 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 231 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 232 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 233 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 234 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 235 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 236 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 237 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 238 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 239 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 240 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 241 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112022
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 242 of 415




         Exhibit A-7
    Case 5:24-cv-06225-JLS          Document 1-3     Filed 11/20/24     Page 243 of 415




 LITCHFIELD CAVO LLP                                                   Filed and Attested by the
 By: Anthony J. Calati, Esquire                                       Office of Judicial Records
      Suchi Vuu, Esquire                                                  12 NOV 2024 09:08 am
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                                               :
                                               :
 KAREN UQDAH and EMMANUEL                      :    COURT OF COMMON PLEAS
 BULLOCK                                       :    PHIALDELPHIA COUNTY
                                               :
                           Plaintiffs,              CIVIL DIVISION
                                               :
                    v.                         :
                                               :    No. 241002269
 L’OREAL USA, INC., et. al.,                   :
                                               :
                          Defendants.
                                               :


                                 ENTRY OF APPEARANCE

TO THE OFFICE OF JUDICIAL RECORDS:

      Kindly enter our appearance for Defendant, Beauty Bell Enterprise d/b/a

House of Cheatham, Inc. and House of Cheatham LLC in the above-referenced matter.


                                                   LITCHFIELD CAVO LLP


                                                   By: /s/ Anthony J. Calati
                                                          Anthony J. Calati, Esquire




                                                   By:
                                                          Suchi Vuu, Esquire
Date: November 12, 2024




                                                                                       Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24    Page 244 of 415




 LITCHFIELD CAVO LLP                                    Attorney for Defendant,
 By: Anthony J. Calati, Esquire                         Defendant, Beauty Bell Enterprise d/b/a
      Suchi Vuu, Esquire                                House of Cheatham, Inc. and House of Cheatham,
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                                                    :
                                                    :
 KAREN UQDAH and EMMANUEL                           :    COURT OF COMMON PLEAS
 BULLOCK                                            :    PHIALDELPHIA COUNTY
                                                    :
                             Plaintiffs,                 CIVIL DIVISION
                                                    :
                       v.                           :
                                                    :    No. 241002269
 L’OREAL USA, INC., et. al.,                        :
                                                    :
                            Defendants.
                                                    :


                                 CERTIFICATE OF SERVICE

       I, Suchi Vuu, Esquire, certify that on this 12th day of November, 2024, a true and correct

copy of my Entry of Appearance of Defendant, Defendant, Beauty Bell Enterprise d/b/a House of

Cheatham, Inc. and House of Cheatham LLC was electronically filed and served via the Court’s

electronic notification system on all counsel of record.



                                                        LITCHFIELD CAVO LLP

                                              By:
                                                        Suchi Vuu, Esquire

Dated: November 12, 2024




                                                                                        Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 245 of 415




         Exhibit A-8
    Case 5:24-cv-06225-JLS           Document 1-3    Filed 11/20/24   Page 246 of 415




                        IN THE COURT OF COMMON PLEAS Filed and Attested by the
                    OF PHILADELPHIA COUNTY, PENNSYLVANIA
                                                    Office of Judicial Records
                                                                       12 NOV 2024 09:28 am
                                                 :                          S. GILLIAM
                                                 :
 KAREN UQDAH and EMMANUEL                        :
 BULLOCK, h/w,                                   :   CIVIL DIVISION
                                                 :
                            Plaintiffs,          :   No. 241002269
                      v.                         :
                                                 :
 L’OREAL USA, INC., et. al.,                     :
                                                 :
                           Defendants.
                                                 :


                                            ORDER

       AND NOW, this __________ day of _____________________, 2024, upon consideration

of the Preliminary Objections of Defendant, Beauty Bell Enterprise, d/b/a House of Cheatham,

Inc. and House of Cheatham, LLC, to the Complaint of Plaintiffs, Karen Uqdah and Emmanuel

Bullock, and any response thereto, it is hereby ORDERED and DECREED that said Preliminary

Objections are SUSTAINED; and it is ORDERED that all counts against Defendant, Beauty Bell

Enterprise, d/b/a House of Cheatham, Inc. and House of Cheatham, LLC, are hereby DISMISSED,

with prejudice, in the above-captioned matter.


                                                         BY THE COURT:




                                                                                          J.




                                                                                  Case ID: 241002269
                                                                                Control No.: 24112026
    Case 5:24-cv-06225-JLS           Document 1-3          Filed 11/20/24            Page 247 of 415



                                                                            NOTICE TO PLEAD:

                                                        TO PLAINTIFFS: You are hereby notified to file a written
                                                        response to the enclosed Preliminary Objections within twenty
                                                        (20) days from service hereof or a judgment may be entered
                                                        against you.


                                                        By: ____________
                                                        Anthony J. Calati, Esquire
                                                        Suchi Vuu, Esquire
                                                        Attorneys for Defendant,
                                                        Beauty Bell Enterprise, d/b/a House of Cheatham,
                                                        Inc. and House of Cheatham, LLC
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                                                  :
                                                  :
 KAREN UQDAH and EMMANUEL                         :
 BULLOCK,                                         :       COURT OF COMMON PLEAS
                                                  :
                            Plaintiffs,                   PHILADELPHIA COUNTY
                                                  :
                                                  :
                                                          CIVIL DIVISION
                      v.
                                                  :       No. 241002269
 L’OREAL USA, INC., et. al.,                      :
                                                  :
                           Defendants.
                                                  :


PRELIMINARY OBJECTIONS OF DEFENDANT, BEAUTY BELL ENTERPRISE, d/b/a
   HOUSE OF CHEATHAM, INC. AND HOUSE OF CHEATHAM, LLC TO THE
  COMPLAINT OF PLAINTIFFS, KAREN UQDAH AND EMMANUEL BULLOCK

       NOW COMES the Defendant, Beauty Bell Enterprise, d/b/a House of Cheatham, Inc. and

House of Cheatham, LLC, and (hereinafter referred to as the “Beauty Bell”), only by and through

its counsel, Litchfield Cavo LLP, and hereby files its Preliminary Objections to the Complaint of

Plaintiffs, Karen Uqdah and Emmanuel Bullock, pursuant to the Pennsylvania Rules of Civil

Procedure, and, in support thereof, avers as follows:



                                                                                                      Case ID: 241002269
                                                                                                    Control No.: 24112026
     Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24        Page 248 of 415




    I.        FACTUAL BACKGROUND

         1.     Plaintiffs, Karen Uqdah and Emmanuel Bullock, commenced this product liability

action by the filing a complaint on October 17, 2024, against 11 defendants, consisting of various

manufacturers and a retailer. Attached as Exhibit “A” is a true and correct copy of the Complaint,

without adoption or admission.

         2.     In Plaintiffs’ five-count Complaint, Plaintiff Karen Uqdah asserts claims of (1)

Strict Liability – Design Defect in Count I; (2) Strict Liability – Failure to Warn in Count II; (3)

Negligence in Count III; and (4) Breach of Implied Warranties in Count IV, against Beauty Bell,

among other Defendants. See Ex. A.

         3.     Plaintiff Emmanuel Bullock asserts a Loss of Consortium claim against all

Defendants in Count V. See Ex. A.

         4.     The Complaint alleges that Plaintiff Karen Uqdah used different variations of

Africa’s Best and Affirm hair relaxers from Beauty Bell and Defendant House of Cheatham, LLC.

Ex. A, ¶ 92, 93.1

         5.     Plaintiff Karen Uqdah generally alleges she “has reason to believe” that Beauty

Bell and Defendant House of Cheatham, LLC, developed, tested, assembled, marketed,

manufactured, and sold “other brands of chemical relaxer products known to [Beauty Bell and

Defendant House of Cheatham, LLC], but unknown to [Plaintiff], that contained endocrine

disrupting chemicals.” Ex. A, ¶ 94.

         6.     Plaintiff Karen Uqdah contends that she used 21 different variations of hair relaxers

linked to 13 brands over the course of around 50 years, applying hair relaxers approximately every


1
 Plaintiff Karen Uqdah alleges she used different hair relaxer variations of the Affirm brand, which she
claims was manufactured by Beauty Bell and Defendant House of Cheatham, LLC, in Paragraph No. 93,
but then asserts that Defendant Avlon Industries, Inc., manufactured Affirm brand hair relaxers in Paragraph
Nos. 33 and 99.

                                                     2
                                                                                                Case ID: 241002269
                                                                                              Control No.: 24112026
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24      Page 249 of 415




3 months at hair salons and at her home from 1968 through on or around 2018, associating these

products with both the Manufacturer Defendants and “various retailers, including but not limited

to Sally Beauty, BJ’s Wholesale Club, Walmart, Kmart, and Giant.”2 Ex. A, ¶¶ 28-33, 79-103.

          7.      According to the Complaint, Plaintiff Karen Uqdah, at the age of 58, was diagnosed

with “endometrial adenocarcinoma, FIGO grade 2” sometime in December of 2016, and attributes

her cancer to the use of hair relaxers. Ex. A, ¶¶ 34, 131, 132.

          8.      Out of the 21 different variations of hair relaxers referenced in the Complaint,

Plaintiff Karen Uqdah fails to identify the actual hair relaxer products manufactured or sold by

Defendants that caused her injuries, nor does she provide with specificity the time period or

frequency of use of the hair relaxers within the 50 years she allegedly used same.

          9.      Plaintiff Karen Uqdah also does not set forth which chemicals were present in any

of the hair relaxer products ascribed by Plaintiff to Defendants or how much of the chemicals were

in those products that she contends contributed to her alleged harm.

          10.     Instead, the Complaint is saturated with impertinent factual assertions concerning

the history of hair relaxer products and their marketing practices that are not relevant to Plaintiffs’

causes of action by any named defendant.

    II.         LEGAL ARGUMENT

          11.     As a general matter, the Pennsylvania Rules of Civil Procedure are to be liberally

construed and applied. See Pa. R. Civ. P. 126.

          12.     Preliminary objections may be filed by any party to any pleading on grounds,

including, but not limited to: lack of jurisdiction over the subject matter of the action or the person



2
 Plaintiff Karen Uqdah alleges she purchased multiple hair relaxer home kits from Sally Beauty, BJ’s
Wholesale Club, Walmart, Kmart, and Giant, but only named Defendant The Giant Company, LLC, as a
Retailer Defendant.

                                                  3
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24112026
    Case 5:24-cv-06225-JLS            Document 1-3       Filed 11/20/24      Page 250 of 415




of the defendant, improper venue or improper form or service of a writ of summons or a complaint;

failure of a pleading to conform to law or rule of court or inclusion of scandalous or impertinent

matter; insufficient specificity in a pleading; and legal insufficiency of a pleading (demurrer). Pa.

R. Civ. P. 1028(a)(1) – (4).

       13.        All preliminary objections shall be raised at one time, and they shall state

specifically the grounds relied upon and may be inconsistent. Pa. R. Civ. P. 1028(b). Two or more

preliminary objections may be raised in one pleading. Id.

       14.        In considering a preliminary objection, the court should view all clearly pleaded

material facts as true, as well as all reasonable inferences drawn therefrom. Perelman v. Perelman,

125 A.3d 1259, 1263 (Pa. Super. 2015) (citations omitted), appeal denied, 141 A.3d 435 (Pa.

2016). However, there is no requirement that the court accept the pleader’s legal conclusions or

averments of law when ruling on preliminary objections. See Santiago v. Pennsylvania Nat’l

Mut. Cas. Ins. Co., 613 A.2d 1235, 1238-39 (Pa. Super. 1992).

       15.        “‘Preliminary objections which seek the dismissal of a cause of action should be

sustained only in cases in which it is clear and free from doubt that the pleader will be unable to

prove facts legally sufficient to establish the right of relief. If any doubt exists as to whether a

demurrer should be sustained, it should be resolved in favor of overruling the preliminary

objections.’” Id. (citations omitted). Accordingly, “to sustain preliminary objections, it must

appear with certainty that the law will not permit recovery, and any doubt should be resolved by

a refusal to sustain them.” Envirotest Partners v. Commonwealth, Dept. of Transp., 664 A.2d 208,

211 (Pa. Commw. Ct. 1995) (citations omitted).

             A.       Plaintiffs, Karen Uqdah and Emmanuel Bullock, have not established
                      specific personal jurisdiction over Beauty Bell

       16.    Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary


                                                  4
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112026
    Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24      Page 251 of 415




Objections as though set forth herein.

       17.    Beauty Bell is not subject to specific personal jurisdiction in Pennsylvania.

       18.    Generally, a challenge to personal jurisdiction, under Pennsylvania law, must be

asserted by preliminary objection. Pa. R. Civ. P. 1028(a)(1); see also Zappala v. Brandolini

Property Management, Inc., 589 Pa. 516, 909 A.2d 1272, 1282 (Pa. 2006) (observing that

“defenses that must be raised by preliminary objection, including improper venue, personal

jurisdiction, and improper service ... must be resolved at the very beginning of the case, before the

court expends the time and energy to become deeply involved in the litigation”).

       19.    Pennsylvania courts recognize two statutory bases for exercising personal

jurisdiction over a non-resident corporation: General or specific.

       20.    Section 5301(a)(2) of the Judicial Code, 42 Pa. C.S. § 5301(a)(2), permits

Pennsylvania courts to exercise general personal jurisdiction over a non-resident corporation if (1)

the corporation qualifies as a foreign corporation under the laws of the Commonwealth; (2) the

corporation consents to jurisdiction; or (3) the corporation carries on a continuous and systematic

part of its business under the laws of the Commonwealth. A court of this Commonwealth may

exercise jurisdiction over a nonresident defendant under this provision if the defendant's activities

in Pennsylvania are “continuous and substantial” even if the cause of action is not related to the

defendant's activities in the state. Bork v. Mills, 458 Pa. 228, 231–232, 329 A.2d 247, 249 (Pa.

1974); Efford v. Jockey Club, 796 A.2d 370, 373 (Pa. Super. 2002).

       21.    This Court cannot exercise specific personal jurisdiction over Beauty Bell under

Pennsylvania’s long-arm statute.

       22.    Section 5322 of the Judicial Code, 42 Pa. C.S. § 5322, known as the “long-arm

statute,” describes circumstances under which courts may exercise specific jurisdiction over a non-



                                                 5
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112026
    Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24      Page 252 of 415




resident. Specific jurisdiction “is focused upon the particular acts of the defendant that gave rise

to the underlying cause of action.” Efford, 796 A.2d at 373. Section 5322 provides for the exercise

of jurisdiction when a non-resident's conduct falls within the terms of subsection (a). However,

additionally, and co-extensively, subsection (b) requires that “our courts’ exercise of jurisdiction

under the Long Arm Statute conforms with federal Constitutional requirements of due process.”

Derman v. Wilair Services, Inc., 404 Pa. Super. 136, 590 A.2d 317, petition for allowance of appeal

denied, 529 Pa. 621, 600 A.2d 537 (1991). Subsection (b) provides:

          In addition to the provisions of subsection (a) the jurisdiction of the tribunals
          of this Commonwealth shall extend to all persons who are not within the
          scope of section 5301 (relating to persons) to the fullest extent allowed under
          the Constitution of the United States and may be based on the most minimum
          contact with this Commonwealth allowed under the Constitution of the
          United States.

42 Pa. C.S. § 5322(b).

       23.    Even where a party does have the minimum contacts necessary for the exercise of

jurisdiction, which Beauty Bell does not, fair justice may not warrant accepting jurisdiction. Kubik

v. Letteri, 532 Pa. 10, 18, 614 A.2d 1110, 1114 (Pa. 1992).

       24.    Pennsylvania courts have repeatedly opined in addressing a defendant's challenge to

personal jurisdiction that the burden is first on the defendant, as the moving party, to object to

jurisdiction; once raised by a defendant, the burden of establishing personal jurisdiction under

Pennsylvania's long arm statute is placed on the plaintiff asserting jurisdiction. Biel v. Herman

Lowenstein, Inc., 411 Pa. 559, 192 A.2d 391, 393 (Pa. June 4, 1963) (“It is only when the

jurisdictional issue is properly raised that the burden of proof is upon the party asserting the

jurisdiction.”); see also Frisch v. Alexson Equipment Corp., 423 Pa. 247, 224 A.2d 183, 187 (Pa.

Nov. 15, 1966); Schiavone v. Aveta, 41 A.3d 861, 865 (Pa. Super. 2012), aff'd per curiam, 625 Pa.

349, 91 A.3d 1235 (Pa. 2014).


                                                 6
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24       Page 253 of 415




        25.    Plaintiffs have the burden of proving jurisdiction by “establishing with reasonable

particularity sufficient contacts between the defendant and the forum state.” Com. ex rel. Pappert

v. KT&G Corp., 863 A.2d 1254, 1257 (Pa. Commw. Ct. 2004).

        26.    Out of the 21 hair relaxers Plaintiff Karen Uqdah used during the 50 years she used

same, she mentions 3 hair relaxers allegedly manufactured by Beauty Bell and Defendant, House

of Cheatham, LLC, in addition to unidentified products of Beauty Bell and Defendant, House of

Cheatham, LLC, failing to identify which product caused her injuries/losses. Ex. A, ¶ 92-94.3

        27.    In Hammons, the Supreme Court of Pennsylvania noted that the Supreme Court of

the United States emphasized on the “underlying controversy” rather than the individual claims,

opining that specific personal jurisdiction requires “an affiliation between the forum and the

underlying controversy, principally, activity or an occurrence that takes place in the forum State

and is therefore subject to the State's regulation.” Hammons v. Ethicon, Inc., 662 Pa. 627, 663-64,

240 A.3d 537, 559 (Pa. 2020), quoting Goodyear Dunlop Tires Operation, S.A. v. Brown, 564 U.S.

919, 131 S.Ct. 2846 (internal alterations, citation, and quotation marks omitted).

        28.    Upon consideration of the foregoing, Plaintiffs have not and cannot establish

Pennsylvania’s jurisdiction as it applies to Beauty Bell, as Plaintiff Karen Uqdah has failed to

identify a single product attributable to Beauty Bell that gives rise to Plaintiffs’ claims against

Beauty Bell.

              B.     All Counts against Beauty Bell (Counts I through V) in the Complaint
                     should be dismissed, pursuant to Pennsylvania Rules of Civil Procedure
                     1028(a)(3) and 1019, for insufficient specificity in a pleading

        29.    Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary


3
 Plaintiff Karen Uqdah alleges she used different hair relaxer variations of the Affirm brand, which she
claims was manufactured by Beauty Bell and Defendant House of Cheatham, LLC, in Paragraph No. 93,
but then asserts that Defendant Avlon Industries, Inc., manufactured Affirm brand hair relaxers in
Paragraph Nos. 33 and 99.

                                                    7
                                                                                              Case ID: 241002269
                                                                                            Control No.: 24112026
    Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24       Page 254 of 415




Objections as though set forth herein.

       30.    Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(3), a preliminary

objection may be filed if a pleading is insufficiently specific. Pa. R. Civ. P. 1028(a)(3).

       31.    The Commonwealth of Pennsylvania is a fact-pleading jurisdiction.                   Under

Pennsylvania’s system of fact pleading, the plaintiff bears the burden of defining the issues, and

setting forth every act or performance essential to that end in the complaint.            Santiago v.

Pennsylvania Nat’l Mut. Cas. Ins. Co., 613 A.2d 1235, 1238 (Pa. Super. 1992).

       32.    Further, pursuant to Pennsylvania Rule of Civil Procedure 1019(a), the material facts

on which a cause of action or defense is based shall be stated in a concise and summary form. Pa.

R. Civ. P. 1019(a).

       33.    The Pennsylvania Superior Court has underscored that:

       ‘The purpose of (1019(a)) is to require the pleader to disclose the ‘material facts’
       sufficient to enable the adverse party to prepare his case.’ A complaint therefore
       must do more than ‘give the defendant fair notice of what the plaintiff's claim is
       and the grounds upon which it rests.’ It should formulate the issues by fully
       summarizing the material facts. ‘Material facts’ are ‘ultimate facts,’ i.e., those facts
       essential to support the claim. . . . Allegations will withstand challenge under
       1019(a) if (1) they contain averments of all of the facts the plaintiff will eventually
       have to prove in order to recover, and (2) they are ‘sufficiently specific so as to
       enable defendant to prepare his defense.’

Baker v. Rangos, 324 A.2d 498, 505-06 (Pa. Super 1974) (citations omitted).

       34.    Rule 1019(f) further provides that “[a]verments of time, place and items of special

damages shall be specifically stated.” Pa. R. Civ. P. 1019(f).

       35.    Under these rules, a “shotgun approach to pleading,” where the Complaint fails to

“allege the nature or type of liability relied upon against each defendant” is “simply unacceptable.”

Garland v. J.W.J., Nos. 05-S-285, 05-S-312, 2006 Pa. Dist. & Cnty. Dec. LEXIS 535, at *10-11

(C.P. June 9, 2006).



                                                  8
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24112026
     Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24       Page 255 of 415




        36.    Pleadings are to place the defendant on notice of the intended grounds for suit, and

should not require the defendant to guess at their substance. Schweikert v. St. Luke’s Hosp. of

Bethlehem, 886 A.2d 265, 270 (Pa. Super. 2005).

        37.    Here, Plaintiff Karen Uqdah has asserted in overly vague, unspecific and boilerplate

allegations set forth in Counts I, II, III, and IV, which violate Rule 1028(a)(3) and Rule 1019, and

must be resolved via preliminary objection. Otherwise, Plaintiff may be permitted to amend the

complaint after the expiration of the statute of limitations to assert new causes of action, in the guise

of amplifying these amorphously pled claims.

        38.    Pleadings are to place the defendant on notice of the intended grounds for suit, and

should not require the defendant to guess at their substance. Schweikert v. St. Luke’s Hosp. of

Bethlehem, 886 A.2d 265, 270 (Pa. Super. 2005).

        39.    At a minimum, a plaintiff “must set forth concisely the facts upon which his cause

of action is based.” Line Lexington Lumber & Millwork Co., Inc. v. Pennsylvania Publ’g Corp.,

301 A.2d 684, 688 (Pa. 1973).

        40.    “[I]n determining whether a particular paragraph in a complaint has been stated with

the necessary specificity, such paragraph must be read in context with all other allegations in that

complaint.” Yacoub v. Lehigh Valley Med. Assocs., P.C., 805 A.2d 579, 589 (Pa. Super. 2002),

appeal denied, 825 A.2d 639 (2003).

        41.    The specificity requirement is not satisfied when a plaintiff pleads “catch-all

allegations” against a defendant. See e.g., Liquori v. Wind Gap Chiropractic Ctr., No. C0048-cv-

2004-6159, 2005 WL 3947960, 75 Pa. D & C. 4th 106, 112 (Northampton Cnty CCP Mar. 22,

2005) (striking paragraphs 62(a) “failure to possess the degree of care and skill ordinarily exercised

in similar cases by other chiropractors”; (b) “failure to exercise the requisite degree of care and



                                                   9
                                                                                              Case ID: 241002269
                                                                                            Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 256 of 415




skill”; (c) “failure to possess the degree of knowledge and skill ordinarily possessed by other

chiropractors”; (d) “failure to perform the requisite standards of care under the circumstances”,

and (o) “failure to exercise reasonable care in the diagnosis and treatment of counterclaim plaintiff”

of the counter claim on the ground that these allegations constitute “little more than boilerplate

language, meant as a catch-all provision”); Latniak v. Von Koch, No. 04-cv-2253, 2004 WL

3401754, 70 Pa. D. & C. 4th 489, 495-97 (Lackawanna Cnty. CCP 2004) (sustaining the motion to

strike paragraph 15(i) of plaintiffs’ complaint – wherein plaintiffs asserted that the defendants

“otherwise failed to use due care under the circumstances” – on the ground that said subparagraph

constituted a “catch-all averment” that failed to provide the defendant with notice as to what claims

the plaintiffs were asserting against them, and “[t]he language of subparagraph 15(i) [gave] the

plaintiffs too much latitude to later amend the complaint and structure a claim against the

defendants without first providing notice of the allegedly wrongful acts”); Boyd v. Somerset Hosp.,

24 Pa. P. & C. 4th 564, 567-68 (Somerset Cnty CCP 1993) (granting defendant’s motion to strike

certain subparagraphs of plaintiffs’ complaint for insufficient specificity, because the challenged

subparagraphs contained nothing more than “catch-all” allegations of negligence and failed to

apprise the defendant of the conduct which the plaintiffs alleged to have been improper and/or

negligent).

       42.    Phrases such as “inter alia,” “including but not limited to,” “among other things”

and “or otherwise” are improperly vague and general, because this language allows a plaintiff too

much latitude to later add allegations not previously plead to the detriment of the defendant, and

thus such language must be stricken “whenever [ ] appear[ing] in the complaint of a plaintiff.”

Kapas v. Martin, No. 04-cv-5151, 2006 WL 4663417, 81 Pa. D & C. 4th 509, 520 (Lackawanna

Cnty. CCP June 6, 2006) (striking the language “including but not limited to” from the complaint



                                                 10
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 257 of 415




as insufficiently specific). See also Green v. Kline, No. 2381-2010, 2010 WL 5647126, 16 Pa. D.

& C. 144, 155- 56 (Monroe Cnty CCP Aug. 10, 2010) (striking allegations containing the phrases

“or otherwise”, “among other things”, and “including those” as insufficiently specific).

       43.    The Complaint violates the specificity requirements of Rules 1019(a) and 1019(f)

because it fails to identify the products attributable to Beauty Bell that actually caused Plaintiff

Karen Uqdah’s alleged damages, the chemicals contained in the Beauty Bell products that Plaintiff

claims caused her harm, and how many times she used the products during the 50 years she

allegedly used relaxer products.

       44.    Further, Plaintiff impermissibly uses vague, expansive language that does not put

Beauty Bell on notice regarding the parameters of her claims, making it impossible for Beauty Bell

to defend against allegations that do not sufficiently put it on notice of the facts and circumstances

underlying Plaintiff’s claims.

       45.    In evaluating whether Plaintiff’s allegations against Beauty Bell are sufficiently

pled, the proper inquiry is whether the Complaint includes sufficient specifics to “inform[] the

defendant with accuracy and completeness of the specific basis on which recovery is sought so

that he may know without question upon what grounds to make his defense.” Ammlung v. City of

Chester, 302 A.2d 491, 498 n.36 (Pa. Super. 1973) (quoting 1 Goodrich-Amram § 1017(b)).

       46.    The vague and nebulous averments asserted in the Complaint fail to meet the above

standard and prejudice Beauty Bell in preparing a defense to Plaintiff’s claims, because the specific

conduct that Plaintiff asserts was improper on the part of Beauty Bell is unknown to Beauty Bell.

       47.    Additionally, the broad and all-encompassing language of the allegations within the

Complaint provide Plaintiffs too much latitude to later seek to amend the complaint to add claims

against Beauty Bell without first providing notice to Beauty Bell of the allegedly wrongful acts.



                                                 11
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
     Case 5:24-cv-06225-JLS             Document 1-3     Filed 11/20/24      Page 258 of 415




         48.    Where the reasons for dismissal of allegations within a complaint are clearly

established, a court may strike a complaint or strike allegations within a complaint by way of

preliminary objection. See Witherspoon v. City of Philadelphia, 768 A.2d 1079, 1080, 1083 (Pa.

2001).

         49.    Accordingly, all counts against Beauty Bell, wherein Plaintiff alleges general, vague

and catch-all allegations against Beauty Bell that are overly vague and ambiguous on their face, in

addition to Plaintiff Emmanuel Bullock’s derivative Loss of Consortium claim in Count V, must

be stricken for lack of specificity.

         50.    Upon the consideration of the above, the Court should dismiss Plaintiffs’ Complaint

in its entirety, as it applies to Beauty Bell.

               C.    All Counts against Beauty Bell (Counts I through V) in the Complaint
                     should be dismissed, pursuant to Pennsylvania Rules of Civil Procedure
                     1028(a)(2) and 1019, for failure to conform to law

         51.    Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary

Objections as though set forth herein.

         52.    Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(2), a preliminary

objection may be filed if a pleading fails to conform to Pennsylvania rules governing pleadings.

Pa. R. Civ. P. 1028(a)(2).

         53.    Rule 1019(a) requires that the “material facts on which a cause of action or defense

is based shall be stated in concise and summary form.” Pa. R. Civ. P. 1019(a).

         54.    “The purpose of Rule 1019(a) is to require the pleader to disclose the ‘material

facts’ sufficient to enable the adverse party to prepare his case.” Landau v. W. Pa. Nat’l Bank,

445 Pa. 217, 225 (1971); see also Commonwealth v. Peoples Benefit Servs., 895 A.2d 683 (Pa.

Commw. Ct. 2006).



                                                  12
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112026
    Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24      Page 259 of 415




       55.    To comply with Rule 1019(a), a Complaint must be clear and legible to allow the

defendant to understand the material facts of the Complaint and be able to prepare a defense.

Bennett v. Beard, 919 A.2d 365, 367 (Pa. Commw. Ct. 2007).

       56.    Rule 1022 provides that “[e]very pleading shall be divided into paragraphs

numbered consecutively,” and “[e]ach paragraph shall contain as far as practicable only one

material allegation.” The test of compliance with Rule 1022 is the difficulty or impossibility in

preparing an Answer to the Complaint. General State Authority v. Sutter Corp., 24 Pa. Commw.

391, 394 (Pa. Commw. Ct. 1976).

       57.    Under these rules, a “shotgun approach to pleading,” where the Complaint fails to

“allege the nature or type of liability relied upon against each defendant” is “simply unacceptable.”

Garland v. J.W.J., Nos. 05-S-285, 05-S-312, 2006 Pa. Dist. & Cnty. Dec. LEXIS 535, at *10-11

(C.P. June 9, 2006).

       58.    Plaintiffs’ Complaint fails to comply with Rules 1019(a) and 1022, and, in doing so,

it fails to apprise Beauty Bell of the nature of the allegations against it, to wit: Plaintiff Karen

Uqdah has named 11 different defendants in this matter, including different corporations and

limited liability companies with no apparent relationship to one another. Ex. A, ¶¶ 2-15. Some

Defendants manufacture hair relaxer products, other(s) sell hair relaxer products, and some do

neither. Ex. A, ¶¶ 19-21. Yet, several of the allegations in the Complaint group “Defendants”

together with no mention of their discrete roles. See e.g., Ex. A, ¶¶ 45, 48, 54 134.

       59.    Beauty Bell cannot defend against the imprecise allegations set forth in the

Complaint, as it does not disclose the “material facts” that Beauty Bell needs to prepare its case,

including disclosure of which Beauty Bell products Plaintiff Karen Uqdah used that she alleges

were defective or how Beauty Bell’s alleged defective products proximately caused Plaintiff’s



                                                 13
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24       Page 260 of 415




injury.

          60.   By way of an example, in Paragraph No. 162 of the Complaint, Plaintiff Karen

Uqdah avers a multitude of material allegations regarding the alleged conduct of Defendants, in

violation of Rule 1022, stating:

            Defendants disseminated information that was inaccurate, false, and
            misleading and that failed to communicate accurately or adequately the
            comparative severity, duration, and extent of the risk of injuries associated
            with use and frequent use of the Chemical Hair Relaxer Products; and
            continued to promote the efficacy of the relaxers, even after they knew or
            should have known of the unreasonable risks from use; and concealed,
            downplayed, or otherwise suppressed, through aggressive marketing and
            promotion, any information or research about the risks and dangers of use of
            the relaxers.

          61.   As pled, the Complaint fails to identify which of Beauty Bell’s communications

she takes issue with, when they were made, or to what products they pertained.

          62.   Moreover, by failing to make separate allegations against each Defendant, Plaintiff

fails to identify the nature or type of liability relied upon against each Defendant.

          63.   These defects permeate the Complaint, rendering it fundamentally unanswerable.

          64.   Additionally, Plaintiffs use boilerplate claims for punitive damages against

Defendants in their ad damnum clauses in their Complaint, demonstrating that their claims are

indiscriminate without any material facts to support them. Snead v. Society of Prevention of

Cruelty to Animals of Pennsylvania, 929 A.2d 1169, 1184 (Pa. Super. 2007); see also Valley

Forge Towers v. Ron-Ike Foam Insolutions, Inc., 574 A.2d 641 (Pa. Super. 1990), affirmed, 605

A.2d 798 (Pa. 1992) (a plaintiff may not defeat preliminary objections with allegations lacking

material facts to support them).

          65.   The allegations of the Complaint are insufficient to support claims for punitive

damages against Beauty Bell as they fail to describe any specific conduct attributable to Beauty Bell



                                                  14
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 261 of 415




that gives rise to the level of maliciousness, outrageousness or evil motive required for the recovery

of punitive damages under Pennsylvania Law.

       66.        Overall, the Complaint contains nothing more than vague and conclusory

allegations to apprise Beauty Bell of the nature of Plaintiff Karen Uqdah’s claims with sufficient

specificity to enable Beauty Bell to pursue a defense against same. Therefore, the Court should

dismiss Plaintiffs’ Complaint in its entirety, including Plaintiff Emmanuel Bullock’s derivative Loss

of Consortium claim in Count V.

             D.      Plaintiff Karen Uqdah’s strict liability claims in Count I and Count II
                     against Beauty Bell in the Complaint should be dismissed, pursuant to
                     Pennsylvania Rule of Civil Procedure 1028(a)(4), for legal insufficiency,
                     because Plaintiff fails to identify the product(s) that caused her injury

       67.    Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary

Objections as though set forth herein.

       68.    Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4), a preliminary

objection may be filed if a pleading is legally insufficient. Pa. R. Civ. P. 1028(a)(4).

       69.    “Preliminary objections in the nature of a demurrer test the legal insufficiency of the

complaint. When considering preliminary objections, all material facts set forth in the challenged

pleadings are admitted as true, as well as all inferences reasonably deducible therefrom.” Fiedler

v. Spencer, 231 A.3d 831, 835 (Pa. Super. 2020). However, the court “need not accept as true

conclusions of law, unwarranted inferences from the facts, argumentative allegations, or

expressions of opinion.” Myers v. Ridge, 712 A.2d 791, 794 (Pa. Cmwlth. Ct. 1998), petition for

allowance of appeal denied, 560 Pa. 677, 742 A.2d 173 (Pa. 1999).

       70.    Although Plaintiff Karen Uqdah did not allege sufficient facts regarding which hair

relaxer product(s) Plaintiff used, which relaxer products contained the alleged endocrine disrupting

chemicals, and which of the named defendants produced the defective or dangerous product,


                                                 15
                                                                                             Case ID: 241002269
                                                                                           Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 262 of 415




Plaintiff asserts product liability claims against Beauty Bell.

         71.   To state a strict products liability claim, Pennsylvania law requires that an allegedly

defective product be “causally connected to a compensable injury.” Tincher v. Omega Flex, Inc.,

104 A.3d 328, 383-84 (Pa. 2014); Spino v. John S. Tilley Ladder Co., 696 A.2d 1169, 1172 (Pa.

1997) (“Pennsylvania law requires that a plaintiff prove two elements in a product liability action:

that the product was defective, and that the defect was a substantial factor in causing the injury.”).

         72.   The key inquiry in all products liability cases is whether or not there is a defect—it

is the product, and not the defendant’s conduct, that is on trial. See, e.g., Hutchinson v. Penske

Truck Leasing Co., 876 A.2d 978, 983 (Pa. Super. 2005), affirmed, 592 Pa. 38, 922 A.2d 890 (Pa.

2007).

         73.   Plaintiff’s “failure to identify the offending product [is] a fatal deficiency” to

Plaintiff’s claim for strict liability. Cummins, 495 A.2d at 968.

         74.   Pennsylvania courts impose liability for physical harm caused to the user only upon

that person who sold a product in a defective condition. A plaintiff must therefore at least designate

the product alleged to be defective in order to recover from the one who sells it. Id. at 969.

         75.   The Complaint cannot adequately aver the requisite connection between Beauty

Bell and the alleged defective product, and cannot support a cause of action in strict liability. Id.

         76.   To state a strict products liability claim, Pennsylvania law requires that an allegedly

defective product be “causally connected to a compensable injury.” Tincher v. Omega Flex, Inc.,

104 A.3d 328, 383-84 (Pa. 2014); Spino v. John S. Tilley Ladder Co., 696 A.2d 1169, 1172 (Pa.

1997) (“Pennsylvania law requires that a plaintiff prove two elements in a product liability action:

that the product was defective, and that the defect was a substantial factor in causing the injury.”).

         77.   Plaintiff listed 3 products she claims were manufactured by Beauty Bell and



                                                 16
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
     Case 5:24-cv-06225-JLS              Document 1-3        Filed 11/20/24       Page 263 of 415




Defendant, House of Cheatham, LLC, that she used from 1968 through 2018, without identifying

whether any of the products she mentioned were defective, much less alleging a causal connection

between any such product and Plaintiff’s alleged injury.4

        78.        Therefore, Plaintiff Karen Uqdah’s strict liability claims in Counts I and II against

Beauty Bell should be dismissed.

              E.       Plaintiff Karen Uqdah’s claims for Negligence in Count III and Breach
                       of Implied Warranties in Count IV against Beauty Bell in the Complaint
                       should be dismissed, pursuant to Pennsylvania Rule of Civil Procedure
                       1028(a)(4), for legal insufficiency, because Plaintiff fails to identify the
                       product(s) that caused her injury and fails to establish the requisite duty
                       of Beauty Bell owed to Plaintiff

        79.    Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary

Objections as though set forth herein.

        80.    Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4), a preliminary

objection may be filed if a pleading is legally insufficient. Pa. R. Civ. P. 1028(a)(4).

        81.    Our Supreme Court has held that an implied warranty of fitness for a particular

purpose is breached when a seller: (1) on whose skill and judgment a buyer relies, and (2) who has

reason to know, at the time of contracting, (3) of a particular purpose for which the goods are

required, (4) fails to provide goods that perform to the specific use contemplated by the buyer.

Gall v. Allegheny County Health Department, 521 Pa. 68, 555 A.2d 786 (Pa. 1989). Specifically,

“[a] ‘particular purpose’ differs from an ordinary purpose for which the goods are used in that it

envisages a specific use by the buyer which is peculiar to his business.” UCC § 2–315 (1984).

        82.        Further, to state a cause of action in negligence, Plaintiff must allege facts showing:



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  Plaintiff Karen Uqdah alleges she used different hair relaxer variations of the Affirm brand, which she
claims was manufactured by Beauty Bell and Defendant House of Cheatham, LLC, in Paragraph No. 93,
but then asserts that Defendant Avlon Industries, Inc., manufactured Affirm brand hair relaxers in Paragraph
Nos. 33 and 99.

                                                     17
                                                                                                Case ID: 241002269
                                                                                              Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 264 of 415




“(1) a duty on the part of the defendant to conform to a certain standard of conduct with respect to

the plaintiff, (2) a failure by the defendant to so conform, [and] (3) a reasonably close causal

connection between the defendant’s conduct and some resulting injury to the plaintiff[s].”

Cummins v. Firestone Tire & Rubber Co., 495 A.2d 963, 967 (Pa. Super. 1985).

       83.     A negligence claim is appropriately dismissed where the plaintiff does not

specifically allege the existence of a statutory or common law duty. See Phillips v. Cricket

Lighters, 841 A.2d 1000, 1008 (Pa. 2003) (“is axiomatic that in order to maintain a negligence

action, the plaintiff must show that the defendant had a duty “to conform to a certain standard of

conduct;” that the defendant breached that duty; that such breach caused the injury in question;

and actual loss or damage.”) Phillips v. Cricket Lighters, 576 Pa. 644, 658, 841 A.2d 1000, 1008

(Pa. 2003).

       84.     Plaintiff’s cause of action in negligence must be defeated by her failure to identify

a specific product and the resultant, causal connection between the conduct of Beauty Bell and her

injuries. Cummins, 495 A.2d at 969.

       85.     To establish negligence in the products liability context, Pennsylvania courts

recognize the “general rule requiring identification of [the defendant,] as the manufacturer or seller

of the particular offending product, before [the plaintiff’s] injuries may be found to be proximately

caused by some negligence.” Id. at 967.

       86.     Absent such identification, there can be no allegations of duty, breach of a duty, or

legal causation, and hence there can be no liability. Id. at 967-68.

       87.     Plaintiff “must therefore at least designate the product alleged to be defective in

order to recover from the one who sells it,” and Plaintiff’s claims must be defeated by her failure

to identify a specific product and the resultant, causal connection between the conduct of Beauty



                                                 18
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
     Case 5:24-cv-06225-JLS             Document 1-3        Filed 11/20/24       Page 265 of 415




Bell and her injuries. Id. at 969.

       88.        Not once does the Complaint identify a single product of Beauty Bell product that

caused Plaintiff’s harm, much less the alleged causal connection between any such product and

Plaintiff’s diagnosis of cancer.

       89.        To allow Plaintiff to circumvent the necessity to identify the offending product in

her claims against Defendants would violate the traditional standards of sufficiency in pleading

that calls for the nature of the liability of each defendant sued. Id. at 968.

       90.        Plaintiff is unable to make a prima facie case for either negligence or breach of

implied warranty, since Plaintiff cannot identify a single product of Beauty Bell that was used by

Plaintiff that actually caused her harm,

       91.        Therefore, Plaintiff Karen Uqdah’s cause of action for negligence in Count III and

implied breach of warranty in Count IV should be dismissed for legal insufficiency, pursuant to

Rule 1028(a)(4).

             F.        Count III and Count IV against Beauty Bell of the Complaint should be
                       dismissed, pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4),
                       for legal insufficiency, because federal rule preempts Plaintiff Karen
                       Uqdah’s non-products liability claims

       92.        Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary

Objections as though set forth herein.

       93.        Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4), a preliminary

objection may be filed if a pleading is legally insufficient. Pa. R. Civ. P. 1028(a)(4).

       94.        “Preliminary objections in the nature of a demurrer test the legal insufficiency of the

complaint. When considering preliminary objections, all material facts set forth in the challenged

pleadings are admitted as true, as well as all inferences reasonably deducible therefrom.” Fiedler

v. Spencer, 231 A.3d 831, 835 (Pa. Super. 2020). However, the court “need not accept as true


                                                    19
                                                                                              Case ID: 241002269
                                                                                            Control No.: 24112026
     Case 5:24-cv-06225-JLS           Document 1-3       Filed 11/20/24      Page 266 of 415




conclusions of law, unwarranted inferences from the facts, argumentative allegations, or

expressions of opinion.” Myers v. Ridge, 712 A.2d 791, 794 (Pa. Cmwlth. Ct. 1998), petition for

allowance of appeal denied, 560 Pa. 677, 742 A.2d 173 (Pa. 1999).

       95.    Plaintiff Karen Uqdah’s non-products liability claims, including Plaintiff’s claims

for negligence (Count III) and breach of implied warranties (Count IV) are legally insufficient

because they are expressly preempted by the Food Drug and Cosmetic Act (“FDCA”) and Fair

Packaging and Labeling Act (“FPLA”).

       96.    “The Supremacy Clause . . . invalidates state laws that interfere with, or are contrary

to, federal law.”      Air Transp. Ass’n of Am., Inc. v. Cuomo, 520 F.3d 218, 220 (2d Cir. 2008)

(citations omitted).

       97.    The FDCA’s “broad preemption clause” prohibits any state from “establish[ing] or

continu[ing] in effect any requirement for labeling or packaging of a cosmetic that is different from

or in addition to, or that is otherwise not identical with, a requirement specifically applicable to a

particular cosmetic or class of cosmetics under this chapter.” Critcher v. L’Oréal US, Inc., 959

F.3d 31, 35 (2d Cir. 2020); 21 U.S.C. § 379(a) (emphasis supplied). Thus, a plaintiff cannot seek

to “impose labeling requirements that are additional to, or different from those that federal law has

established.” Critcher, 959 F.3d at 38.

       98.    Congress conferred authority to the agency to promulgate rules and regulations

under the FDCA, 21 U.S.C. section 371(a), and the FPLA, 15 U.S.C. section 1454(a). Under those

regulations, manufacturers are not required to identify constituent fragrance ingredients. 21 C.F.R.

§ 701.3(a).

       99.    As in Critcher, while the FDCA requires labels to contain an “accurate statement of

the quantity of the [products’] contents in terms of weight, measure or numerical count,” the FDA



                                                 20
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24     Page 267 of 415




promulgated more “specific labeling requirements” consistent with the statute, and no statute or

regulation required Plaintiffs’ desired disclosure. Id. at 35. Because the FDCA preempts “any

state law that provides for labeling requirements that are not exactly the same as those set forth in

the FDCA and its regulations,” the claims were found to be preempted. Id. at 35-36 (emphasis

added). The same is true here.

       100. Plaintiff alleges that Defendants harmed her by failing to identify the constituent

ingredients that compose the fragrance in their products. Ex. A, ¶¶ 61, 76. According to Plaintiff,

“EDCs in the hair relaxers and other unknown chemicals” are “hidden under the ingredient title

“fragrances”” in the product label. Id. at ¶ 76. Yet, FDA regulations do not require manufacturers

to identify fragrance ingredients on product labels. 21 C.F.R. § 701.3(a), (1). Beauty Bell,

therefore, cannot be liable for failing to disclose those ingredients.

       101. Plaintiff is precluded from “us[ing] state law to impose labeling requirements on top

of those already mandated in the FDCA and the regulations promulgated thereunder.” Critcher,

959 F.3d at 36. Specifically, the FDCA provides that “no State or political subdivision of a State

may establish or continue in effect any requirement for labeling or packaging of a cosmetic that is

different from or in addition to, or that is otherwise no identical with, a requirement specifically

applicable to a particular cosmetic under this chapter.” 21 U.S.C. § 379s(a).

       102. For these reasons, Plaintiff Karen Uqdah’s non-products liability claims in Count III

and Count IV are preempted and should be dismissed.



            G.      Count III and Count IV against Beauty Bell of the Complaint should be
                    stricken, pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4), for
                    legal insufficiency, because Pennsylvania does not recognize a claim for
                    negligent failure to test

       103. Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary


                                                  21
                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 268 of 415




Objections as though set forth herein.

        104. Pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4), a preliminary

objection may be filed if a pleading is legally insufficient. Pa. R. Civ. P. 1028(a)(4).

        105. Though Plaintiff Karen Uqdah alleges that Beauty Bell was negligent because it

failed to sufficiently test its hair relaxers and their inert ingredients (Ex. A, ¶ 176(a)-(b), (h)),

Pennsylvania courts do not recognize a claim for negligent failure to test.” Viguers v. Philip Morris

USA, Inc., 837 A.2d 534, 541 (Pa. 2003), affd, 881 A.2d 1262 (2005) (“[T]he claim for ‘negligent

failure to test’ is not a viable cause of action recognized by our courts, and we have found no ‘duty

to test’ that would be the basis of such a claim.”).

        106. Plaintiff Karen Uqdah, therefore, has no viable claim against Beauty Bell for failure

to test at law.

        107. Accordingly, Counts III and IV against Beauty Bell should be dismissed for legal

insufficiency.

             H.     Plaintiffs’ claims for punitive damages against Beauty Bell should be
                    stricken, pursuant to Pennsylvania Rule of Civil Procedure 1028(a)(4),
                    for legal insufficiency

        108. Beauty Bell incorporates by reference the preceding paragraphs of these Preliminary

Objections as though set forth herein.

        109. Pennsylvania “case law makes it clear that punitive damages are an ‘extreme

remedy’ available in only the most exceptional matter.” Phillips v. Cricket Lighters, 584 Pa. 179,

188, 883 A.2d 439, 445 (Pa. 2005). Punitive damages are designed to “heap an additional

punishment on a defendant who is found to have acted in a fashion which is particularly

egregious.” Phillips, supra, at 190, 883 A.2d at 446.

        110. When assessing the propriety of punitive damages, “the state of mind of the actor is



                                                  22
                                                                                             Case ID: 241002269
                                                                                           Control No.: 24112026
     Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24      Page 269 of 415




vital” and “[t]he act, or the failure to act, must be intentional, reckless or malicious.” Hutchison

v. Luddy, 582 Pa. 114, 123, 870 A.2d 766, 771 (Pa. 2005); Daniel v. Wyeth Pharmaceuticals, Inc.,

15 A.3d 909, 929 (Pa. Super. 2011).

       111. In Pennsylvania, “a punitive damages claim must be supported by evidence

sufficient to establish that (1) a defendant had a subjective appreciation of the risk of harm to which

the plaintiff was exposed and that (2) [s]he acted, or failed to act, as the case may be, in conscious

disregard of that risk.” Hutchison, supra, at 124, 870 A.2d at 772; Daniel, supra.

       112. Here, Plaintiffs’ Complaint is devoid of any allegations of conduct by Beauty Bell

to support a claim involving outrageous behavior or a conscious disregard for risks confronted by

Plaintiffs to justify punitive damages. The Complaint merely alleges that Beauty Bell failed to

exercise reasonable care with respect to the manufacture of unidentified products of Beauty Bell.

       113. Absent some arguable proof of a subjective appreciation of Plaintiff Karen Uqdah’s

risk of harm and a conscious disregard of that risk by Beauty Bell, Plaintiffs have not identified a

factual or legal basis to include a claim for punitive damages against Beauty Bell.

       114. Therefore, all allegations seeking punitive damages should be stricken throughout

the Complaint.

       WHEREFORE, Defendant, Beauty Bell Enterprise, d/b/a House of Cheatham, Inc. and

House of Cheatham, LLC, respectfully requests that this Honorable Court sustain its Preliminary

Objections and enter the attached proposed Order, dismissing all claims of Plaintiffs, Karen Uqdah

and Emmanuel Bullock, against Defendant, Beauty Bell Enterprise, d/b/a House of Cheatham, Inc.

and House of Cheatham, LLC, with prejudice.




                                                  23
                                                                                            Case ID: 241002269
                                                                                          Control No.: 24112026
    Case 5:24-cv-06225-JLS   Document 1-3     Filed 11/20/24     Page 270 of 415




                                            Respectfully submitted,

                                            LITCHFIELD CAVO LLP

Dated: November 12, 2024           By:
                                            Anthony J. Calati, Esquire
                                            Suchi Vuu, Esquire
                                            Identification Nos.: 326536/323630
                                            1515 Market Street, Suite 1220
                                            Philadelphia, PA 19102
                                            215-557-0111
                                            Attorneys for Defendant,
                                            Beauty Bell Enterprise, d/b/a House of
                                            Cheatham, Inc. and House of Cheatham,
                                            LLC




                                     24
                                                                            Case ID: 241002269
                                                                          Control No.: 24112026
    Case 5:24-cv-06225-JLS              Document 1-3     Filed 11/20/24     Page 271 of 415




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      Suchi Vuu, Esquire                               Beauty Bell Enterprise, d/b/a House of Cheatham, Inc.
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                                                  :
                                                  :
 KAREN UQDAH and EMMANUEL                         :
 BULLOCK,                                         :      COURT OF COMMON PLEAS
                                                  :
                             Plaintiffs,                 PHILADELPHIA COUNTY
                                                  :
                                                  :
                                                         CIVIL DIVISION
                       v.
                                                  :      No. 241002269
 L’OREAL USA, INC., et. al.,                      :
                                                  :
                            Defendants.
                                                  :


        MEMORANDUM IN SUPPORT OF THE PRELIMINARY OBJECTIONS OF
                DEFENDANT, BEAUTY BELL ENTERPRISE, d/b/a
          HOUSE OF CHEATHAM, INC. AND HOUSE OF CHEATHAM, LLC
                    TO THE COMPLAINT OF PLAINTIFFS,
                 KAREN UQDAH AND EMMANUEL BULLOCK

        NOW COMES the Defendant, Beauty Bell Enterprise, d/b/a House of Cheatham, Inc. and

House of Cheatham, LLC, and (hereinafter referred to herein as “Beauty Bell”), by and through

its counsel, Litchfield Cavo LLP, hereby files the herein Memorandum of Law in support of their

Preliminary Objections to the Complaint of Plaintiffs, Karen Uqdah and Emmanuel Bullock, and,

in support thereof, avers as follows:

   I.      MATTER BEFORE THE COURT

        The matter before the Court are the Preliminary Objections of Beauty Bell to the Complaint

of Plaintiffs, Karen Uqdah and Emmanuel Bullock.




                                                                                         Case ID: 241002269
                                                                                       Control No.: 24112026
     Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24     Page 272 of 415




    II.      STATEMENT OF QUESTIONS PRESENTED

          Question (1): Should this Court dismiss Plaintiffs’ Complaint because Plaintiffs have not

established specific personal jurisdiction over Beauty Bell, as Plaintiff Karen Uqdah failed to

identify a single product giving rise to her claims against Beauty Bell?

          Suggested Answer (1): Yes.

          Question (2): Should this Court dismiss all Counts against Beauty Bell (Counts I through

V) in the Complaint, pursuant to Pennsylvania Rules of Civil Procedure 1028(a)(3) and 1019, for

insufficient specificity, for failing to expressly identify the product(s) attributable to Beauty Bell

that caused Plaintiff Karen Uqdah’s alleged injuries, the chemicals contained in the unspecified

product or products which caused her harm, and how many times and when she used the product

or products during the 50 years she used hair relaxers?

          Suggested Answer (2): Yes.

          Question (3): Should this Court dismiss all Counts against Beauty Bell (Counts I through

V) in the Complaint, including Plaintiff Emmanuel Bullock’s derivative Loss of Consortium claim

in Count V and Plaintiffs’ claims for punitive damages, pursuant to Pennsylvania Rules of Civil

Procedure 1028(a)(2) and 1019, as Plaintiff Karen Uqdah failed to disclose which product of

Beauty Bell is alleged to be defective, how this product was defective, or how this product caused

Plaintiff’s injury?

          Suggested Answer (3): Yes.

          Question (4): Should this Court dismiss Plaintiff Karen Uqdah’s strict liability claims in

Count I and Count II against Beauty Bell in the Complaint for legal insufficiency, pursuant to

Pennsylvania Rule of Civil Procedure 1028(a)(4), because Plaintiff failed to identify the product

or products of Beauty Bell that caused her alleged injury?




                                                  2
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
     Case 5:24-cv-06225-JLS         Document 1-3        Filed 11/20/24     Page 273 of 415




          Suggested Answer (4): Yes.

        Question (5): Should this Court dismiss Count III and Count IV against Beauty Bell in

the Complaint for legal insufficiency, pursuant to Pennsylvania Rule of Civil Procedure

1028(a)(4), because Plaintiff Karen Uqdah failed to identify the product or products of Beauty Bell

that allegedly caused her injury and failed to establish the requisite duty of Beauty Bell owed to

Plaintiff?

          Suggested Answer (5): Yes.

        Question (6): Should this Court dismiss Count III and Count IV against Beauty Bell in

the Complaint for legal insufficiency, pursuant to Pennsylvania Rule of Civil Procedure

1028(a)(4), because federal rule expressly preempts Plaintiff Karen Uqdah’s non-products liability

claims?

          Suggested Answer (6): Yes.

        Question (7): Should this Court dismiss Count III and Count IV against Beauty Bell in

the Complaint for legal insufficiency, because Pennsylvania does not recognize a claim for

negligent failure to test?

          Suggested Answer (7): Yes.

        Question (8): Should this Court strike all claims for punitive damages against Beauty Bell,

pursuant to Rule 1028(a)(4), for legal insufficiency, pursuant to Pennsylvania Rule of Civil

Procedure 1028(a)(4), when the Complaint does not demonstrate any conduct of Beauty Bell to

support a claim involving outrageous behavior or conscious disregard for risks confronted by

Plaintiffs to justify punitive damages?

          Suggested Answer (8): Yes.




                                                 3
                                                                                        Case ID: 241002269
                                                                                      Control No.: 24112026
     Case 5:24-cv-06225-JLS            Document 1-3        Filed 11/20/24     Page 274 of 415




    III.      FACTUAL BACKGROUND

           In the interest of brevity, Beauty Bell repeats and incorporates the averments set forth in

the Factual Background section of its Preliminary Objections to Plaintiffs’ Complaint as if fully

set forth herein at length.

    IV.       LEGAL ARGUMENT

           In the interest of brevity, Beauty Bell repeats and incorporates the averments set forth in

its Argument section of its Preliminary Objections to Plaintiffs’ Complaint as if fully set forth

herein at length.

    V.        RELIEF REQUESTED

           Defendant, Beauty Bell Enterprise, d/b/a House of Cheatham, Inc. and House of Cheatham,

LLC, respectfully requests that this Honorable Court sustain its Preliminary Objections and enter

the attached proposed Order, dismissing all claims of Plaintiffs, Karen Uqdah and Emmanuel

Bullock, against Defendant, Beauty Bell Enterprise, d/b/a House of Cheatham, Inc. and House of

Cheatham, LLC, with prejudice.


                                                        Respectfully submitted,

                                                        LITCHFIELD CAVO LLP

Dated: November 12, 2024                        By:
                                                        Anthony J. Calati, Esquire
                                                        Suchi Vuu, Esquire
                                                        Identification Nos.: 326536/323630
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                                                        Attorneys for Defendant,
                                                        Beauty Bell Enterprise, d/b/a
                                                        House of Cheatham, Inc. and House of
                                                        Cheatham, LLC



                                                    4
                                                                                           Case ID: 241002269
                                                                                         Control No.: 24112026
    Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24     Page 275 of 415




 LITCHFIELD CAVO LLP                                    Attorneys for Defendant,
 By: Anthony J. Calati, Esquire                         Beauty Bell Enterprise, d/b/a House of Cheatham, Inc.
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                                                    :
                                                    :
 KAREN UQDAH and EMMANUEL                           :
 BULLOCK,                                           :     COURT OF COMMON PLEAS
                                                    :
                            Plaintiffs,                   PHILADELPHIA COUNTY
                                                    :
                                                    :
                                                          CIVIL DIVISION
                      v.
                                                    :     No. 241002269
 L’OREAL USA, INC., et. al.,                        :
                                                    :
                           Defendants.
                                                    :


                                CERTIFICATE OF SERVICE

       I, Suchi Vuu, Esquire, certify that on this 12th day of November, 2024, a true and correct

copy of the Preliminary Objections of Defendant, Beauty Bell Enterprise, d/b/a House of

Cheatham, Inc. and House of Cheatham, LLC, to the Complaint of Plaintiffs, Karen Uqdah and

Emmanuel Bullock, in the above-captioned matter was electronically filed and served via the

Court’s electronic notification system on all counsel of record.



                                                        LITCHFIELD CAVO LLP

Dated: November 12, 2024                      By:
                                                        Suchi Vuu, Esquire




                                                                                          Case ID: 241002269
                                                                                        Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 276 of 415




                          EXHIBIT “A”




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 277 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 278 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 279 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 280 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 281 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 282 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 283 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 284 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 285 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 286 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 287 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 288 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 289 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 290 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 291 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 292 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 293 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 294 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 295 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 296 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 297 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 298 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 299 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 300 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 301 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 302 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 303 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 304 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 305 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 306 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 307 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 308 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 309 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 310 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 311 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 312 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 313 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 314 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 315 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 316 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 317 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 318 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 319 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 320 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 321 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 322 of 415




                                                                    Case ID: 241002269
                                                                  Control No.: 24112026
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 323 of 415




         Exhibit A-9
    Case 5:24-cv-06225-JLS          Document 1-3      Filed 11/20/24      Page 324 of 415




KLINE & SPECTER, P.C.                                        Filed and Attested by the
By:    SHANIN SPECTER, ESQUIRE    (Attorney I.D. No.: 40928)Office of Judicial Records
       TOBI L. MILLROOD, ESQUIRE (Attorney I.D. No.: 77764) 15 NOV 2024 04:25 pm
       BRADEN R. LEPISTO, ESQUIRE (Attorney I.D. No.: 313586)        S. GILLIAM
       SHERRELL L. DANDY, ESQUIRE (Attorney I.D. No.: 309348)
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215-772-1359 (fax)                               ATTORNEYS FOR PLAINTIFF


KAREN UQDAH and EMMANUEL                            COURT OF COMMON PLEAS
BULLOK, h/w                                         PHILADELPHIA COUNTY

                       Plaintiff,
                                                    OCTOBER TERM, 2024
              V.

L’ORÉAL USA, INC., et al.                           NO. 02269

                       Defendants.
                                                    JURY TRIAL DEMANDED




                       PRAECIPE TO REINSTATE COMPLAINT


TO THE PROTHONOTARY:

      Kindly reinstate the attached Complaint for an additional thirty (30) days.


                                                   KLINE & SPECTER, P.C.

                                            By:
                                                   SHERRELL L. DANDY, ESQUIRE
                                                   Attorney for Plaintiffs
Date: November 15, 2024




                                                                                     Case ID: 241002269
                   Case 5:24-cv-06225-JLS                 Document 1-3               Filed 11/20/24               Page 325 of 415
      Court of Common Pleas of Philadelphia County                                               For Prothonotary Use Only (Docket Number)
                    Trial Division
                                                                             OCTOBER 2024                                                    02269
                   Civil Cover Sheet                                        E-Filing Number:   2410041108
PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 KAREN UQDAH                                                                  LORÉAL USA, INC.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 1049 LAURELEE AVENUE                                                         10 HUDSON YARDS
 READING PA 19605                                                             NEW YORK NY 10001


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
 EMMANUEL BULLOCK                                                             LORÉAL USA PRODUCTS, INC.

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
 1049 LAURELEE AVENUE                                                         10 HUDSON YARDS
 READING PA 19605                                                             NEW YORK NY 10001


PLAINTIFF'S NAME                                                            DEFENDANT'S NAME
                                                                              SOFT SHEEN-CARSON, LLC

PLAINTIFF'S ADDRESS                                                         DEFENDANT'S ADDRESS
                                                                              10 HUDSON YARDS
                                                                              NEW YORK NY 10001


TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS        COMMENCEMENT OF ACTION
                                                                       X Complaint                  Petition Action                     Notice of Appeal
               2                                  11
                                                                          Writ of Summons           Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY          COURT PROGRAMS

                                 Arbitration                     Mass Tort                           Commerce                        Settlement
    $50,000.00 or less         X Jury                            Savings Action                      Minor Court Appeal              Minors
 X More than $50,000.00          Non-Jury                        Petition                            Statutory Appeals               W/D/Survival
                                 Other:
CASE TYPE AND CODE

  2P - PRODUCT LIABILITY

STATUTORY BASIS FOR CAUSE OF ACTION




RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                        IS CASE SUBJECT TO
                                                                                                                      COORDINATION ORDER?
                                                                                                                                  YES         NO


                                                                   OCT 17 2024
                                                                   L. BREWINGTON

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: KAREN UQDAH , EMMANUEL BULLOCK
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                      ADDRESS

 SHERRELL L. DANDY                                                           KLINE & SPECTER, P.C.
                                                                             1525 LOCUST STREET
PHONE NUMBER                            FAX NUMBER                           19TH FLOOR
 (215)772-1000                          none entered                         PHILADELPHIA PA 19102

SUPREME COURT IDENTIFICATION NO.                                           E-MAIL ADDRESS

 309348                                                                      sherrell.dandy@klinespecter.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                      DATE SUBMITTED
 SHERRELL DANDY                                                              Thursday, October 17, 2024, 04:07 pm
                                                                                                                                        Case ID: 241002269
                                                  FINAL COPY (Approved by the Prothonotary Clerk)
        Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 326 of 415


COMPLETE LIST OF DEFENDANTS:
    1. LORÉAL USA, INC.
         10 HUDSON YARDS
         NEW YORK NY 10001
    2. LORÉAL USA PRODUCTS, INC.
         10 HUDSON YARDS
         NEW YORK NY 10001
    3. SOFT SHEEN-CARSON, LLC
         10 HUDSON YARDS
         NEW YORK NY 10001
    4. STRENGTH OF NATURE, LLC
         64 ROSS ROAD
         SAVANNAH GA 31405
    5. GODREJ SON HOLDINGS, INC.
         64 ROSS ROAD
         SAVANNAH GA 31405
    6. BEAUTY BELL ENTERPRISE
         ALIAS: HOUSE OF CHEATHAM LLC
         647 MIMOSA BLVD.
         ROSWELL GA 30075
    7. HOUSE OF CHEATHAM, LLC
         1445 ROCK MOUNTAIN BLVD
         STONE MOUNTAIN GA 30083
    8. LUSTER PRODUCTS, INC.
         1104 WEST 43RD STREET
         CHICAGO IL 60609
    9. AFAM CONCEPT, INC.
         ALIAS: JF LABS, INC.
         7401 S. PULASKI ROAD
         CHICAGO IL 60629
    10. AVLON INDUSTRIES, INC.
         1999 NORTH 15TH STREET
         MELROSE PARK IL 60160
    11. THE GIANT COMPANY, LLC
         1149 HARRISBURG PIKE
         CARLISLE PA 17013




                                                                            Case ID: 241002269
   Case 5:24-cv-06225-JLS     Document 1-3            Filed 11/20/24   Page 327 of 415




KLINE & SPECTER, P.C.                                        Filed and Attested by the
By:    SHANIN SPECTER, ESQUIRE    (Attorney I.D. No.: 40928)Office of Judicial Records
       TOBI L. MILLROOD, ESQUIRE (Attorney I.D. No.: 77764) 17 OCT 2024 04:07 pm
       BRADEN R. LEPISTO, ESQUIRE (Attorney I.D. No.: 313586)      L. BREWINGTON
       SHERRELL L. DANDY, ESQUIRE (Attorney I.D. No.: 309348)
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1525 Locust Street
Philadelphia, Pennsylvania 19102
215-772-1000
215-772-1359 (fax)                               ATTORNEYS FOR PLAINTIFFS


KAREN UQDAH AND EMMANUEL                        IN THE COURT OF COMMON PLEAS
BULLOCK, H/W                                    PHILADELPHIA COUNTY,
1049 LAURELEE AVENUE                            PENNSYLVANIA
READING, PA 19605

                          Plaintiffs

            V.

L’ORÉAL USA, INC.
10 HUDSON YARDS
NEW YORK, NY 10017

AND

L’ORÉAL USA PRODUCTS, INC.                      JURY TRIAL DEMANDED
10 HUDSON YARDS
NEW YORK, NY 10001

AND

SOFT SHEEN-CARSON, LLC
10 HUDSON YARDS
NEW YORK, NY 10001

AND

STRENGTH OF NATURE, LLC
64 ROSS ROAD
SAVANNAH, GA 31405

AND

                                       Page 1 of 41
                                                                                  Case ID: 241002269
  Case 5:24-cv-06225-JLS    Document 1-3        Filed 11/20/24   Page 328 of 415




GODREJ SON HOLDINGS, INC.
64 ROSS ROAD
SAVANNAH, GA 31405

AND

BEAUTY BELL ENTERPRISE D/B/A
HOUSE OF CHEATHAM, INC. AND
HOUSE OF CHEATHAM LLC
647 MIMOSA BLVD
ROSWELL, GA 30075

AND

HOUSE OF CHEATHAM, LLC
1445 ROCK MOUNTAIN BLVD
STONE MOUNTAIN, GA 30083

AND

LUSTER PRODUCTS, INC.
1104 WEST 43RD STREET
CHICAGO, IL 60609

AND

AFAM CONCEPT, INC. D/B/A JF LABS,
INC.
7401 S. PULASKI ROAD
CHICAGO, IL 60629

AND

AVLON INDUSTRIES, INC.
1999 NORTH 15TH STREET
MELROSE PARK, IL 60160

AND

THE GIANT COMPANY, LLC
1149 HARRISBURG PIKE
CARLISLE, PA 17013

                         Defendants



                                 Page 2 of 41
                                                                            Case ID: 241002269
         Case 5:24-cv-06225-JLS         Document 1-3         Filed 11/20/24     Page 329 of 415




                                           NOTICE TO PLEAD                     Filed and Attested by the
                                                                              Office of Judicial Records
                                                                                  15 NOV 2024 04:25 pm
                                                                                       S. GILLIAM
                                                                              ADVISO
                      NOTICE
You have been sued in court. If you wish to defend     Le han demandado a used en la corte. Si usted quiere
against the claims set forth in the following pages,   defenderse de estas demandas expuestas en las
you must take action within twenty (20) days after     paginas siguientes, usted tiene veinte (20) dias de
this complaint and notice are served, by entering a    plazo al partir de la fecha de la demanda y la
written appearance personally or by attorney and       notificacion. Hace falta asentar una comparencia
filing in writing with the court your defenses or      escrita o en persona o con un abogado y entregar a la
objections to the claims set forth against you. You    corte en forma escrita sus defensas o sus objeciones
are warned that if you fail to do so the case may      a las demandas en contra de su persona. Sea avisado
proceed without you and a judgment may be entered      que si usted no se defiende, la corte tomara medidas
against you by the court without further notice for    y puede continuar la demanda en contra suya sin
any money claimed in the complaint or for any other    previo aviso o notificacion. Ademas, la corte pueda
claim or relief requested by the plaintiffs. You may   decidir a favor del demandante y requiere que usted
lose money or property or other rights important to    cumpla con todas las provisiones de esta demanda.
you.                                                   Usted puede perder dinero o sus propiedades u otros
                                                       derechos importantes para usted.
YOU SHOULD TAKE THIS PAPER TO YOUR
LAWYER AT ONCE. IF YOU DO NOT HAVE A                   LLEVE ESTA DEMANDA A UN ABOGADO
LAWYER, GO TO OR TELEPHONE THE OFFICE                  INMEDIATAMENTE, SI NO TIENE ABOGADO
SET FORTH BELOW TO FIND OUT WHERE                      O SI NO TIENE EL DINERO SUFICIENTE DE
YOU CAN GET LEGAL HELP.                                PAGAR TAL SERVICIO, VAYA EN PERSONA O
                                                       LLAME POR TELEFONO A LA OFICINA CUYA
            Lawyer Referral Service
                                                       DIRECCION SE ENCUENTRA ESCRITA ABAJO
          Philadelphia Bar Association
                                                       PARA AVERIGUAR DONDE SE PUEDE
          1101 Market Street, 11th Floor
                                                       CONSEGUIR ASISTENCIA LEGAL.
             Philadelphia, PA 19107
                 (215) 238-6338                                  Lawyer Referral Service
                                                               Philadelphia Bar Association
                                                               1101 Market Street, 11th Floor
                                                                  Philadelphia, PA 19107
                                                                     (215) 238-6338




                                              Page 3 of 41
                                                                                                Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3          Filed 11/20/24   Page 330 of 415




                               CIVIL ACTION – COMPLAINT

       Plaintiffs, Karen Uqdah and Emmanuel Bullock, through their undersigned counsel, Kline

& Specter, P.C., hereby demand damages from the Defendants in a sum in excess of the local

arbitration limits exclusive of interest, costs, and damages for prejudgment delay, upon the cause

of action set forth below:

                                           PARTIES

       1.      Plaintiffs Karen Uqdah and Emmanuel Bullock are adult individual citizens and

residents of Pennsylvania, residing therein at 1049 Laurelee Avenue, Reading, PA 19605.

       2.      Defendant, L’Oréal USA, Inc., (“L’Oréal”) is incorporated in Delaware with its

principal place of business and headquarters located at 10 Hudson Yards, 347 10th Avenue, New

York, New York 10001.

       3.      Defendant, L’Oréal USA Products, Inc., (“L’Oréal Products”) is incorporated in

Delaware with its principal place of business and headquarters located at 10 Hudson Yards, 347

10th Avenue, New York, New York 10001.

       4.      Defendant, SoftSheen-Carson, LLC, (“Softsheen”) is a limited liability company

organized in the state of New York with its principal place of business and headquarters located at

90 State St., Albany, New York 12207. Upon information and belief, SoftSheen-Carson, LLC’s

members and sole interested parties are L’Oréal USA, Inc. and L’Oréal S.A., L’Oréal’s French

owned company, with its headquarters and principal place of business located in France.

       5.      Defendants L’Oréal USA, Inc., L’Oréal USA Products, Inc., and SoftSheen-

Carson, LLC, will be collectively referred to as “L’Oréal Defendants.”




                                           Page 4 of 41
                                                                                          Case ID: 241002269
    Case 5:24-cv-06225-JLS           Document 1-3         Filed 11/20/24     Page 331 of 415




         6.    Defendant Strength of Nature, LLC, (“Strength of Nature”) is a corporation with

its principal place of business and headquarters located at 64 Ross Road, Savannah, Georgia

31405.

         7.    Defendant Godrej SON Holdings, Inc., (“Godrej”) is, a corporation with its

principal place of business and headquarters located at 64 Ross Road, Savannah, GA. Upon

information and belief, at all times relevant to this action, Godrej SON Holdings, Inc., has been

the sole member and interested party of Strength of Nature, LLC.

         8.    Defendants Strength of Nature, LLC and Godrej SON Holdings, Inc. will be

collectively referred to as “Strength of Nature Defendants.”

         9.    Defendant Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc. (“Beauty

Bell”) is a domestic limited liability company organized in Georgia with its principal office located

at 647 Mimosa Blvd, Roswell, Georgia 30075. Upon information and belief, Beauty Bell

Enterprises, LLC d/b/a House of Cheatham’s sole member and interested party is Jay Studdard,

who is domiciled in Gorgia.

         10.   Defendant House of Cheatham, LLC, (“House of Cheatham”) is a limited liability

company organized in Georgia with its principal office located at 1445 Rock Mountain Boulevard,

Stone Mountain, Georgia. Plaintiffs allege that House of Cheatham, LLC’s sole member and

interested party is Hollywood Beauty Holdco, LLC, a limited liability company organized in

Delaware with its principal office located at 1445 Rock Mountain Boulevard, Stone Mountain,

Georgia, 30083.

         11.   Defendants Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc and House

of Cheatham, LLC, will be collectively referred to as “House of Cheatham Defendants.”




                                           Page 5 of 41
                                                                                           Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24      Page 332 of 415




          12.   Defendant Luster Products, Inc. (“Luster Products”) is an Illinois corporation with

its principal place of business and headquarters located at 1104 West 43rd Street, Chicago, IL

60609.

          13.   Defendant AFAM Concept, Inc. d/b/a JF Labs Inc. (“AFAM”), is an Illinois

corporation with its principal place of business and headquarters located at 7401 South Pulaski

Road, Chicago, IL 60629.

          14.   Defendant Avlon Industries, Inc. (“Avlon”) is, and at all times relevant to this

action, a corporation with its principal place of business located at 1999 North 15th Street, Melrose

Park, Illinois 60160.

          15.   Defendant The Giant Company, LLC a/k/a and/or d/b/a Giant is a corporation with

its principal place of business and headquarters located at 1149 Harrisburg Pike, Carlisle, PA

17013. At all times relevant hereto, The Giant Company owned and/or operated Giant located at

2174 W Union Blvd, Bethlehem, PA 18018.

                                          JURISDICTION

          16.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          17.   This Court has original jurisdiction over this civil action.

          18.   This Court has personal jurisdiction over the Defendants.

          19.   At all times relevant hereto, L’Oréal Defendants, Strength of Nature Defendants,

House of Cheatham Defendants, Defendant Luster Products, Defendant AFAM Concept, and

Defendant Avlon Industries (hereinafter “Manufacturer Defendants”) contracted with, entered

agreements with, sold, shipped, and distributed hair relaxer products, including those products

Mrs. Uqdah purchased and applied to her hair, to various companies and stores within the



                                            Page 6 of 41
                                                                                            Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3        Filed 11/20/24   Page 333 of 415




Commonwealth of Pennsylvania, including but not limited to Defendant The Giant Company, LLC

(hereinafter “Retailer Defendant”).

       20.     At all times relevant hereto, Manufacturer Defendants engaged in the business of

manufacturing, making, distributing, creating, dispensing, selling, shipping, advertising,

transporting, and marketing hair relaxer products which contained dangerous and harmful amounts

of endocrine disrupting chemicals and other harmful substances to be sold by Retailer Defendant.

       21.     At all times relevant hereto, Retailer Defendant conducted business in the

Commonwealth of Pennsylvania by: (1) selling and distributing products and merchandise,

including Dark & Lovely, Optimum, Bantu, Mizani, Gentle Treatment, TCB, Africa’s Best,

Luster’s Pink Oil, Hawaiian Silky, and Affirm (hereinafter “Chemical Hair Relaxer Products”) in

the Commonwealth of Pennsylvania for the purpose of realizing pecuniary benefit from those sales

and distributions; (2) shipping products and merchandise, including the Chemical Hair Relaxer

Products, directly into and through the Commonwealth of Pennsylvania; (3) engaging in business

in the Commonwealth of Pennsylvania; and/or, (4) owning, using, and/or possessing real property

situated in the Commonwealth of Pennsylvania.

       22.     At all times relevant hereto, Manufacturer Defendants had, and continues to have,

regular and systematic contact with and conducts business in and from the Commonwealth of

Pennsylvania, such that it has purposefully availed itself of the laws of the Commonwealth of

Pennsylvania and can reasonably expect to both sue and be sued in Pennsylvania.

       23.     Additionally, Manufacturer Defendants’ presence in the Commonwealth of

Pennsylvania satisfies the due process requirements for Pennsylvania courts to exercise

jurisdiction over it. Additionally, Manufacturer Defendants consented to the exercise of




                                           Page 7 of 41
                                                                                       Case ID: 241002269
     Case 5:24-cv-06225-JLS             Document 1-3         Filed 11/20/24   Page 334 of 415




jurisdiction over it by Pennsylvania courts by registering to and conducting business from the

Commonwealth of Pennsylvania.

        24.        A federal court would not have jurisdiction over this case, as there is no federal

question under 28 U.S.C. § 1331 or complete diversity between the parties under 28 U.S.C. § 1332.

Therefore, this case is not removable to federal court under 28 U.S.C. § 1441 and 28 U.S.C. §

1446.

        25.     Upon information and belief, at all relevant times, Manufacturer Defendants sold

their products in Philadelphia County and regularly conducts business in Philadelphia County.

        26.     Upon information and belief, at all relevant times, The Giant Company LLC, has

and continues to regularly conduct business in Philadelphia County through the operation of their

nine Philadelphia retail locations.

        27.     The damages Plaintiffs seek, exclusive of interests and costs, exceed the

jurisdictional amount requiring arbitration referral. Plaintiffs seek more than $50,000 in damages.

                                     FACTUAL BACKGROUND

        28.        At all times material hereto, L’Oréal Defendants developed, tested, assembled,

marketed, manufactured, and sold various brands of chemical hair relaxer products that were

specifically marketed to black women, including but not limited to the following brands that Mrs.

Uqdah used to chemically straighten her hair:

              a.          Dark & Lovely

              b.          Optimum

              c.          Bantu; and,

              d.          Mizani.




                                              Page 8 of 41
                                                                                            Case ID: 241002269
    Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24   Page 335 of 415




       29.     At all times material hereto, Strength of Nature Defendants developed, tested,

assembled, marketed, manufactured, and sold various brands of chemical hair relaxer products that

were specifically marketed to black women, including but not limited to the following brands that

Mrs. Uqdah used to chemically straighten her hair:

             a.       African Pride

             b.       Dr. Miracle’s

             c.       Gentle Treatment

             d.       TCB; and,

             e.       Ultra Sheen.

       30.     At all times material hereto, House of Cheatham Defendants developed, tested,

assembled, marketed, manufactured, and sold various brands of chemical hair relaxer products that

were specifically marketed to black women, including but not limited to the Africa’s Best brand

that Mrs. Uqdah used to chemically straighten her hair.

       31.     At all times material hereto, Defendant Luster Products developed, tested,

assembled, marketed, manufactured, and sold various brands of chemical hair relaxer products that

were specifically marketed to black women, including but not limited to the Luster’s Pink Oil

brand that Mrs. Uqdah used to chemically straighten her hair.

       32.    At all times material hereto, Defendant AFAM developed, tested, assembled,

marketed, manufactured, and sold various brands of chemical hair relaxer products that were

specifically marketed to black women, including but not limited to the Hawaiian Silky brand that

Mrs. Uqdah used to chemically straighten her hair.

       33.    At all times material hereto, Defendant Avlon developed, tested, assembled,

marketed, manufactured, and sold various brands of chemical hair relaxer products that were



                                          Page 9 of 41
                                                                                        Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3      Filed 11/20/24      Page 336 of 415




specifically marketed to black women, including but not limited to the Affirm brand that Mrs.

Uqdah used to chemically straighten her hair.

       34.     Mrs. Uqdah developed endometrial cancer as a result of frequent use of chemical

hair relaxers manufactured by the Defendants.

                                CHEMICAL HAIR RELAXERS

       35.     Black and brown girls are taught at a young age that to be accepted in society, they

must tame and control their natural hair.

       36.     This has led black and brown women and girls to temporarily or permanently alter

their curly hair strands to make them straight to adhere to western beauty standards.

       37.     Traditionally, black women straightened their hair using a heated comb, commonly

referred to as the “hot comb” invented by Francois Marcel Gateau. The hot comb, combined with

temporary hair straightening and growth products created by Madame C.J. Walker, became

popular in the early 1900s. Madame C.J. Walker became the country’s first black female

millionaire. This financial success showed the world that black haircare, particularly hair

straightening products, is a very lucrative business.

       38.     In 1909, Garrett A. Morgan invented a hair straightening cream after mixing

chemicals to correct friction in the sewing machine when sewing wool. The G.A. Morgan Refining

Cream, which straightened wool, was later used to straighten hair.

       39.     In the 1960s, the first-generation hair relaxer was created to chemically straighten

curly hair permanently by breaking and restructuring the disulfide bonds. The active ingredient,

sodium hydroxide, a lye, irritated the scalp, diminished hair strength, and was difficult to rinse.

Additionally, the lye caused the relaxer to have a short shelf life because of the separation of the

oil and water in the relaxer cream.



                                            Page 10 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS             Document 1-3       Filed 11/20/24      Page 337 of 415




        40.        In the 1970s, to remedy the disadvantages of the lye relaxer, hair relaxer

manufacturers began marketing no-lye relaxers using calcium hydroxide or guanidine hydroxide

as the active ingredients instead of sodium hydroxide.

        41.        Home hair relaxer kits were marketed and sold to women who wanted to apply the

chemical hair relaxer at home instead of having it professionally applied at a hair salon.

        42.        The home hair relaxer kits were a cheaper alternative to professional application at

a hair salon.

        43.        The home hair relaxer kit typically contains plastic gloves and a wooden spatula

for application because the chemicals are too harmful to touch with bare hands. The home hair

relaxer kits also include the relaxer cream, a liquid activator mixed with the relaxer cream before

application, neutralizing shampoo, and a restorative moisturizing balm.

        44.        For first-time application, the relaxer cream is placed on the hair from the root to

the end. After letting it sit on the hair for ten to twenty minutes, the relaxer is rinsed out with warm

water and then shampooed with a neutralizing shampoo to deactivate the alkalizing chemical

process, followed by applying conditioner to raise the pH level and soften the hair. Lastly, a

moisturizing treatment is used to restore hydration.

        45.        Defendants began marketing the new and improved no-lye-based relaxers using

two main marketing strategies: 1) marketing directly to black women and 2) portraying the no-lye

relaxer as safe.




                                              Page 11 of 41
                                                                                              Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 338 of 415




       46.     In the 1970s and 1980s, hair relaxer manufacturers used black celebrities such as

Debbie Allen and Natalie Cole in their commercial ads to market the no-lye relaxer as a safe way

to make curly and coarse hair more manageable.

       47.     In Dark & Lovely’s 1980 hair relaxer commercial, while applying a hair relaxer,

dancer and actress Debbie Allen stated, “For me, there is more to Dark & Lovely than just that it

doesn’t contain lye. Dark & Lovely is such a pleasure. It makes me feel like dancing.” While

dancing, she further stated, “It relaxes my hair just as well as those lye-based relaxers with a lot

less burning and irritation, and there is no offensive odor...and it leaves it so soft that I can do

anything with it.”




                                          Page 12 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3       Filed 11/20/24   Page 339 of 415




       48.         For decades, Defendants continued to market chemical hair relaxer products to

black women, but in the 1990s, the industry began to target young black girls with the first hair

relaxer for girls, “Just for Me” by Soft & Beautiful.

       49.     In 1993, the infamous Just for Me commercial premiered featuring LaTavia

Robinson, who later joined the famous music group Destiny’s Child. Young girls sang and danced

to the song with the lyrics: “Just for Me—the no-lye conditioner relaxing cream,” again marketing

the relaxer as safe because it did not contain lye.




                                            Page 13 of 41
                                                                                        Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3       Filed 11/20/24      Page 340 of 415




       50.     Other manufacturers followed suit, creating other chemical hair relaxers for young

girls, including the PCJ hair relaxer, also introduced in the early 1990s.

       51.     Young black girls became enamored with the girls depicted on the hair relaxer

boxes, believing they could achieve the same look if they used the hair relaxer.




       52.     It was recently discovered from a “Where Are They Now” interview that several

women depicted on the hair relaxer boxes did not have chemically straightened hair and never

used the chemical relaxer products.

       53.     The hair relaxer manufacturing companies spent billions of dollars targeting black

women and girls:




                                           Page 14 of 41
                                                                                        Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3       Filed 11/20/24     Page 341 of 415




       54.     Although the hair relaxer manufacturing companies marketed the no-lye relaxers

as safe because they did not contain sodium hydroxide, the Defendant companies failed to warn

consumers about the harmful chemicals in the hair relaxers, including endocrine-disrupting

chemicals (“EDCs”).

                         ENDOCRINE DISRUPTING CHEMICALS

       55.      Endocrine-Disrupting Chemicals disrupt the endocrine system, a network of

organs and glands that produce, store, and secrete hormones. The glands, controlled by stimulation

from the nervous system and chemical receptors in the blood and hormones, help maintain the

body’s homeostasis by regulating the functions of organs.




                                          Page 15 of 41
                                                                                         Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3         Filed 11/20/24   Page 342 of 415




        56.    These glands help maintain the body’s homeostasis by regulating the functions of

the organs in the body, including but not limited to cellular metabolism, reproduction, sexual

development, sugar and mineral hemostasis, heart rate, and digestion.

        57.    EDCs can disrupt different hormones by mimicking or interfering with a natural

hormone, which can trick the cellular hormone receptor into thinking that the EDC is the hormone

the cellular hormone receptor responds to.

        58.    This can cause the creation of excess hormones or deficient hormones and can cause

adverse effects, including causing abnormalities in sex organs, early puberty, endometriosis, and

hormonally responsive cancers, among other hormonally related diseases.

        59.    A group of EDCs called xenoestrogens mimic estrogen by pretending to be

biologically created estrogen. Over time, these estrogen mimickers become difficult to detoxify in

the liver.

        60.    Chemical hair relaxers contain various types of endocrine disrupting chemicals,

including phthalates and parabens.

                                             Phthalates

        61.    Phthalates were developed in the 1920s to make plastics more durable and

malleable, but today are used in cosmetics to create color and make fragrances last longer.

        62.    Phthalates are used in hair relaxers to make the hair more flexible after applying

the product.

        63.    Phthalates interfere with estrogen receptors and contribute to reproductive

problems such as early puberty in girls, menopausal symptoms, infertility, metabolic syndrome

and thyroid conditions, cognitive disorders, and cancer.




                                          Page 16 of 41
                                                                                         Case ID: 241002269
    Case 5:24-cv-06225-JLS           Document 1-3        Filed 11/20/24      Page 343 of 415




       64.      Di-2-ethylheylphtyalate (“DEHP”) is a phthalate used in plastics to make them

more flexible. Testing of chemical hair relaxers found the presence of DEHP.

       65.      In the Report of Carcinogens, Fifteenth Edition, the U.S. Department of Health and

Human Services determined that there is “clear evidence” of carcinogenicity of DEHP in both

male and female rats and that it is “reasonably anticipated to be a human carcinogen.”

       66.      Similarly, the U.S. Environmental Protection Agency classified DEHP as a “B-2;

probable human carcinogen” in its Chemical Assessment Summary.

                                             Parabens

       67.      Parabens are a class of chemicals used as preservatives in cosmetic products to

prevent the growth of harmful bacteria and mold and therefore preserve the product’s shelf life.

There are common parabens, including methylparaben, propylparaben, butylparaben, and

ethylparaben.

       68.      Parabens are EDCs that also bind to estrogen receptors and mimic estrogen, causing

estrogen dominance and health conditions such as reproductive issues and hormonal cancers.

       69.      A recent study detected three different parabens in hair relaxer kits: methylparaben,

ethylparaben, and butylparaben. Testing of hair relaxer kits revealed high concentrations of this

parabens.

       70.      In February of 2012, an article published in New America Medica authored by

Thandisizwe Chimurenga entitled “How Toxic is Black Hair Care?” discussed prior and ongoing

research regarding EDCs in black hair care products, and noted that “a team of researchers led by

Dr. Lauren Wise of Boston University’s Slone Epidemiology Center found strong evidence

indicating that Black women’s hair relaxer use increases the risk for uterine fibroid tumors by

exposing Black women to various chemicals through scalp lesions and burns from the products.”



                                           Page 17 of 41
                                                                                            Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24        Page 344 of 415




       71.     Chimurenga further noted that “May of 2011, Dr. Mary Beth Terry and others

authored a study, the findings of which showed that African-American and African-Caribbean

women were more likely to be exposed to hormonally-active chemicals in hair products.”

       72.     An August 2019 study examined tissue samples from tumors of women diagnosed

with endometrial cancer. It concluded that paraben molecules were more frequently detected in

endometrial carcinoma tissue samples compared to normal endometrium.

       73.     Dr. Terry’s study, “Racial/Ethnic Differences in Hormonally-Active Hair Product

Use: A Plausible Risk Factor for Health Disparities,” published in the Journal of Immigrant Health,

found that the African-American and African Caribbean women surveyed used products that

contained chemicals—commonly referred to as endocrine-disrupting chemicals (EDCs)—linked

to various reproductive and birth defects, breast cancer and heart disease.

       74.     Studies have shown that black women have elevated levels of phthalates in their

urine compared to white women. Additionally, a May 2021 study showed higher levels of

parabens and phthalates detected in the urine of women diagnosed with endometrial cancer than

women without cancer.

       75.     In a 2018 study, thirty-five different EDCs were present in three hair relaxer kits,

including phthalates, parabens, bisphenol A (“BPA”),               cyclosilicates, triclosan,   and

diethanolamine. Of the chemicals found to be present, 84% were not listed as ingredients on the

hair relaxer labels. Each of these individual EDCs is well documented to increase estrogen and

cause hormone-sensitive cancers.

       76.     The synergistic effects of the combination of the known EDCs in the hair relaxers

and other unknown chemicals hidden under the ingredient title “fragrances” further increase the

risk of developing hormonally driven cancers.



                                          Page 18 of 41
                                                                                          Case ID: 241002269
    Case 5:24-cv-06225-JLS         Document 1-3        Filed 11/20/24     Page 345 of 415




       77.    Moreover, because there is higher percutaneous absorption of chemicals in the

scalp compared with other areas of the skin such as on the forearm, palm, and abdomen, there is

an even greater risk of developing cancer from carcinogens placed on the scalp/hair.

       78.    Despite decades of studies revealing the harmful effects of EDCs, the presence of

EDCs in chemical hair relaxers, and the overwhelming disparity of gynecologic related injuries in

black women that are known to be caused by EDC exposure, Defendants continue to produce the

chemical hair relaxers without warning of the toxicity to the consumer.

                  PLAINTIFF KAREN UQDAH’S HAIR RELAXER USE

       79.    Plaintiff, Karenn Uqdah, consistently and frequently used Hair Relaxers, starting in

1968 through her final use on or around 2018.

       80.    For decades, Mrs. Uqdah used the Chemical Hair Relaxer Products, which are

manufactured and advertised by the named Manufacturer Defendants.

                                     L’Oréal Defendants

       81.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Dark & Lovely hair

relaxers, including but not limited to Dark and Lovely Beautiful Beginnings No-Mistake Smooth

Relaxer.

       82.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Optimum hair

relaxers, including but not limited to Optimum Salon Haircare Defy Breakage No-Lye Relaxer.

       83.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Bantu hair relaxers,

including but not limited to Bantu No Base Relaxer.

       84.    Mrs. Uqdah used different variations of L’Oréal Defendants’ Mizani hair relaxers,

including but not limited to Mizani Sensitive Scalp Relaxer.




                                         Page 19 of 41
                                                                                         Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3      Filed 11/20/24     Page 346 of 415




       85.      Mrs. Uqdah has reason to believe that L’Oréal Defendants developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to L’Oréal Defendants, but unknown to Mrs. Uqdah, that contained endocrine disrupting

chemicals.

                               Strength of Nature Defendants

       86.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ African

Pride hair relaxers, including but not limited to:

             a. African Pride Olive Miracle Deep Conditioning Crème-on-Crème No Lye Relaxer

                8 Salon Pack Touch-UpsGentle Treatment No-Lye Relaxer

             b. African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer

             c. African Pride Olive Miracle Deep Conditioning Curls & Coils Texturizer With

                Aloe Deep Conditioner

             d. African Pride Olive Miracle Deep Conditioning No-Lye Relaxer One Complete

                Application; and,

             e. African Pride Olive Miracle Deep Conditioning No-Lye Relaxer, One Complete

                Touch-Up.

       87.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ Dr.

Miracle’s hair relaxers, including but not limited to Dr. Miracle’s No Lye Relaxer Kit.

       88.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ Gentle

Treatment hair relaxers, including but not limited to Gentle Treatment No-Lye Relaxer.

       89.      Mrs. Uqdah used different variations of Strength of Nature Defendants’ TCB hair

relaxers, including but not limited to:




                                           Page 20 of 41
                                                                                          Case ID: 241002269
     Case 5:24-cv-06225-JLS             Document 1-3        Filed 11/20/24   Page 347 of 415




             a. TCB Naturals Conditioning Argan Oil Vitamin E & Olive No-Lye Relaxer, 2

                   Applications; and,

             b. TCB No-Base Crème Hair Relaxer with Protein & DNA.

       90.         Mrs. Uqdah used different variations of Strength of Nature Defendants’ Ultra Sheen

hair relaxers, including but not limited to:

              a.          UltraSheen Supreme Conditioning No-Lye RelaxerGentle Treatment No-

                          Lye Relaxer

              b.          UltraSheen Ultra Moisturizing No-Lye Relaxer; and,

              c.          UltraSheen Ultra Moisturizing No-Lye Relaxer, with Keratin.

       91.      Mrs. Uqdah has reason to believe that Strength of Nature Defendants developed,

tested, assembled, marketed, manufactured, and sold other brands of chemical hair relaxer

products known to Strength of Nature Defendants, but unknown to Mrs. Uqdah, that contained

endocrine disrupting chemicals.

                                 House of Cheatham Defendants

       92.         Mrs. Uqdah used different variations of House of Cheatham Defendants’ Africa’s

Best hair relaxers, including but not limited to Africa’s Best Herbal Intensive No-Lye Relaxer

System.

       93.         Mrs. Uqdah used different variations of House of Cheatham Defendants’ Affirm

hair relaxers, including but not limited to:

              a.          Affirm Crème Relaxer; and,

              b.          Affirm Sensitive Scalp Relaxer.

       94.         Mrs. Uqdah has reason to believe that House of Cheatham Defendants developed,

tested, assembled, marketed, manufactured, and sold other brands of chemical hair relaxer



                                               Page 21 of 41
                                                                                            Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3         Filed 11/20/24   Page 348 of 415




products known to House of Cheatham, but unknown to Mrs. Uqdah, that contained endocrine

disrupting chemicals.

                                        Defendant Luster Products

       95.        Mrs. Uqdah used different variations of Defendant Luster Products’ Luster Pink

Oil hair relaxers, including but not limited to Luster’s Pink Oil Moisturizer No-Lye Conditioning

Relaxer.

       96.        Mrs. Uqdah has reason to believe that Defendant Luster Products developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to Defendant Luster Products, but unknown to Mrs. Uqdah, that contained endocrine

disrupting chemicals.

                                        Defendant AFAM

       97.        Mrs. Uqdah used different variations of Defendant AFAM’s Hawaiian Silky hair

relaxers, including but not limited to Hawaiian Silky - Crème Conditioning No Lye Silky Smooth

Sheen Relaxer.

       98.     Mrs. Uqdah has reason to believe that Defendant AFAM developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to Defendant AFAM Products, but unknown to Mrs. Uqdah, that contained endocrine

disrupting chemicals.

                                        Defendant Avlon

       99.        Mrs. Uqdah used different variations of Defendant Avlon’s Affirm hair relaxers,

including but not limited to:

             a.          Affirm Crème Relaxer; and,

             b.          Affirm Sensitive Scalp Relaxer.



                                            Page 22 of 41
                                                                                           Case ID: 241002269
    Case 5:24-cv-06225-JLS             Document 1-3     Filed 11/20/24      Page 349 of 415




        100.     Mrs. Uqdah has reason to believe that Defendant Avlon developed, tested,

assembled, marketed, manufactured, and sold other brands of chemical hair relaxer products

known to Defendant Avlon, but unknown to Mrs. Uqdah, that contained endocrine disrupting

chemicals.

        101.     She reapplied the relaxer to newly grown hair approximately every three months at

both home and add hair salons using home hair relaxer kits until her last application on or around

2018.

        102.    Mrs. Uqdah purchased hair relaxer home kits from various retailers, including but

not limited to Sally Beauty, BJ’s Wholesale Club, Walmart, Kmart, and Giant.

        103.    Mrs. Uqdah purchased multiple hair relaxer home kits from Giant for several years

up until 2015, including the Chemical Hair Relaxer Products.

        104.    The Chemical Hair Relaxer Products purchased and used by the Mrs. Uqdah to

apply to her hair contained endocrine disrupting chemicals, including phthalates, parabens, and

other carcinogenic chemicals.

        105.    Mrs. Uqdah has reason to believe that the Dark & Lovely, Optimum, Bantu, Mizani,

Gentle Treatment, TCB, Africa’s Best, Luster’s Pink Oil, Hawaiian Silky, and Affirm contained:

               a.       phthalates, including but not limited to diethyl phthalate (DEP), bis(2-

                        ethyhexyl) phthalate (DEHP), and benzylbutyl phthalate

               b.       Bisphenol A;

               c.       cyclosiloxanes, including but not limited to octamethylcycloetrasiloxane

                        (D4),           decamethylcyclopentasiloxane           (D5),          and

                        dodecamethylcyclohexylsiloxane (D6) parabens, including but not limited

                        methyl paraben, ethyl paraben, bis(2-ethylhexyl);



                                           Page 23 of 41
                                                                                         Case ID: 241002269
    Case 5:24-cv-06225-JLS                   Document 1-3     Filed 11/20/24     Page 350 of 415




                 d.          antimicrobials, including but not limited to o-phenylphenol, triclosan, and

                             triclocarban;

                 e.          ethanolamines, including but not limited to menoethanolamine and

                             diethanolamine;

                 f.          alkylphenols, including but not limited to 4-t-octylphenol, 4-t-nonylphenol,

                             nonylphenol monoethoxylate, and nonylphenol diethoxylate;

                 g.          UV filters including, but not limited to benzophenone, benzophenone-1,

                             benzophenone-2, benzophenone-3, oxtinoxate, and octadimethyl PABA;

                 h.          fragrances, including but not limited to benzylcetate, eugenol, hexyl

                             cinnemal, limonene, linalool, methyl eugenol, methyl salicylate, pinene,

                             terpineol, AHTN, bucinal, diphenyl ether, DPMI, HHCB, isobornyl acetate,

                             methyl ionone, musk ketone, musk xylene, and phenethyl alcohol.

          106.        The Chemical Hair Relaxer Products purchased and used by Mrs. Uqdah increased

the risk of harm and/or was a substantial contributing factor to her development of endometrial

cancer.

     HAIR RELAXERS LINKED TO UTERINE AND ENDOMETRIAL CANCERS

          107.        The uterus comprises two main parts: the endometrium and the myometrium.

Cancers in the uterus muscle layer are referred to as uterine sarcoma.

          108.        Endometrial cancer is a carcinoma that begins in the endometrium lining of the

uterus.

          109.        Endometrial cancer is one of the three most common cancers in females and is the

most common form of uterine cancer.




                                                 Page 24 of 41
                                                                                                Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24    Page 351 of 415




         110.   There are two types of endometrial cancers. Type 1 endometrial cancer tumors are

classified as endometroid adenocarcinoma and are linked to excess estrogen in the body.

         111.   Type 2 endometrial cancer tumors include uterine serous, clear cell, and squamous

cell carcinomas.

         112.   Type 1 endometrial cancer is far more common than Type 2, and accounts for

approximately 90% of diagnosed endometrial cancer.

         113.   Type 1 endometrial cancer incidence increased significantly between 1999 and

2006 compared to Type 2 endometrial cancers, which remained relatively stable during those

years.

         114.   Some endometrial cancers begin with a pre-cancerous condition called endometrial

hyperplasia, which practitioners consider an early stage of endometrial cancer.

         115.   One of the main risk factors for endometrial and other uterine cancers include

changes in the balance of female hormones in the body. Accordingly, exposure to EDCs is a risk

factor for developing hormone-sensitive cancers such as endometrial cancer.

         116.   Black women are twice as likely to be diagnosed with uterine cancer than white

women and have poorer prognoses when diagnosed.

         117.    For decades, research has shown that black women are far more likely to develop

reproductive cancers and other reproductive diseases.

         118.   Additionally, black women are two to three times more likely to develop uterine

leiomyomata, also known as fibroid tumors, than white women.

         119.   Endometriosis is an estrogen-dependent reproductive disease that causes growth of

the endometrial glands and stroma outside of the uterus, causing chronic inflammation.




                                          Page 25 of 41
                                                                                          Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 352 of 415




         120.   Endometriosis is a risk factor for endometrial cancer, and as with other reproductive

diseases, it is far more prevalent in black women.

         121.   In addition to the research demonstrating the significant disparity between black

and white women in the development of reproductive disease, research also establishes that black

girls go through puberty and start menstruating earlier than girls of other races.

         122.   Scientists from the University of California, San Francisco, and Berkeley

conducted a continuing study of over 1,200 girls tracked between 2005 and 2011. They concluded

that by age seven, 23% of black girls started to develop breasts, compared with just 10% of white

girls.

         123.   Researchers have been baffled by the inability to identify why black girls are

menstruating so early and why black women are developing reproductive issues at alarming rates.

         124.   According to NBC News, approximately 95% of black women reported using

chemical hair straightening products, such as hair relaxers. Many of these women also said they

began using the products in early childhood, sometimes as young as five or six years old, and

continued frequent use through adulthood.

         125.   Although there is so much diversity within the black female community, one

commonality between generations of black women is using permanent chemical hair relaxers to

straighten their hair.

         126.   In October 2022, the results of a groundbreaking study were published in the

Journal of the National Cancer Institute by Dr. Che-Jung Chang and others regarding the link

between hair relaxer use and the development of uterine cancers.

         127.   The study found that women who frequently used hair relaxers were more than

twice as likely to develop uterine cancers compared to women who did not use chemical hair



                                           Page 26 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS               Document 1-3           Filed 11/20/24         Page 353 of 415




relaxers. Specifically, the study found that 1.64% of women who never used hair relaxer products

would develop uterine cancer before age 70. However, for women who ever used hair relaxers,

the risk of uterine cancer increased to 1.80% and drastically increased to 2.55% for women who

frequently used hair relaxers. 1

        128.     Among women who never used straighteners in the 12 months prior to baseline,

approximately 1.64% were predicted to develop uterine cancer by age 70 years. The estimated

risk was 1.18% (95% CI for risk difference = 0.15% to 2.54%) higher for the women with ever

use, and 2.41% (95% CI for risk difference = 0.52% to 4.80%) higher for those with frequent use

compared with women who never used hair relaxers.

        129.     According to the researchers, “These findings are consistent with prior studies

supporting a role of straighteners in increased risk of other female, hormone-related cancers.”

        130.      The researchers further stated that “Although no differences in the hazard ratios

between racial and ethnic groups were observed, the adverse health effects associated with

straightener use could be more consequential for African American and/or Black women because

of the higher prevalence and frequency of hair product use, younger age of initiating use, and

harsher chemical formulations.” 2

                     PLAINTIFF KAREN UQDAH’S CANCER DIAGNOSIS

        131.     In December of 2016, at the age of fifty-eight, Ms. Uqdah was diagnosed with

endometrial adenocarcinoma, FIGO grade 2.




1
  4 Che-Jung Chang, et al., Use of Straighteners and Other Hair Products and Incident Uterine Cancer, Journal of the
National Cancer Institute, Oct. 17, 2022, https://pubmed.ncbi.nlm.nih.gov/36245087.
2
  Id.

                                                 Page 27 of 41
                                                                                                         Case ID: 241002269
     Case 5:24-cv-06225-JLS         Document 1-3        Filed 11/20/24      Page 354 of 415




        132.    Mrs. Uqdah’s use of the hair relaxers manufactured and sold by the Defendants,

increased the risk of harm and/or was a substantial contributing factor to her development of

endometrial cancer.

        133.    Ms. Uqdah suffered significant pain as a result of her cancer diagnosis and

subsequent hysterectomy, radiation, and chemotherapy.

                                      DISCOVERY RULE

        134.    Despite knowing that their chemical hair relaxer products contain large amounts of

EDCs that are more likely to enter the body when applied through the scalp, the Defendants failed

to warn of the potential for the use of their products to cause cancer and reproductive issues.

        135.    Plaintiffs reserve the right to plead and invoke the discovery rule. Mrs. Uqdah’s

endometrial cancer is a latent injury. Accordingly, under such circumstances, Plaintiffs could not

have reasonably been expected to know the cause of her endometrial cancer. Plaintiffs lacked the

salient facts behind the cause of her endometrial cancer, and Plaintiffs could not have been aware

of the salient facts through reasonable diligence until less than two years before the filings of

Plaintiffs’ action.

        136.    Further, Plaintiffs did not and could not have known that her injuries were caused

by Defendants’ conduct in the exercise of reasonable diligence.

        137.    The carelessness and recklessness in the acts and omissions of the Defendants, as

outlined and averred throughout the entirety of this Complaint, was a factual cause of and/or placed

Mrs. Uqdah at an increased risk of harm for and/or was a substantial factor in causing and did in

fact directly and proximately cause the severe, permanent and grievous personal injuries and

damages to Plaintiffs.

                                      COUNT I
                         STRICT LIABILITY – DESIGN DEFFECT

                                           Page 28 of 41
                                                                                           Case ID: 241002269
    Case 5:24-cv-06225-JLS           Document 1-3       Filed 11/20/24      Page 355 of 415




                                (Karen Uqdah v. All Defendants)

          138.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          139.   At all relevant times, Defendants were engaged in the business of manufacturing,

formulating, creating, designing, testing, labeling, packaging, supplying, marketing, promoting,

selling, advertising, and distribution of the Chemical Hair Relaxer Products in a defective and

unreasonably dangerous condition to consumers, including Mrs. Uqdah.

          140.   Mrs. Uqdah used the Chemical Hair Relaxer Products frequently and consistently.

          141.   Defendants marketed and advertised the Chemical Hair Relaxer Products as a safe

product for use by consumers, specifically to black women and women of color, including Mrs.

Uqdah, despite knowing that they contained EDCs and other harmful chemicals.

          142.   At all relevant times, the Chemical Hair Relaxer Products reached their intended

consumers, including Mrs. Uqdah, without substantial change in the condition in which the

Defendants designed, produced, manufactured, sold, distributed, labeled, and marketed them.

          143.   Manufacturer Defendants had a duty to create the Chemical Hair Relaxer Products

in a way that was not unreasonably dangerous for their normal, intended, or anticipated use.

          144.   Retailer Defendants had a duty to ensure that the Chemical Hair Relaxer Products

were not defective and safe for their intended use before selling said products to consumers, such

as Ms. Uqdah.

          145.   Defendants’ Chemical Hair Relaxer Products were defective as they were

formulated, designed, and manufactured with carcinogens.




                                           Page 29 of 41
                                                                                          Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 356 of 415




       146.    The Defendants’ Chemical Hair Relaxer Products were defective because their

carcinogenic properties made them unreasonably dangerous in that they were dangerous to an

extent beyond that which an ordinary consumer, such as Mrs. Uqdah, would contemplate.

       147.    Further, the magnitude of the danger associated with use of the Chemical Hair

Relaxer Products outweighs the utility of these products.

       148.    The dangers of the Chemical Hair Relaxer Products were unknown to the ordinary

consumer.

       149.    Mrs. Uqdah did not know of these dangers. If she would have known, these dangers

would have been unacceptable to her, and she would not have used the Chemical Hair Relaxer

Products.

       150.    Defendants knew, or should have known, of the unreasonable risks of harm

associated with the use of the Chemical Hair Relaxer Products, namely their unreasonably

dangerous and carcinogenic properties and their propensity to cause cancer.

       151.    At the time of Mrs. Uqdah’s exposure, the Chemical Hair Relaxer Products were

being used in a normal, intended, or anticipated manner, as a chemical hair straightener product.

       152.    Mrs. Uqdah used the Chemical Hair Relaxer Products without knowledge of their

dangerous characteristics, specifically the carcinogenic risks associated with use of the products.

       153.    The foreseeable risks associated with use of the Chemical Hair Relaxer Products

exceeded the alleged benefits associated with their design and formulation.

       154.    Defects in Defendants’ Chemical Hair Relaxer Products increased the risk, and

were a producing cause, proximate cause, and substantial factor in the development of Mrs.

Uqdah’s cancer.




                                          Page 30 of 41
                                                                                           Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24   Page 357 of 415




          155.   As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

                 a.     Economic losses, including medical care and lost earnings; and,

                 b.     Noneconomic losses, including physical and mental pain and suffering,

                        emotional distress, inconvenience, loss of enjoyment of life, impairment of

                        quality of life, past and future.

          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                        COUNT II
                          STRICT LIABILITY – FAILURE TO WARN
                               (Karen Uqdah v. All Defendants)

          156.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          157.   Mrs. Uqdah brings this strict liability claim against Defendants for failure to warn

about the toxic carcinogenic chemicals in their hair relaxer products.

          158.   At all relevant times, Defendants engaged in the business of testing, developing,

designing, manufacturing, marketing, selling, distributing, and/or promoting the Chemical Hair

Relaxer Products, which are defective and unreasonably dangerous to its consumers, including

Mrs. Uqdah because they do not contain adequate warnings or instructions regarding the dangerous

carcinogenic chemicals contained in the relaxer products.




                                             Page 31 of 41
                                                                                            Case ID: 241002269
     Case 5:24-cv-06225-JLS           Document 1-3      Filed 11/20/24     Page 358 of 415




        159.    The Defendants had a duty to warn of the risks associated with using their hair

relaxer products.

        160.    Defendants knew, or should have known, of the unreasonable risks of harm

associated with the use of their chemical hair relaxer products, namely their unreasonably

dangerous and carcinogenic properties and their propensity to cause cancer.

        161.    However, Defendants purposefully marketed their no-lye hair relaxer products as

safe because they did not contain “lye” or sodium hydroxide but failed to warn consumers about

the carcinogenic endocrine-disrupting chemicals in the hair relaxers.

        162.    Defendants disseminated information that was inaccurate, false, and misleading

and that failed to communicate accurately or adequately the comparative severity, duration, and

extent of the risk of injuries associated with use and frequent use of the Chemical Hair Relaxer

Products; and continued to promote the efficacy of the relaxers, even after they knew or should

have known of the unreasonable risks from use; and concealed, downplayed, or otherwise

suppressed, through aggressive marketing and promotion, any information or research about the

risks and dangers of use of the relaxers.

        163.    Defendants failed to exercise reasonable care to warn of the dangerous carcinogenic

risks associated with the use of its hair relaxers.

        164.    Mrs. Uqdah reasonably relied on the skill, superior knowledge, and judgment of

the Defendants.

        165.    Had Defendants properly disclosed the risks associated with use of their chemical

hair relaxers, Mrs. Uqdah could have chosen not to use the chemical hair relaxer and avoid the risk

of developing cancer from exposure to the hair relaxing chemicals.




                                            Page 32 of 41
                                                                                          Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24   Page 359 of 415




          166.   As a result of the absence of warning or instruction by Defendants regarding the

significant health-and-safety risks associated with the use of their hair relaxers, Mrs. Uqdah was

unaware that the Defendants’ hair relaxers were unreasonably dangerous and had carcinogenic

properties, since such information was not known to the general public.

          167.   Defendants’ failure to warn regarding the dangers associated with use of the

Chemical Hair Relaxer Products increased the risk, and was a producing cause, proximate cause,

and substantial factor in the development of Mrs. Uqdah’s cancer.

          168.   As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

                 a.     Economic losses, including medical care and lost earnings; and

                 b.     Noneconomic losses, including physical and mental pain and suffering,

                        emotional distress, inconvenience, loss of enjoyment of life, impairment of

                        quality of life, past and future.

          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                         COUNT III
                                       NEGLIGENCE
                           (Karen Uqdah v. Manufacturer Defendants)

          169.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.




                                             Page 33 of 41
                                                                                           Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 360 of 415




       170.    At all relevant times, Defendants engaged in the business of testing, developing,

designing, manufacturing, marketing, selling, distributing, and/or promoting the Chemical Hair

Relaxer Products.

       171.    Mrs. Uqdah used the Chemical Hair Relaxer Products.

       172.    Defendants had a duty to exercise reasonable care in the research, design,

manufacturing, packaging, marketing, advertisement, supply, promotion, sale, and distribution of

the Chemical Hair Relaxer Products, including a duty to assure that the products would not cause

users to suffer unreasonable dangerous side effects, including developing cancer.

       173.    Defendants had a duty to provide true and accurate information and warnings

concerning the risks of using the Chemical Hair Relaxer Products.

       174.    Defendants failed to exercise reasonable care in that they knew, or should have

known, of the unreasonable risks of harm associated with the use of the Chemical Hair Relaxer

Products and the propensity for the Hair Relaxers to cause cancer.

       175.    Defendants also knew, or in the exercise of reasonable care, should have known,

that consumers and users of the Chemical Hair Relaxer Products were unaware of the carcinogenic

risks associated with use of the product.

       176.    Defendants’ negligence includes, but is not limited to, the following acts and/or

omissions:

               a.      Failing to sufficiently test the Chemical Hair Relaxer Products to determine

                       whether they were safe for their intended use;

               b.      Failing to sufficiently test the Chemical Hair Relaxer Products to determine

                       their carcinogenic properties after learning that their formulations could be

                       carcinogenic;



                                            Page 34 of 41
                                                                                           Case ID: 241002269
Case 5:24-cv-06225-JLS        Document 1-3      Filed 11/20/24       Page 361 of 415




        c.    Marketing, advertising, and recommending the use of the Chemical Hair

              Relaxer Products without sufficient knowledge as to their dangerous

              propensities;

        d.    Representing that the Chemical Hair Relaxer Products were safe for their

              intended use when they were not;

        e.    Failing to disclose the risk of serious harm associated with use the Chemical

              Hair Relaxer Products;

        f.    Failing to provide adequate instructions, guidelines, and safety precautions

              to protect the health of those persons whom Defendants could reasonably

              foresee would use the Chemical Hair Relaxer Products;

        g.    Failing to use reasonable and prudent care in the design, development, and

              manufacturing of the Chemical Hair Relaxer Products, so as to avoid the

              risk of serious harm associated with use;

        h.    Failing to sufficiently test the “inert” ingredients and/or adjuvants,

              including the chemicals classified as fragrances contained within the

              Chemical Hair Relaxer Products, and the propensity of these ingredients to

              render the relaxers toxic or to increase the toxicity of the relaxers;

        i.    Systematically suppressing or downplaying contrary evidence about the

              risks, incidence, and prevalence of the side effects of exposures to the

              Chemical Hair Relaxer Products, such as side effects of exposure to

              endocrine-disrupting chemicals;




                                  Page 35 of 41
                                                                                       Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3       Filed 11/20/24      Page 362 of 415




               j.     Failing to disclose the risk of serious harm associated with use of endocrine-

                      disrupting chemicals either alone or when included the Chemical Hair

                      Relaxer Products; and,

               k.     Marketing, advertising, and recommending the Chemical Hair Relaxer

                      Products without sufficient knowledge as to their dangerous propensities;

               l.     Representing that the Chemical Hair Relaxer Products were safe for their

                      intended use when they were not;

               m.     Failing to disclose the risk of serious harm associated with use of Chemical

                      Hair Relaxer Products;

               n.     Representing that the Chemical Hair Relaxer Products were safe,

                      specifically because they did not contain “Lye”, sodium hydroxide, for their

                      intended use when they were not; and

               o.     Continuing to manufacture and sell the Chemical Hair Relaxer Products,

                      with the knowledge that the relaxers were unreasonably safe and dangerous.

       177.    It was reasonably foreseeable that consumers, including Mrs. Uqdah, would suffer

injury and possibly die as a result of Defendants’ failure to exercise reasonable care in the

manufacturing, marketing, promotion, labeling, distribution, and sale of the Chemical Hair Relaxer

Products.

       178.    Defendants’ negligent decisions to market and distribute the Chemical Hair Relaxer

Products increased the risk of harm, and was a producing cause, proximate cause, and substantial

factor of the development of Mrs. Uqdah’s cancer.




                                          Page 36 of 41
                                                                                          Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3          Filed 11/20/24   Page 363 of 415




          179.   As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

                 a.     Economic losses, including medical care and lost earnings; and,

                 b.     Noneconomic losses, including physical and mental pain and suffering,

                        emotional distress, inconvenience, loss of enjoyment of life, impairment of

                        quality of life, past and future.

          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                        COUNT IV
                            BREACH OF IMPLIED WARRANTIES
                               (Karen Uqdah v. All Defendants)

          180.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          181.   At all relevant times, Manufacturer Defendants were engaged in the business of

manufacturing, formulating, creating, designing, testing, labeling, packaging, supplying,

marketing, promoting, selling, advertising, and otherwise introducing the Chemical Hair Relaxer

Products that Mrs. Uqdah used into the stream of commerce.

          182.   At the time Manufacturer and Retailer Defendants, marketed, sold, and distributed

their Chemical Hair Relaxer Products for use by Mrs. Uqdah, Defendants knew of their intended

use and implicitly warranted that the products were of merchantable quality and safe and fit for

the use for which they were intended, specifically to chemically straighten hair.



                                             Page 37 of 41
                                                                                           Case ID: 241002269
     Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24      Page 364 of 415




       183.    Before the time of Mrs. Uqdah’s use of the Chemical Hair Relaxer Products,

Defendants impliedly warranted to consumers, including Mrs. Uqdah, that their relaxers were of

merchantable quality and safe and fit for the use for which they were intended; specifically, to

chemically straighten hair.

       184.    Defendants, however, failed to disclose that the Chemical Hair Relaxer Products

have dangerous propensities when used as intended and that the use of the relaxers carry an

increased risk of developing severe injuries, including Mrs. Uqdah’s cancer.

       185.    Mrs. Uqdah reasonably relied upon the skill, superior knowledge, and judgment of

Defendants, and upon their implied warranties that their Chemical Hair Relaxer Products were of

merchantable quality and fit for their intended purpose or use.

       186.    Manufacturer Defendants’ Chemical Hair Relaxer Products were expected to reach,

and did in fact reach, consumers and/or users, including Mrs. Uqdah, without substantial change

in the condition in which they were manufactured and by Manufacturer Defendants and sold by

Retailer Defendants.

       187.    At all relevant times to this litigation, Defendants were aware that consumers and

users of their Chemical Hair Relaxer Products, including Mrs. Uqdah, would use the products as

marketed; therefore, Mrs. Uqdah was a foreseeable user of the Chemical Hair Relaxer Products.

       188.    Defendants intended that their Chemical Hair Relaxer Products relaxers be used in

the manner in which Mrs. Uqdah was exposed, and Defendants implicitly warranted their product

to be of merchantable quality, safe, and fit for this use, despite the fact that the relaxers were not

adequately tested and/or researched.




                                           Page 38 of 41
                                                                                            Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3          Filed 11/20/24   Page 365 of 415




       189.    In reliance on Defendants’ implied warranty, Mrs. Uqdah used the Chemical Hair

Relaxer Products as instructed and labeled and in the foreseeable manner intended, recommended,

promoted, and marketed by Manufacturer and Retailer Defendants.

       190.    Mrs. Uqdah could not have reasonably discovered or known of the risks of serious

injury associated with the Chemical Hair Relaxer Products.

       191.    Defendants breached their implied warranty to Mrs. Uqdah in that the Chemical

Hair Relaxer Products were not of merchantable quality, safe, or fit for their intended use, an/or

adequately tested.

       192.    Defendants’ Chemical Hair Relaxer Products have dangerous propensities when

used as intended and anticipated and can cause serious injuries, including the cancer Mrs. Uqdah

sustained.

       193.    The harm caused by Defendants’ Chemical Hair Relaxer Products far outweighed

their benefits, rendering the products more dangerous than an ordinary consumer or user would

expect and more dangerous than alternative products.

       194.    As a direct and proximate result of Defendants’ wrongful acts and omissions Mrs.

Uqdah has suffered severe and permanent physical and emotional injuries.

       195.    As a result of the Defendants’ reckless and conscious disregard for the health and

safety of consumers of their hair relaxer products, Mrs. Uqdah sustained the following damages as

a foreseeable, direct, and proximate result of Defendants’ acts and omissions:

               a.     Economic losses, including medical care and lost earnings; and

               b.     Noneconomic losses, including physical and mental pain and suffering,

                      emotional distress, inconvenience, loss of enjoyment of life, impairment of

                      quality of life, past and future.



                                           Page 39 of 41
                                                                                         Case ID: 241002269
    Case 5:24-cv-06225-JLS            Document 1-3        Filed 11/20/24      Page 366 of 415




          WHEREFORE, Plaintiff respectfully demands judgment in her favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.

                                         COUNT V
                                  LOSS OF CONSORTIUM
                              (Emmanuel Bullock v. All Defendants)

          196.   The Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          197.   As a result of the negligence detailed at length above of all the above-named

Defendants, their agents, servants, employees and agents ostensible or direct set forth herein,

Plaintiff Emmanuel Bullock suffered the loss of services, society and comfort and companionship

of his wife, Karen Uqdah.

          1.     As the result of the negligence of the above-named Defendants, Emmanuel Bullock

claims the full measure of damages allowable under Pennsylvania law for the loss of consortium

of his wife, Karen Uqdah.

          WHEREFORE, Plaintiff respectfully demands judgment in his favor and against

Defendants, in an amount in excess of the applicable arbitration limits, including interest, costs of

suit, delay damages, compensatory damages, punitive damages, and such other relief as this

Honorable Court may deem appropriate.




                                            Page 40 of 41
                                                                                             Case ID: 241002269
    Case 5:24-cv-06225-JLS   Document 1-3     Filed 11/20/24     Page 367 of 415




                                            Respectfully submitted,

                                            KLINE & SPECTER, P.C.


                                       By: ___________________________________
                                          SHANIN SPECTER, ESQUIRE
                                          TOBI L. MILLROOD, ESQUIRE
                                          BRADEN R. LEPISTO, ESQUIRE
                                          SHERRELL L. DANDY, ESQUIRE
                                          Attorneys for Plaintiffs


Dated: October 17, 2024




                                 Page 41 of 41
                                                                            Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24       Page 368 of 415




                                        VERIFICATION

       I, Karen Uqdah, hereby verify that I am the Plaintiff in the foregoing action; that the

attached Complaint is based upon information which I have furnished to my counsel and

information which has been gathered by my counsel in the preparation of the lawsuit. The

language of the Complaint is that of counsel and not of affiant. I have read the Complaint and to

the extent that the allegations therein are based upon information I have given counsel, they are

true and correct to the best of my knowledge, information, and belief. To the extent that the

contents of the Complaint are that of counsel, I have relied upon counsel in making this

Verification. I understand that false statements made herein are made subject to the penalties

of 18 Pa. C.S.A. § 4904 relating to unsworn falsifications to authorities.




Date: 10/17/2024                             xsax




                                             Karen Uqdah, Plaintiff




                                                                                        Case ID: 241002269
    Case 5:24-cv-06225-JLS          Document 1-3        Filed 11/20/24       Page 369 of 415




                                        VERIFICATION

       I, Emmanuel Bullock, hereby verify that I am the Plaintiff in the foregoing action; that

the attached Complaint is based upon information which I have furnished to my counsel and

information which has been gathered by my counsel in the preparation of the lawsuit. The

language of the Complaint is that of counsel and not of affiant. I have read the Complaint and to

the extent that the allegations therein are based upon information I have given counsel, they are

true and correct to the best of my knowledge, information, and belief. To the extent that the

contents of the Complaint are that of counsel, I have relied upon counsel in making this

Verification. I understand that false statements made herein are made subject to the penalties

of 18 Pa. C.S.A. § 4904 relating to unsworn falsifications to authorities.




Date: 10/17/2024                             xsax




                                             Emmanuel Bullock, Plaintiff




                                                                                        Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 370 of 415




         Exhibit A-10
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 371 of 415




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                                                                  G. IMPERATO




                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 372 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 373 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 374 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 375 of 415




         Exhibit A-11
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 376 of 415




                                                          Filed and Attested by the
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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 377 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 378 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 379 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 380 of 415




         Exhibit A-12
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 381 of 415




                                                          Filed and Attested by the
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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 382 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 383 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 384 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 385 of 415




         Exhibit A-13
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 386 of 415




                                                          Filed and Attested by the
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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 387 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 388 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 389 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 390 of 415




         Exhibit A-14
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 391 of 415




                                                          Filed and Attested by the
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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 392 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 393 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 394 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 395 of 415




         Exhibit A-15
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 396 of 415




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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 397 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 398 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 399 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 400 of 415




         Exhibit A-16
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 401 of 415




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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 402 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 403 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 404 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 405 of 415




         Exhibit A-17
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 406 of 415




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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 407 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 408 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 409 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 410 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 411 of 415




         Exhibit A-18
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24     Page 412 of 415




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                                                                       Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 413 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 414 of 415




                                                                    Case ID: 241002269
Case 5:24-cv-06225-JLS   Document 1-3   Filed 11/20/24   Page 415 of 415




                                                                    Case ID: 241002269
